Case:Highly
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                                                                             Review

      1               UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
      2                     EASTERN DIVISION
      3
            IN RE: NATIONAL                  )
      4     PRESCRIPTION                     )    MDL No. 2804
            OPIATE LITIGATION                )
      5     _____________________            )    Case No.
                                             )    1:17-MD-2804
      6                                      )
            THIS DOCUMENT RELATES            )    Hon. Dan A.
      7     TO ALL CASES                     )    Polster
      8
                         TUESDAY, OCTOBER 16, 2018
      9
             HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
     10               CONFIDENTIALITY REVIEW
     11                        – – –
     12              Videotaped deposition of Eric
     13    Stahmann, held at the offices of BARTLIT BECK
     14    HERMAN PALENCHAR & SCOTT LLP, 54 West
     15    Hubbard, Suite 300, Chicago, Illinois,
     16    commencing at 9:05 a.m., on the above date,
     17    before Carrie A. Campbell, Registered
     18    Diplomate Reporter, Certified Realtime
     19    Reporter, Illinois, California & Texas
     20    Certified Shorthand Reporter, Missouri &
     21    Kansas Certified Court Reporter.
     22                       – – –
                    GOLKOW LITIGATION SERVICES
     23         877.370.3377 ph | 917.591.5672 fax
                          deps@golkow.com
     24
     25

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     1       APPEARANCES:                          1     MARCUS & SHAPIRA LLP
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            (VIA TELECONFERENCE)                  11   VIDEOGRAPHER:
    13   360 Lexington Avenue, 11th Floor                 MICHAEL NEWELL,
         New York, New York 10017                 12
    14   (212) 397-1000                                   Golkow Litigation Services
         Counsel for Plaintiffs                   13
    15                                                 TRIAL TECHNICIAN:
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    18   Washington, DC 20005                                       –––
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    19   Counsel for Cardinal Health, Inc.        17
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    23   Philadelphia, Pennsylvania 19103         23
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    24   Counsel for AmerisourceBergen            25
    25

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     1   BARTLIT BECK HERMAN PALENCHAR &           1               INDEX
         SCOTT LLP                                 2                           PAGE
     2   BY: KASPAR STOFFELMAYR, ESQUIRE           3   APPEARANCES.................................. 2
            kaspar.stoffelmayr@bartlit-beck.com    4   EXAMINATIONS
     3      KATE SWIFT, ESQUIRE                    5    BY MR. MOUGEY.............................. 9
            kswift@bartlit-beck.com                6    BY MR. STOFFELMAYR......................... 387
     4   54 West Hubbard Street, Suite 300
         Chicago, Illinois 60654                   7    BY MR. MOUGEY.............................. 414
     5   (312) 494-4400                            8
     6   and                                       9             EXHIBITS
     7   BY: ALEX J. HARRIS, ESQUIRE              10     No.    Description         Page
            alex.harris@bartlit-beck.com          11   Walgreens Eric Stahmann LinkedIn            10
     8      (VIA TELECONFERENCE)                       Stahmann 1 curriculum vitae
         1801 Wewatta Street, Suite 1200          12
     9   Denver, Colorado 80202                        Walgreens Walgreens Central Pharmacy             53
         (303) 592-3100
    10   Counsel for Walgreens                    13   Stahmann 2 Operations-Pharmaceutical
    11                                                        Integrity org chart,
         JONES DAY                                14          WAGMDL00289186 -
    12   BY: TINA M. TABACCHI, ESQUIRE                        WAGMDL00289188
            tmtabacchi@jonesday.com               15
    13   77 West Wacker                                Walgreens Masters Pharmaceutical, Inc.       78
         Chicago, Illinois 60601-1692             16   Stahmann 3 Vs. Drug Enforcement
    14   (312) 782-3939                                       Administration opinion
    15
         Counsel for Walmart                      17
    16   PELINI, CAMPBELL & WILLIAMS LLC               Walgreens "OxyContin: Its use and          109
         BY: PAUL B. RICARD, ESQUIRE              18   Stahmann 4 abuse: Hearing before the
    17      pbricard@pelini-law.com                           Subcommittee on Oversight
         8040 Cleveland Avenue NW, Suite 400      19          and Investigations of the
    18   North Canton, Ohio 44720                             Committee on Energy and
         (330) 305-6400                           20          Commerce, House of
    19   Counsel for Prescription Supply,
         Inc.                                                 Representatives, One Hundred
    20                                            21          Seventh Congress, first
    21   ZUCKERMAN SPAEDER LLP                                session, August 28, 2001
         BY: ANTHONY M. RUIZ, ESQUIRE             22
    22      aruiz@zuckerman.com                        Walgreens US Department of Justice          129
         1800 M Street NW, Suite 1000             23   Stahmann 5 June 12, 2012 letter to
    23   Washington, DC 20036-5807                            registrant,
         (202) 778-1800                           24          ABDCMDL00269683 -
    24   Counsel for CVS Indiana, LLC, and
         CVS RX Services, Inc.                                ABDCMDL00269693
    25                                            25

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     1   Walgreens Settlement and Memorandum of 172          1      the Allergan defendants.
         Stahmann 6 Agreement,                               2
     2          P-WAG-0001                                                MR. BORANIAN: Steven Boranian
     3   Walgreens E-mail(s),           222                  3      for defendant AmerisourceBergen.
         Stahmann 7 WAG00000950 - WAG00001012                4
     4                                                                    MR. RICARD: Paul Ricard,
         Walgreens Staff Pharmacist Bonus 263                5      Prescription Supply, Inc.
     5   Stahmann 8 Program,
                WAG00000007 - WAG00000008                    6            MS. MCNAMARA: Colleen
     6                                                       7
         Walgreens E-mail(s),        281                            McNamara, Cardinal Health.
     7   Stahmann 9 WAGMDL00183798 -                         8            MS. TABACCHI: Tina Tabacchi,
                WAGMDL00183800;                              9
     8          WAGMDL00205379 -                                    defendant Walmart.
                WAGMDL00208716                              10            MS. SWIFT: Kate Swift for
     9
                                                            11      Walgreens.
         Walgreens StoreNet screenshot with 337
    10   Stahmann 10 handwritten notes,                     12            MR. STOFFELMAYR: Kaspar
                WAG00001912 - WAG00001913                   13
    11                                                              Stoffelmayr for Walgreens.
         Walgreens Handling Suspicious Orders   342         14            VIDEOGRAPHER: The court
    12   Stahmann 11 and Loss of Controlled
                Drugs,                                      15      reporter is Carrie Campbell, who will
    13          WAG00000028                                 16      now swear in the witness.
    14   Walgreens Handling Suspicious Drug     345
         Stahmann 12 Orders,                                17            MR. STOFFELMAYR: Is there
    15          WAG00000027                                 18
    16   Walgreens Opioid Shipments to        361                   someone in the room who should be
         Stahmann 13 BW4673554 by Distributor,              19      identified?
    17          P-WAG-1272                                  20
    18                                                                    MR. MOUGEY: Corey, would you
          (Exhibits attached to the deposition.)            21      mind just introducing yourself?
    19
    20                                                      22            MR. SMITH: Oh, yeah, I'm the
    21                                                      23
    22                                                              trial tech. I'm just also present.
    23                                                      24            MR. STOFFELMAYR: I just didn't
    24                                                      25
    25                                                              know. Thanks.
                                                   Page 7                                               Page 9
     1           VIDEOGRAPHER: We are now on                 1           MR. MOUGEY: If we could get
     2      the record. My name is Michael                   2      who is on the phone, that would be
     3      Newell. I am a videographer for                  3      fantastic.
     4      Golkow Litigation Services.                      4           MR. HARRIS: Alex Harris for
     5           Today's date is October 16,                 5      Walgreens.
     6      2018. The time is 9:05 a.m.                      6           MR. BARNES: Robert Barnes for
     7           This video deposition is being              7      HBC.
     8      held in Chicago, Illinois, in the                8           MR. BADALA: Sal Badala,
     9      matter of In Re: National                        9      plaintiffs.
    10      Prescription Opiate Litigation for the          10           MR. RUIZ: Anthony Ruiz for
    11      Northern District of Ohio.                      11      CVS.
    12           The deponent is Eric Stahmann.             12
    13           Will counsel please identify               13             ERIC STAHMANN,
    14      themselves for the record?                      14   of lawful age, having been first duly sworn
    15           MR. MOUGEY: Peter Mougey for               15   to tell the truth, the whole truth and
    16      the plaintiffs.                                 16   nothing but the truth, deposes and says on
    17           MS. POERSCHKE: Page Poerschke              17   behalf of the Plaintiffs, as follows:
    18      for the plaintiffs.                             18
    19           MS. DUNNING: Laura Dunning for             19           DIRECT EXAMINATION
    20      the plaintiffs.                                 20   QUESTIONS BY MR. MOUGEY:
    21           MR. SHKOLNIK: Hunter Shkolnik              21       Q. Good morning, Mr. Stahmann.
    22      for the plaintiffs.                             22   I'm Peter Mougey.
    23           MR. GADDY: Jeff Gaddy for the              23           Am I pronouncing your last name
    24      plaintiffs.                                     24   correctly?
    25           MR. GHOSH: Pratik Ghosh for                25       A. Stahmann.
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     1      Q.       Stahmann.                            1   of that time?
     2      A.       Yes.                                 2        A. That is correct.
     3             (Walgreens-Stahmann Exhibit 1          3        Q. And would you give me some
     4       marked for identification.)                  4   background on what your law enforcement
     5   QUESTIONS BY MR. MOUGEY:                         5   experience was?
     6       Q. I'm going to hand you what we             6        A. Sure. I worked briefly --
     7   are marking as Stahmann 1.                       7   total law enforcement career was under five
     8             I believe this is your résumé          8   years. I worked for the DuPage County
     9   or CV that you had on LinkedIn, correct, sir?    9   Sheriff's Office for two and a half, three
    10       A. Yes.                                     10   years, and then I transferred to Glendale
    11       Q. And you've obviously seen this           11   Heights Police Department.
    12   before, correct?                                12        Q. And what was your capacity with
    13       A. Correct.                                 13   the -- with both police departments?
    14       Q. You drafted this?                        14        A. DuPage County I worked in the
    15       A. I did.                                   15   jail and the corrections facility, and then I
    16       Q. Posted it on social media                16   transferred to Glendale Heights as patrol.
    17   through LinkedIn?                               17        Q. Walk me through your
    18       A. Yes.                                     18   responsibility on patrol. What was your --
    19       Q. And you reviewed it, and to              19   what was the scope of your responsibilities?
    20   the -- it's accurate, correct, sir?             20        A. Patrol was basically --
    21       A. Yes.                                     21   responsibilities was average police officer,
    22       Q. And you understand when you're           22   respond to calls that are given to us, patrol
    23   posting something such as your CV or résumé     23   the streets, community service. Just normal
    24   online, that you've taken pretty good care to   24   police officer duties.
    25   walk through your experience and areas of       25        Q. All right. And the jail?
                                               Page 11                                               Page 13
     1   responsibility to accurately reflect those on    1        A. Jail was to secure the inmates
     2   this CV, correct, sir?                           2   in the jail, make sure that everybody was
     3        A. Correct.                                 3   safe, everybody was cooperating, everybody
     4        Q. And have you had an opportunity          4   was following the regulations inside the
     5   to review this document for your deposition      5   jail.
     6   today?                                           6        Q. So kind of a corrections
     7        A. Briefly, yes.                            7   officer, so to speak?
     8        Q. Okay. If we could, start on              8        A. Correct.
     9   page 3 of 3 under Education.                     9        Q. And those five years in those
    10           You finished your master's              10   two roles, were those after your graduate
    11   degree in 2002, correct?                        11   degree and before Walgreens?
    12        A. Correct.                                12        A. Yes.
    13        Q. Here in Chicago, Loyola of              13        Q. Did you work your way through
    14   Chicago, correct?                               14   school with either the police department or
    15        A. Yes.                                    15   jail?
    16        Q. And a master's degree in                16        A. No.
    17   criminal justice, law background, correct,      17        Q. So after you left the county --
    18   sir?                                            18   I'm sorry, after you left your role as a
    19        A. Correct.                                19   police officer, you went to work with
    20        Q. And then -- with an undergrad           20   Walgreens?
    21   in biology, correct, sir?                       21        A. Correct.
    22        A. That's correct.                         22        Q. And you went to work with
    23        Q. And then after, sir, there's a          23   Walgreens in June of 2006 with a title of
    24   period that's missing from 2002 to 2006. You    24   senior analyst investigator, correct?
    25   were in law enforcement for at least a period   25        A. That is not correct. I
   Golkow Litigation Services                                                      Page 4 (10 - 13)
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     1   actually started off as a pharmacy tech for      1   investigations of diversion.
     2   Walgreens.                                       2       Q. Walk me through what the kind
     3       Q. And how long were you a                   3   of suite of different reports you had
     4   pharmacy tech with Walgreens?                    4   available to you as an analyst at Walgreens.
     5       A. Close to nine months to ten               5       A. Any and all prescription data.
     6   months.                                          6   So the queries we were able to pull
     7       Q. And then you went into your               7   basically -- we can pull any type of
     8   senior analyst investigator role?                8   prescription data related to when a
     9       A. I actually went -- briefly, for           9   prescription was filled, when it was entered.
    10   under a year, I started off in finance. I       10            We also looked at exception
    11   worked for a loyalty card called a              11   reporting that -- the reports were
    12   Prescription Savings Club card which offered    12   automatically or automated for Walgreens. We
    13   discounts to members -- customers that did      13   provided those exception reports to the
    14   not have insurance.                             14   field.
    15       Q. So in June of 2006, you                  15            We also -- I also provided
    16   transferred into a new role with senior         16   ancillary reports to those exception
    17   analyst investigator, correct?                  17   reporting to help investigators either
    18       A. June of 2006 is when I started           18   pulling video or providing them with
    19   my career at Walgreens as a pharmacy tech.      19   instances of time for when prescriptions were
    20       Q. When did you begin your role as          20   being filled so they can identify employee
    21   senior analyst investigator?                    21   pilferage or pilferage.
    22       A. I don't know the exact date,             22       Q. Walk me through, under the
    23   but it was probably 2007, 2008.                 23   automated exception reports and the ancillary
    24       Q. All right. So the entry under            24   reports, kind of specifically what type of
    25   senior analyst investigator beginning in June   25   information you had available to query or
                                               Page 15                                             Page 17
     1   of 2006 is inaccurate?                           1   pull?
     2       A. The start date is inaccurate,             2       A. So the ancillary reports -- the
     3   yes.                                             3   exception reports, I'll start there. The
     4       Q. So it was more 2007, 2008?                4   exception reports, there was a dashboard
     5       A. Correct.                                  5   called the LPX RX, and it was basically a KPI
     6       Q. And then in your role as a                6   or a metric where field leadership had access
     7   senior analyst investigator, on your CV, it's    7   to where they -- the exception reports showed
     8   blank, correct, sir?                             8   prescription -- or not prescriptions, showed
     9       A. I'm sorry, say that again.                9   movements where it could identify
    10       Q. It's blank under your                    10   opportunities where there could be diversion
    11   description under senior analyst                11   or loss in the pharmacy.
    12   investigator?                                   12            So it populated negative
    13       A. It is blank, yes.                        13   adjustments, so adjustments made by the
    14       Q. Would you please walk me                 14   pharmacy staff, negatively adjusting their
    15   through what the scope of your                  15   on-hand count, and those were the exception
    16   responsibilities were as a senior analyst       16   reports on the LPX RX report. And then I
    17   investigator at Walgreens?                      17   provided ancillary reports to show, for that
    18       A. Sure.                                    18   particular medication, if a prescription was
    19            So I was working for what was          19   being filled during a time frame. If there
    20   known as loss prevention. It's asset            20   wasn't, we have video of someone going to the
    21   protection now. I ran reports for the asset     21   shelf, touching that medication. That could
    22   protection department to help identify          22   be an indicator of employee pilferage or
    23   employee pilferage for controlled substances    23   theft.
    24   in the pharmacy. I mostly ran queries for       24       Q. Those reports were targeted or
    25   the field leadership to help them with their    25   aimed at identifying employee theft or
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     1   employee adjustments that were -- indicated      1       A. There were probably others, but
     2   there were thefts in the department?             2   I can't recall offhand.
     3       A. Correct.                                  3       Q. Any types of reports
     4       Q. And were not targeted to                  4   identifying suspicious orders or orders of
     5   identifying diversion at the pharmacy level      5   any size or frequency that were red flagged?
     6   in Walgreens' role as a distributor, correct?    6       A. There were reports that were
     7            MR. STOFFELMAYR: Objection to           7   run for suspicious orders and orders of
     8       the form.                                    8   interest.
     9            THE WITNESS: Correct. They              9       Q. And when you say "That were
    10       were -- they were only reports for          10   run," were they not automated?
    11       employee pilferage. It was to               11       A. They were automated.
    12       identify losses in the pharmacy.            12       Q. And explain to me what data was
    13            MR. STOFFELMAYR: Just make             13   pulled in those reports identifying red flags
    14       sure before you answer, give me a           14   or suspicious orders.
    15       chance to chime in if I want to.            15             MR. STOFFELMAYR: Objection to
    16       Okay?                                       16       the form. Foundation.
    17   QUESTIONS BY MR. MOUGEY:                        17             THE WITNESS: So I never
    18       Q. Any other exception reports              18       actually pulled -- I never actually
    19   than the employee pilferage that you just       19       provided -- put the data inside the
    20   walked me through?                              20       reports. They were automated, so the
    21       A. There are other reports, yes.            21       orders that were in these reports were
    22       Q. Walk me through what other               22       only orders of interest based off of
    23   reports were available to you in your role as   23       what the DEA's general description of
    24   a senior analyst investigator.                  24       a suspicious order was.
    25       A. Available to -- other reports            25

                                               Page 19                                              Page 21
     1   available to me were negatively adjusted         1   QUESTIONS BY MR. MOUGEY:
     2   versus overbuy reports.                          2       Q. Explain to me what your
     3       Q. Explain what that is.                     3   understanding of what the DEA's description
     4       A. So in SIMS, which is the                  4   of an order of interest was.
     5   inventory management system our pharmacies       5            MR. STOFFELMAYR: Objection to
     6   use, there are reports that indicate if a        6       form. Foundation.
     7   pharmacy is buying or receiving controlled       7            THE WITNESS: I only know what
     8   substances or any type of medication more        8       the -- my understanding of -- my
     9   than they're selling with negative               9       interpretation of it, and my
    10   adjustments.                                    10       interpretation may not be what legal's
    11       Q. Anything other than the                  11       representation or interpretation is.
    12   negative adjustment report and the employee     12   QUESTIONS BY MR. MOUGEY:
    13   pilferage reports you just walked me through?   13       Q. Sure. And that's what I
    14       A. There were reports called                14   understand.
    15   13-week or 15-week {sic} movement reports.      15            I'm asking you today in your
    16   Those basically just showed if a particular     16   role as a senior analyst at Walgreens, do you
    17   item -- the movement during that specified 13   17   have an understanding of what the DEA's
    18   or 52-week movement. So it was sales,           18   definition of an order of interest was?
    19   receipts, claims.                               19            MR. STOFFELMAYR: Same
    20       Q. Other than the three kind of             20       objection.
    21   broader areas you identified, employee          21            THE WITNESS: My role today, I
    22   pilfering, negative adjustments and 13-week,    22       do.
    23   15-week, anything else that you can identify    23            Back then, I did not.
    24   in the suite of reports available to you as a   24   QUESTIONS BY MR. MOUGEY:
    25   senior analyst at Walgreens?                    25       Q. What is your understanding
   Golkow Litigation Services                                                     Page 6 (18 - 21)
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     1   today of the DEA's definition of an order of     1        Q. Project manager at pharmacy
     2   interest?                                        2   at -- pharmacy loss prevention from June
     3       A. From my understanding, it's any           3   of 2012 to February of '13, correct?
     4   order of an unusual size, frequency or           4        A. That's about right.
     5   deviates from normal movement.                   5        Q. And you had been at Walgreens
     6       Q. And when between 2006 when you            6   at the end of that tenure as project manager
     7   began at Walgreens until today did you           7   six years and nine months, correct?
     8   develop an understanding of what the DEA's       8        A. Correct.
     9   definition of order of interest was?             9        Q. And let's walk through some of
    10       A. When I took my role as a                 10   the bullets under your role as project
    11   manager for pharmaceutical integrity.           11   manager.
    12       Q. If you'd, please, sir, turn to           12            Very first bullet, "Compile and
    13   page 2 of 3 of your CV.                         13   interpret data for internal pharmacy theft
    14            Under the section Walgreens,           14   cases and for statistical purposes to monitor
    15   six years, nine months, project manager,        15   diversion," correct, sir?
    16   pharmacy loss prevention --                     16        A. That's correct.
    17            MR. MOUGEY: Corey, could you           17        Q. Would you please explain what
    18       pull this up, please?                       18   your understanding of what diversion is in
    19   QUESTIONS BY MR. MOUGEY:                        19   the pharmacy context?
    20       Q. And you held that role                   20        A. Diversion can be a multiple of
    21   approximately six years and nine months,        21   things. So basically any loss out of the
    22   correct, sir?                                   22   pharmacy, so whether it's customer diversion,
    23       A. Correct.                                 23   employee diversion; it can mean a lot of
    24       Q. And the title on your CV,                24   different things.
    25   project manager, pharmacy loss prevention,      25        Q. How about diversion in the
                                               Page 23                                              Page 25
     1   correct?                                         1   supply chain that opiates or pills are used
     2       A. Yes.                                      2   for illegal purposes at the practitioner
     3       Q. Beginning in June of 2012 to              3   level?
     4   February of 2013, correct?                       4       A. I don't know how we would be
     5       A. I don't remember exactly, but             5   able to capture diversion from that
     6   that sounds correct.                             6   standpoint.
     7       Q. All right. Let's walk through             7       Q. Walk me through what --
     8   some of these bullets. The first                 8   statistical purposes to monitor diversion,
     9   bullet that --                                   9   explain to me what you mean by that mean.
    10            MR. STOFFELMAYR: I'm sorry,            10       A. So statistical purposes, so
    11       did you say he was a project manager        11   to -- the reports we ran -- or I ran provided
    12       for six years? Because that's --            12   data outside of what those automated
    13            THE WITNESS: Yeah, I was not a         13   exception reports were.
    14       project manager for six years. I was        14            So to monitor diversion, if
    15       with Walgreens for six years at that        15   there were continuous negative adjustments
    16       time.                                       16   happening at a pharmacy, it would help to
    17            MR. STOFFELMAYR: You see what          17   determine whether or not there's -- something
    18       I mean? He was a project manager for        18   internally is happening, either procedurally
    19       however many months, but that up there      19   where stores aren't posting orders correctly
    20       is the whole time he was at Walgreens.      20   or just something incorrectly happening at
    21            MR. MOUGEY: Sure, I appreciate         21   the store level that could cause these
    22       that.                                       22   negative adjustments.
    23            MR. STOFFELMAYR: You see what          23            Part of my job was to help
    24       I mean?                                     24   those field leaders determine whether or not
    25   QUESTIONS BY MR. MOUGEY:                        25   there's actual loss happening or diversion
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     1   happening at the pharmacy or if there's          1   while at Walgreens?
     2   something operationally that's happening at      2       A. Not to diversion, no.
     3   the pharmacy that needs to be corrected.         3       Q. Any reports pulled out of
     4       Q. So definition of diversion as a           4   Mobius while you were at Walgreens in the
     5   project manager at Walgreens was -- continue     5   context of orders of interest or suspicious
     6   to be the employee pilfering and manual          6   reports?
     7   adjustments, et cetera, at the pharmacy          7       A. Yes.
     8   level, correct, sir?                             8       Q. All right. Now, when I just
     9       A. Correct.                                  9   asked you the question of whether or not you
    10            MR. STOFFELMAYR: Objection to          10   had pulled any reports out of Mobius while at
    11       the form. Give me a second.                 11   Walgreens regarding diversion, you answered
    12   QUESTIONS BY MR. MOUGEY:                        12   no. And I asked in the context of interest
    13       Q. Go to the fourth bullet,                 13   of orders or suspicious reports, you answered
    14   "Intimate work with statistical software and    14   yes.
    15   databases, including, but not limited to,       15            Tell me what the difference is
    16   Access, Excel, Oracle, WebSDL, IC Plus, SIMS,   16   in your mind.
    17   EDW, Mobius and Business Objects."              17       A. Orders of interest or
    18            Do you see that, sir?                  18   suspicious orders don't necessarily mean
    19       A. I do.                                    19   diversion or theft.
    20       Q. And explain to me what Mobius            20       Q. They are potential -- the
    21   is.                                             21   reports are a means or mechanism to identify
    22       A. My understanding, it is an               22   red flags or potential areas of interest,
    23   application that houses reports.                23   correct, sir?
    24       Q. And what kind of reports?                24       A. Which reports?
    25       A. The reports that were in there           25       Q. Any reports.
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     1   were from human resources, basically any         1            MR. STOFFELMAYR: Objection to
     2   report that was in there - human resources,      2       the form.
     3   employee relations, employee background          3            Go ahead.
     4   information. They had a whole bunch of           4            THE WITNESS: The report -- the
     5   different reports in there.                      5       reports in Mobius that I pulled were
     6       Q. Did you say Mobius in the                 6       only for orders of interest or
     7   context of diversion?                            7       suspicious orders.
     8       A. I did not.                                8   QUESTIONS BY MR. MOUGEY:
     9       Q. Did you store reports in Mobius           9       Q. And did you not use those
    10   in the context of diversion?                    10   reports out of Mobius to identify potential
    11       A. I did not.                               11   areas of diversion?
    12       Q. Did anyone at Walmart {sic}              12       A. I did not.
    13   that you're aware of store reports regarding    13       Q. What specific reports did you
    14   diversion on Mobius?                            14   pull out of Mobius at Walgreens?
    15            MR. STOFFELMAYR: I think you           15       A. The only report that I pulled
    16       mean Walgreens.                             16   were the orders of interest and suspicious
    17            MR. MOUGEY: Did I say Walmart?         17   orders report.
    18       Yeah.                                       18       Q. All right. And what is
    19   QUESTIONS BY MR. MOUGEY:                        19   captured in those reports?
    20       Q. Did you -- were you aware of             20       A. Orders that -- based off of
    21   any reports being stored in Mobius regarding    21   those generic DEA identification of what a
    22   diversion?                                      22   suspicious order is, orders that were orders
    23       A. I am not aware.                          23   of interest based off of those generic
    24       Q. So you never pulled any reports          24   descriptions for the DEA suspicious orders.
    25   out of Mobius having to do with diversion       25       Q. You understand in databases
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     1   that there's fields with specific information    1       the form.
     2   in them, correct?                                2            THE WITNESS: I don't remember
     3       A. I do.                                     3       exactly what our -- what was in those
     4       Q. And in your intimate work with            4       reports.
     5   statistical software and databases, you          5   QUESTIONS BY MR. MOUGEY:
     6   understand that those fields can be --           6       Q. Do you remember generally what
     7   specific fields can be pulled and reports run    7   was in those reports?
     8   to turn data into information, correct, sir?     8       A. Generally, yes.
     9            MR. STOFFELMAYR: Objection to           9       Q. What generally was in those
    10       the form.                                   10   reports?
    11            THE WITNESS: Can you rephrase          11       A. Orders of interest and
    12       that for me, please?                        12   potential suspicious orders.
    13   QUESTIONS BY MR. MOUGEY:                        13       Q. Define for me what an order of
    14       Q. There's a ton of transactional           14   interest was or a potential suspicious order.
    15   data at Walgreens on a day-to-day basis         15            MR. STOFFELMAYR: Objection to
    16   regarding opiates, correct, sir?                16       the form. Foundation.
    17       A. There is.                                17            THE WITNESS: So I don't -- my
    18       Q. There's a significant amount of          18       definition of an order of interest is
    19   data at Walgreens with pharmaceutical           19       an order that could potentially be --
    20   transactions in general, correct, sir?          20       based off those -- DEA definition of
    21       A. Correct.                                 21       what's a suspicious order, an order of
    22       Q. And the reports were used to             22       interest could lead to an order of
    23   pull specific fields to assist Walgreens to     23       interest based off of our -- or a
    24   identify areas of potential diversion,          24       suspicious order based off of the DEA
    25   correct, sir?                                   25       definition.
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     1       A. Correct.                                  1   QUESTIONS BY MR. MOUGEY:
     2       Q. And you understand that those             2       Q. How frequently were you pulling
     3   reports pulled specific fields of data to        3   those reports off of Mobius and forwarding
     4   assist Walgreens in its job to identify          4   them to the DEA?
     5   suspicious orders, correct, sir?                 5       A. On a monthly basis.
     6       A. Correct.                                  6       Q. Were you aware if anyone at
     7       Q. And, sir, would you please                7   Walgreens was reviewing those reports that
     8   explain to me what fields, what information      8   were sent to the DEA?
     9   was pulled to populate a report to assist        9       A. I don't know if anybody from
    10   Walgreens with identifying suspicious orders?   10   Walgreens were reviewing those reports.
    11            MR. STOFFELMAYR: Objection to          11       Q. Did anybody come back to you
    12       the form. Foundation.                       12   and ask you for additional information on any
    13            THE WITNESS: So I do not know          13   of those reports from Walgreens?
    14       what was actually populated in those        14       A. Personally, no.
    15       Mobius reports. I just pulled them,         15       Q. Did anybody send you an e-mail
    16       burned them on a CD and sent them off       16   or ask for any additional information on any
    17       to the individual DEA local offices         17   of those reports from Walgreens?
    18       and to our distribution centers.            18       A. No.
    19   QUESTIONS BY MR. MOUGEY:                        19       Q. Okay. Let's continue down to
    20       Q. So you performed no analysis on          20   the paragraph that begins with, "Facilitate
    21   any of those reports?                           21   activities."
    22       A. That is correct.                         22            Do you see where I am?
    23       Q. You have no earthly idea what            23       A. Yes.
    24   was in the reports?                             24       Q. "Facilitate activities and
    25            MR. STOFFELMAYR: Objection to          25   projects for HCLP team leads and analysts,
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     1   proactively support loss prevention manager      1   was your area of responsibility?
     2   investigations across the country with data      2       A. I did not, no.
     3   requests."                                       3       Q. Was there anyone else that you
     4            Let's stop right there. Okay?           4   were aware of that was also sending the
     5            So part of your role as project         5   reports for suspicious orders or orders of
     6   manager at Walgreens was to pull data            6   interest to the DEA?
     7   requests for project managers across the         7       A. Yes.
     8   country, correct?                                8       Q. And who else was that?
     9        A. Correct.                                 9       A. At the time it was my
    10        Q. Your role was not limited to            10   manager/supervisor, Marcie Ranick.
    11   any geographical space or region as a project   11       Q. And how did you -- is it
    12   manager, correct?                               12   Ranick?
    13        A. At that time, no.                       13       A. Ranick.
    14        Q. And you continue on in that             14       Q. How did you and Ms. Ranick
    15   sentence, it says, "In content expert advice    15   divide responsibilities over who sent the
    16   as it pertains to compliance, fraud, waste      16   orders of interest or suspicious orders to
    17   and abuse with the Walgreens family of          17   the DEA?
    18   companies."                                     18       A. She did it for a period of time
    19            Sir, what expert advice were           19   before I was in loss prevention, asset
    20   you providing to Walgreens as it pertains to    20   protection, and then towards the end of my
    21   compliance, fraud, waste and abuse with the     21   career, she kind of delegated that role or
    22   Walgreens family of companies?                  22   that responsibility to me.
    23        A. The advice I was providing were         23       Q. All right. The next bullet on
    24   for the field leadership. If they were          24   your CV, "Serve as the subject matter expert
    25   investigating suspected losses at their         25   on all systems, applications and initiatives
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     1   pharmacy, I was able to provide my expertise     1   related to the inventory movement and
     2   as a pharmacy tech to explain the workflow of    2   associated functions that can cause and/or
     3   how a prescription is entered, filled and        3   monitor pharmacy health/" -- I'm sorry,
     4   what that looks like in keystrokes.              4   "pharmacy/health care shrink. Examples would
     5            So if there's anything that             5   include, but are not limited to, point of
     6   diverts from those average keystrokes, I can     6   sale systems, inventory management, cash
     7   identify those and bring those to the            7   management, prescription monitoring and
     8   attention of the local field leadership, who     8   processing, internal theft, DEA requirements,
     9   would then perform their either interview or     9   corporate programs, regulatory issues and
    10   investigation to a specific employee.           10   operation policies," correct, sir?
    11       Q. Okay. Let me go back to the              11       A. That's what it states here,
    12   suspicious order reports or the order of        12   yes.
    13   interest reports that you were forwarding to    13       Q. And for the second time on the
    14   the DEA.                                        14   second page of your CV, you have used the
    15            What -- what years did you --          15   word "expert" to describe your areas of
    16   did you pull those reports?                     16   responsibility, correct, sir?
    17       A. I can't recall exactly when.             17       A. For those applications, yes.
    18       Q. Just generally, what years did           18       Q. And one of those applications
    19   you pull those reports?                         19   included the DEA requirements, correct, sir?
    20       A. It was when I was working in --          20       A. That is correct.
    21   towards the later end of my career in loss      21       Q. And, sir, what was your
    22   prevention. So probably 2011, 2012.             22   understanding of what the DEA requirements
    23       Q. Have you had an opportunity to           23   were during your tenure at Walgreens in
    24   review what period of time Walgreens sent       24   relation to the prescription of opiate,
    25   those reports to the DEA outside of when that   25   Schedule II or Schedule III?

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     1            MR. STOFFELMAYR: Objection to            1   monitoring and processing?
     2       the form.                                     2       A. Yes, in my role that pertains
     3            THE WITNESS: I can't recall              3   to loss prevention and asset protection.
     4       specifically what those requirements          4       Q. And in your role as loss
     5       were at that particular time.                 5   prevention and asset protection, you had
     6   QUESTIONS BY MR. MOUGEY:                          6   day-to-day responsibilities regarding
     7       Q. I'm assuming that while you                7   Schedule II and Schedule III opiates,
     8   were at Walgreens, you received significant       8   correct, sir?
     9   training regarding your areas of                  9       A. Those were part of my daily
    10   responsibility, but more specifically the DEA    10   responsibilities, yes.
    11   requirements regarding Schedule II and           11       Q. If you turn to the first page
    12   Schedule III narcotics?                          12   of your CV. Beginning in February of 2013,
    13       A. I was not.                                13   you were promoted to manager of
    14       Q. You were not trained on what              14   pharmaceutical integrity, correct, sir?
    15   the DEA requirements were on Schedule II and     15       A. That is correct.
    16   Schedule III requirements?                       16       Q. Do you have an understanding of
    17       A. I was not.                                17   why or when the pharmaceutical integrity
    18       Q. And what study or academic                18   group at Walgreens was created?
    19   background do you have that you would            19       A. I do.
    20   indicate that you had subject matter             20       Q. And why is that?
    21   expertise on DEA requirements?                   21       A. It was part of the settlement
    22       A. I have not had any education or           22   agreement with the DEA on the memorandum of
    23   background regarding those.                      23   agreement.
    24       Q. The last bullet point on this             24       Q. And when were you informed that
    25   page, "Serves as a subject matter expert on      25   the pharmaceutical integrity group was being
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     1   all systems."                                     1   created as a result of the MOA, memorandum of
     2             Sitting here today, is that an          2   agreement?
     3   accurate and truthful statement regarding         3        A. When was I informed?
     4   your areas of expertise at Walgreens?             4        Q. Yes, sir.
     5        A. In my role, yes, at the time.             5        A. I was informed when I joined
     6        Q. In your role as understanding             6   the team.
     7   and having an expertise as far as the DEA         7        Q. All right. So let's walk
     8   requirements, is that a truthful statement,       8   through your areas of responsibility as
     9   sir?                                              9   manager of the pharmaceutical integrity -- is
    10        A. It is a truthful statement for           10   it a department? Group? What would you
    11   my role in loss prevention, asset protection.    11   refer to it as?
    12        Q. And is it a truthful statement,          12        A. Department.
    13   sir, that you have subject matter expertise      13        Q. So your first bullet,
    14   on regulatory issues and operation policies?     14   "Responsible for managing, creating and
    15        A. As my role in asset protection,          15   managing controlled substance dispensing,
    16   loss prevention, yes.                            16   monitoring and reporting programs," correct,
    17        Q. Is it also a truthful or                 17   sir?
    18   accurate statement, sir, that you have           18        A. That is correct.
    19   subject matter expertise on Walgreens'           19        Q. Would you please explain what
    20   corporate programs?                              20   you mean by the first bullet?
    21        A. Those pertain to my role in              21        A. So our team manages the
    22   loss prevention, asset protection, yes.          22   monitoring of controlled substances that are
    23        Q. And, sir, is it also a truthful          23   going into the pharmacies and out of the
    24   or accurate statement that you have subject      24   pharmacies. So we have an application called
    25   matter expertise regarding prescription          25   a CSO KPI that handles that for our team. It

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     1   automatically populates an application with      1   correctly?
     2   what the store receives and what they            2       A. That's correct. That's what it
     3   dispense.                                        3   states here.
     4       Q. Was that system in place prior            4       Q. Please explain to me what you
     5   to the creation of the pharmaceutical            5   mean by that third bullet.
     6   integrity department?                            6       A. So a part of what our team's
     7       A. I do not believe it was.                  7   responsibilities were to make sure that
     8       Q. The second bullet, "Develops,             8   individual state laws are being followed
     9   recommends and implements programs,              9   regarding pick up and dispensing of
    10   procedures and techniques which will identify   10   controlled substances.
    11   and minimize loss of company assets and         11       Q. When you say "pick up and
    12   ensure the safety, compliance and security of   12   dispensing of controlled substances," what do
    13   the ordering and dispensing of controlled       13   you mean?
    14   substances," correct, sir?                      14       A. So certain states require
    15            Did I read that right?                 15   identification of patients that are picking
    16       A. That's correct.                          16   up their controlled substance medications and
    17       Q. Would you please explain what            17   that we had to record those IDs.
    18   you mean by the second bullet?                  18       Q. The fourth bullet, "Recommend
    19       A. Our team was instrumental in             19   and implements programs designed to enhance
    20   developing our policies and procedures          20   and improve the ordering and dispensing of
    21   revolving around good faith dispensing and      21   controlled substances, i.e., process and
    22   target drug, good faith dispensing policies.    22   policy initiative, ensures companywide
    23       Q. Were the good faith dispensing           23   awareness and adequate understanding of the
    24   policies in place prior to the implementation   24   functions and responsibilities of the
    25   of the pharmaceutical integrity department?     25   pharmaceutical distribution and dispensing
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     1       A. It was not. Well, those                   1   integrity group," correct?
     2   specific policies and procedures were not in     2       A. That's what it states here,
     3   place, but we did have policies regarding        3   correct.
     4   good faith dispensing.                           4       Q. Explain to me that last
     5       Q. Would you agree with me, sir,             5   sentence in that bullet, "ensures companywide
     6   that the policies in place at the                6   awareness and adequate understanding of the
     7   implementation of the pharmacy --                7   functions and responsibilities of the
     8   pharmaceutical integrity department were         8   pharmaceutical distribution."
     9   significantly more robust prior to -- I'm        9            What does that mean, sir?
    10   sorry, after the MOA with the DEA?              10       A. So we made sure that our
    11       A. They were more robust.                   11   pharmacy is aware of the procedure to get
    12       Q. Sir, the third bullet,                   12   additional controlled substances into their
    13   "Responsible for investigating/reporting        13   pharmacies as well as other prescription
    14   potential violations of law, regulations or     14   medications. We made them aware that we
    15   company policy applicable to controlled         15   implemented two applications, that if they
    16   substances to the appropriate business          16   needed additional controlled substances
    17   centers, units and director of pharmaceutical   17   outside of what the system auto-suggested,
    18   integrity," correct, sir?                       18   that there was a process in place that they
    19            MR. STOFFELMAYR: Sorry, where          19   had to follow in order to get those
    20       are you? The third bullet?                  20   additional medications.
    21            MR. MOUGEY: The -- yes.                21       Q. So if they exceeded their
    22            MR. STOFFELMAYR: I'm sorry,            22   threshold, that was the policy or procedure,
    23       okay.                                       23   to order additional Schedule II or
    24   QUESTIONS BY MR. MOUGEY:                        24   Schedule III narcotics?
    25       Q. Third bullet, did I read that            25       A. It was for any Schedule II
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     1   through V, and we had two separate types         1        A. That's correct.
     2   of -- we had a tolerance limit and a ceiling     2        Q. And you would agree that that
     3   limit.                                           3   is a potential area of diversion, correct,
     4        Q. And, sir, was part of your role          4   sir?
     5   that you were recommending specific programs     5        A. It could lead to diversion,
     6   to ensure there was companywide awareness and    6   correct.
     7   adequate understanding of the                    7        Q. Yes, sir.
     8   responsibilities of the pharmacy --              8            And you would agree with me
     9   pharmaceutical distribution?                     9   that the -- that the volume of Schedule II
    10        A. Yes.                                    10   and Schedule III narcotics prescribed to
    11        Q. Next bullet, "Develops and              11   people and then remain unused in their homes
    12   maintains an interactive and collaborative      12   was a potential area of diversion, correct,
    13   working relationship," and it identifies the    13   sir?
    14   DEA, "to drive industry-leading solutions to    14        A. I can agree to that.
    15   pharmaceutical diversion," correct, sir?        15        Q. Next bullet, you "collaborate
    16        A. Correct.                                16   with other departments in order to meet the
    17        Q. And what exactly did you do,            17   needs of the department and the company's
    18   sir, that you and Walgreens were driving        18   objective," correct?
    19   industry-leading solutions to pharmaceutical    19        A. Correct.
    20   diversion?                                      20        Q. What other departments?
    21        A. So Walgreens has implemented            21            You give some examples here:
    22   two programs: One is the safe medication        22   Legal, government affairs, logistics, loss
    23   disposal program, which allows customers to     23   prevention, IT.
    24   dispose of unwanted or unused medications at    24            Any other department that you
    25   no cost to them. We have 1,088 locations        25   collaborated with in your role as manager of
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     1   across the chain where any medication can be     1   pharmaceutical integrity?
     2   disposed of into a kiosk. Those medications      2        A. Those are the main ones. We
     3   are then sent off to one of our hazardous        3   also collaborated with the operations team,
     4   waste haulers, destruction facility where        4   which basically -- any type of program that
     5   they are incinerated.                            5   touches the stores, they have to get
     6            The other program is our                6   involvement with just to make sure they land
     7   naloxone program where naloxone is a -- is a     7   or they're launched correctly in those
     8   medication that reverts the effects of opioid    8   stores.
     9   overdose, and it's a lifesaving medication       9        Q. The next bullet, "Collaborate
    10   that we have now available without a            10   all levels of management concerning required
    11   prescription.                                   11   compliance and audit reviews and initiatives
    12       Q. Now, the second program is not           12   to ensure adherence to federal, state and
    13   a program that is a solution to                 13   local laws and regulations," correct, sir?
    14   pharmaceutical diversion, correct, sir?         14        A. That's correct.
    15       A. Correct.                                 15        Q. Next bullet, "Coordinates
    16       Q. And the first program that you           16   unique investigations involving controlled
    17   mentioned, the, I'll call it, takeback or       17   substance ordering and dispensing, which may
    18   that -- people turning in unwanted or unused    18   involve highly sensitive and/or extremely
    19   Schedule II, Schedule III narcotic              19   confidential information," correct, sir?
    20   prescriptions, correct, sir?                    20        A. That is correct.
    21       A. It's any type of medication.             21        Q. Would you please explain to me
    22       Q. So when you say "unwanted,               22   what you mean by that second to last bullet
    23   unused," that people had in their homes that    23   on page 1 of 3?
    24   they hadn't taken the entire prescription,      24        A. High sensitive or extremely
    25   correct?                                        25   confidential information deals with HIPAA
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     1   information. So we're able to view patient        1   they received, product, and what they sold,
     2   and profile information, prescription             2   and any claims for any product that was
     3   history. We have to treat it as highly            3   damaged in transit or damaged at the
     4   sensitive in regards to HIPAA.                    4   pharmacy, those would be considered claims.
     5       Q. Yes, sir.                                  5       Q. Okay. What was the goal or
     6            But the first part of that               6   objective of running that 13-week, 52-week
     7   sentence, "coordinates unique investigations      7   report? What were you looking for?
     8   involving controlled substance ordering and       8       A. So those reports basically
     9   dispensing," what did you mean by that, sir?      9   provided another means for identifying
    10       A. So for investigations regarding           10   possible losses that are coming out of a
    11   ordering, dispensing, kind of as -- reverting    11   pharmacy. So those reports will show what a
    12   back to those reports, the exception reports,    12   store received, what they sold, and if it
    13   the store is ordering more than they're          13   doesn't match up with the prescription sales
    14   selling, and there's negative adjustments.       14   history, if there's negative adjustments, we
    15            It kind of -- it flags on an            15   can see that that sort of potentially has a
    16   exception report, so we help coordinate by       16   leak of medications.
    17   providing data in terms of orders that are       17       Q. And I think you referred to
    18   coming in, sales history for the                 18   that internally at Walgreens in loss
    19   investigators, and we provide any additional     19   prevention as shrinkage, correct?
    20   information that can help the investigators      20       A. Correct.
    21   determine loss of controlled substances.         21       Q. Meaning that -- where there are
    22       Q. And when you say "reverting               22   Schedule II or Schedule III narcotics that
    23   back to the exception reports," those were       23   were disappearing internally at Walgreens,
    24   the -- the employee pilfering reports            24   correct?
    25   internally at the store, correct, sir?           25       A. Those were some of the
                                                Page 51                                              Page 53
     1       A. Correct. They were available               1   medications on there.
     2   on a -- it's called StoreNet. It's a              2       Q. Yes, sir.
     3   public-facing for our stores, a web page.         3            The last bullet on page 1 of 3,
     4       Q. All right. So those unique                 4   "Develops innovative programs to identify and
     5   investigations you're referring to include,       5   analyze areas that address drug diversion and
     6   for example, the employee pilfering report,       6   regulatory compliance," correct, sir?
     7   the negative adjustments report, the 13-,         7       A. That is correct.
     8   15-week reports you mentioned earlier?            8       Q. And the last bullet, "Develops
     9       A. 13- and 52-week.                           9   appropriate metrics to identify suspicious
    10       Q. 13- and 52-week. Thank you.               10   controlled substance acquisition, inventory
    11             And were there additional              11   or utilization," correct, sir?
    12   reports under your unique investigations         12       A. Correct.
    13   involving controlled substance ordering and      13       Q. I would like you to keep that
    14   dispensing that you're referring to here in      14   handy, and we'll come back to it.
    15   the second to last bullet on page 1 of 3 of      15            I hand you what we're going to
    16   your CV?                                         16   mark as Stahmann 2.
    17       A. Not that I can recall at this             17            (Walgreens-Stahmann Exhibit 2
    18   time.                                            18       marked for identification.)
    19       Q. Would you explain to me                   19   QUESTIONS BY MR. MOUGEY:
    20   again -- and I'm sorry if you've already done    20       Q. Have you seen this document
    21   this -- but what the 13-week, 52-week report     21   before, Mr. Stahmann?
    22   was?                                             22       A. I have not seen this particular
    23       A. So it's basically a snapshot of           23   one, no.
    24   that -- for a particular pharmacy, a snapshot    24       Q. If you turn to the last page,
    25   of either 13- or 52-week movement of what        25   in the bottom right-hand corner, it has a

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     1   date, April 2, 2013, correct?                    1       A. That is correct.
     2        A. Correct.                                 2       Q. And so explain to me how these
     3        Q. And you see the org chart                3   areas of expertise, between the pharmacist,
     4   directly above that, correct, sir?               4   the data queries and loss prevention -- how
     5        A. I do.                                    5   did you-all divide those up on top of the
     6        Q. And you see your name under              6   geographical responsibilities you had?
     7   Tasha Polster, director of pharmaceutical        7       A. So those were kind of
     8   integrity, correct?                              8   cross-trained, so even though Patty and Chris
     9        A. Correct.                                 9   had pharmacist's backgrounds, they provided
    10        Q. And that was your role as               10   insight in things throughout the country.
    11   manager, correct, sir?                          11            So if a policy was being
    12        A. Yes, I was manager at that              12   implemented, they provided their
    13   time.                                           13   pharmaceutical -- pharmacist's background.
    14        Q. And so you directly reported to         14   So there -- if it was something that was
    15   the director, Ms. Polster, of the               15   touching all of the chain or company, we all
    16   pharmaceutical integrity department, correct,   16   would provide insight to it. So if it's
    17   sir?                                            17   something that touched all of the chain or
    18        A. Correct.                                18   company, it wasn't just specific to our areas
    19        Q. And was there a division of             19   of region.
    20   duties between you and the other managers on    20       Q. Now, if I use the word
    21   this organizational structure?                  21   "constituents," does that make sense to you?
    22        A. There were.                             22       A. Yes.
    23        Q. And please explain to me what           23       Q. What does that mean to you,
    24   the division of duties were between you,        24   constituents?
    25   Ms. Daugherty, Mr. Dymon and Mr. Bratton?       25       A. From my understanding,
                                               Page 55                                              Page 57
     1       A. So at that time we all had the            1   constituents would be -- maybe I have the
     2   same duties, but we had different areas of       2   definition wrong. Actually, I really don't
     3   responsibilities, so different areas would be    3   know the exact definition.
     4   part of the country for orders.                  4       Q. How about the people you serve?
     5       Q. And in addition to being                  5       A. Okay.
     6   divided in different parts of the country,       6       Q. The people -- so when you were
     7   did you-all have areas of expertise that you     7   a police officer with the -- with the city,
     8   helped on regarding specific initiatives?        8   and you were literally out on the beat
     9       A. Yes.                                      9   driving the car, making sure that people were
    10       Q. And please explain to me what            10   following the rules and laws, who would
    11   those different areas of expertise were.        11   you -- what was your understanding of who
    12       A. So Patricia and Chris were both          12   your constituents were, people --
    13   pharmacists, so they provided insight           13       A. The people that I served, so it
    14   regarding their pharmacist's background. Ed     14   would be the community.
    15   Bratton, his expertise or skill, was running    15       Q. The community at large,
    16   data queries, creating reports, and my          16   correct?
    17   expertise was in loss prevention, asset         17       A. Correct.
    18   protection.                                     18       Q. And I'm assuming that's a
    19       Q. Now, you -- your geographic              19   position that you took very seriously,
    20   area in the pharmaceutical integrity group      20   correct?
    21   was the West, correct, sir?                     21       A. Yes.
    22       A. That is correct.                         22       Q. And your day-to-day
    23       Q. And so each of these --                  23   responsibilities meant taking care of and
    24   Ms. Daugherty, Mr. Dymon and Mr. Bratton also   24   protecting people at large, correct?
    25   had regions as well, correct?                   25       A. Yes.
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     1       Q. And you followed up on                   1   QUESTIONS BY MR. MOUGEY:
     2   information and leads that were given to you    2       Q. Well, generally, tell me who --
     3   to ensure the people you served were safe,      3   the different areas, who were the people you
     4   correct?                                        4   were serving? Who were the people that were
     5       A. Correct.                                 5   your constituents in your role as project
     6       Q. And that was a tremendously              6   manager in pharmacy loss prevention?
     7   important job that you filled for a few         7            MR. STOFFELMAYR: Objection to
     8   years, correct, sir?                            8       the form.
     9       A. Yes.                                     9            THE WITNESS: Again, yeah, I
    10       Q. And your area of expertise when         10       can't say specifically who we served,
    11   you transitioned into Walgreens -- you also    11       because it just covered such a broad
    12   had a position of trust at Walgreens,          12       area.
    13   correct, sir?                                  13   QUESTIONS BY MR. MOUGEY:
    14       A. Correct.                                14       Q. Well, I'm not asking you
    15       Q. And you capitalized on your             15   specifically. I'm asking you generally.
    16   background and your academic background at     16            Generally, in your role as a
    17   Walgreens, correct?                            17   project manager, pharmacy loss prevention at
    18       A. Yes.                                    18   Walgreens, who were you serving? Whose
    19       Q. Now, you also had constituents,         19   interest were you protecting?
    20   or people, that you served in your job at      20       A. Both Walgreens and the
    21   Walgreens, correct?                            21   customers.
    22       A. Correct.                                22       Q. And you were protecting
    23       Q. And sitting here today in your          23   Walgreens in loss prevention to minimize or
    24   role as pharmaceutical integrity and your      24   alleviate shrinkage, correct?
    25   role as project manager and loss prevention    25       A. At the time I was helping our
                                              Page 59                                             Page 61
     1   and as a senior analyst investigator, who       1   field leaders with their investigations
     2   were the -- your constituents or the people     2   regarding shrink.
     3   that you served?                                3       Q. And explain to me what part of
     4            MR. STOFFELMAYR: Objection to          4   your role as a project manager in pharmacy
     5       the form.                                   5   loss prevention at Walgreens was to protect
     6            THE WITNESS: Yeah, it's too            6   customers or patients.
     7       broad of a statement. We -- we served       7            MR. STOFFELMAYR: Objection to
     8       a lot of people, so I can't really          8       the form.
     9       answer that directly.                       9            THE WITNESS: I can't say
    10   QUESTIONS BY MR. MOUGEY:                       10       specifically. I don't -- I don't
    11       Q. All right. Let's break them             11       recall exactly.
    12   down one by one.                               12   QUESTIONS BY MR. MOUGEY:
    13       A. Yeah.                                   13       Q. All right. When you mentioned
    14       Q. Let's start off in your role as         14   customers earlier as part of those people you
    15   project manager in the pharmacy loss           15   were working to protect, who did you mean by
    16   prevention.                                    16   customer? Who was the customer?
    17            Who were the people you served?       17       A. Customers could mean the actual
    18   Who was -- who were your constituents?         18   individual or patients that come to
    19            MR. STOFFELMAYR: Objection to         19   Walgreens. Customers could be other
    20       the form.                                  20   businesses within Walgreens -- other
    21            THE WITNESS: Again, it spanned        21   departments within Walgreens, sorry, and
    22       over quite a few different areas, so I     22   other businesses that work with Walgreens.
    23       couldn't say specifically who the          23       Q. So I'm not talking about
    24       constituents were.                         24   businesses within Walgreens or divisions
    25                                                  25   within Walgreens, and I'm not talking about
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     1   other businesses. Let's talk about --            1   QUESTIONS BY MR. MOUGEY:
     2   specifically about patients or customers.        2        Q. And that was a new role for you
     3            What part of your job as                3   beginning in February of 2013?
     4   project manager in pharmacy loss prevention      4        A. Correct.
     5   was designed to protect patients or customers    5        Q. Do you have an understanding
     6   of the pharmacy?                                 6   sitting here today what department or group
     7            MR. STOFFELMAYR: Objection to           7   within Walgreens was responsible for
     8       the form.                                    8   protecting patients by ensuring they're
     9            THE WITNESS: Yeah, I can't --           9   getting medication for legitimate medical
    10       I don't recall specifically what            10   purposes?
    11       aspects of my job at the time would         11        A. Prior to my role in asset --
    12       impact customers or help with the           12   pharmaceutical integrity? No, I cannot
    13       constituents.                               13   recall.
    14   QUESTIONS BY MR. MOUGEY:                        14        Q. You don't recall any general
    15       Q. Let's break them down one by             15   group or division within Walgreens whose job
    16   one.                                            16   it was to ensure that patients were getting
    17            Patients: What part of your            17   medications for legitimate medical purposes
    18   job generally in your role as project manager   18   prior to February of 2013?
    19   of pharmacy loss prevention was designed to     19             MR. STOFFELMAYR: Objection to
    20   protect patients?                               20        the form.
    21            MR. STOFFELMAYR: Objection to          21             THE WITNESS: I cannot recall.
    22       the form.                                   22        I'm not saying that there wasn't. I
    23            THE WITNESS: Yeah. Like I              23        just can't recall.
    24       said, I can't recall exactly what           24   QUESTIONS BY MR. MOUGEY:
    25       parts of my job touched the individual      25        Q. The document that you have in
                                               Page 63                                              Page 65
     1       customers.                                   1   front of you, Stahmann 2, on the org chart,
     2   QUESTIONS BY MR. MOUGEY:                         2   on the third page of this document, has --
     3       Q. All right. You keep using the             3   each region or each manager has business --
     4   word "exactly" or "specifically." I'm not        4   two business analysts that are reporting to
     5   asking you exactly or I'm not asking you         5   the manager, correct, sir?
     6   specifically.                                    6       A. That's what it states here, but
     7            I'm asking you generally what           7   that is not correct today.
     8   part of your job as project manager in           8       Q. What is not -- what was not --
     9   pharmacy loss prevention was designed to         9   was it correct at the time in April of 2013?
    10   protect patients?                               10       A. It was not.
    11            MR. STOFFELMAYR: Objection to          11       Q. All right. What was incorrect
    12       the form.                                   12   about it?
    13            THE WITNESS: I can't recall.           13       A. So at the time we each had one
    14   QUESTIONS BY MR. MOUGEY:                        14   business analyst that reported to us.
    15       Q. What part of your job                    15       Q. Would you explain to me or are
    16   specific -- I'm sorry. What part of your job    16   you familiar with what the role of business
    17   generally as manager of pharmaceutical          17   analysts were at the time in April of 2013,
    18   integrity was designed to protect patients?     18   correct?
    19            MR. STOFFELMAYR: Objection to          19       A. Correct.
    20       the form.                                   20       Q. And you were familiar with the
    21            THE WITNESS: So as -- in               21   role of the business analyst from the
    22       pharmaceutical integrity, we make sure      22   inception of the pharmaceutical integrity
    23       that patients are getting medications       23   unit, correct, sir?
    24       for legitimate medical purposes.            24       A. Only -- I joined pharmaceutical
    25                                                   25   integrity after it was created, so my
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     1   understanding of the role of the business        1   western division," correct?
     2   analyst started as -- when I took a manager      2        A. That is correct.
     3   position for RX integrity.                       3        Q. Would you differentiate your
     4       Q. And what is your understanding            4   role in pharmaceutical integrity from your
     5   of what the business analyst's scope of          5   previous experience at Walgreens in any way?
     6   responsibilities were in the pharmaceutical      6        A. So my role in pharmaceutical
     7   integrity department?                            7   integrity was different than any other role
     8       A. So they would help provide                8   is -- well, it was different than asset
     9   reports for either requests that came in from    9   protection, loss prevention. Just based off
    10   outside agencies like the DEA, State Boards     10   of the reports I was pulling in loss
    11   of Pharmacy. They would provide reports for     11   prevention, I was providing ancillary reports
    12   audits, investigations, if an outside agency    12   for the field leaders to help them with their
    13   was investigating a particular prescriber for   13   investigations.
    14   a particular patient.                           14             Here in pharmaceutical --
    15            We also provided reports for           15   pharmaceutical integrity, it was more
    16   other departments inside Walgreens if they      16   surrounding policies, procedures around
    17   were unable to pull that data themselves.       17   controlled substances.
    18       Q. Were there reports that were             18        Q. So from your initial employment
    19   automated that the business analysts were       19   at Walgreens, beginning in approximately June
    20   responsible for pulling on a regular basis?     20   of 2006 until you left your role as a senior
    21       A. There were some, yes.                    21   analyst investigator in 2012, would you
    22       Q. All right. And what were                 22   describe that function as protecting patients
    23   those?                                          23   of Walgreens?
    24       A. I can't recall exactly which             24             MR. STOFFELMAYR: Objection to
    25   ones -- or I can't recall all of them, but      25        the form.
                                               Page 67                                              Page 69
     1   there were reports for -- we have an internal    1            THE WITNESS: Yeah. I can't --
     2   reporting where it indicates the amount of       2       it was probably a benefit of the job
     3   sales of controlled substances, receipts of      3       or a subsequent {sic} of the job, but
     4   controlled substances, those are all             4       it wasn't our primary responsibility.
     5   automated reports.                               5   QUESTIONS BY MR. MOUGEY:
     6        Q. If you turn to the second page           6       Q. When you say it was a benefit
     7   of this document, your picture in the upper      7   of the job or a part of the job, what
     8   left-hand corner, Eric Stahmann.                 8   specifically about that -- your job as a
     9            "Eric is a certified pharmacy           9   senior analyst investigator was designed to
    10   technician, earned a bachelor's degree in       10   protect patients?
    11   biology and a master's degree in criminal       11            MR. STOFFELMAYR: Objection to
    12   justice from Loyola University in 2002. He's    12       the form.
    13   been with Walgreens for over six years, most    13            THE WITNESS: So some of the
    14   recently in health care loss prevention,        14       policies and procedures we put in
    15   where he investigated fraud, waste and abuse    15       place were to help customers and to
    16   cases."                                         16       help our pharmacists help those
    17            Is that accurate, sir?                 17       customers, so I think that's part of
    18        A. Yes.                                    18       how we impacted customers.
    19        Q. "Prior to starting his career           19   QUESTIONS BY MR. MOUGEY:
    20   at Walgreens, Eric spent time as a law          20       Q. What policies and procedures
    21   enforcement officer."                           21   did you put in place in your role as a senior
    22            And that's correct?                    22   analyst investigator that were designed to
    23        A. That is correct.                        23   help patients?
    24        Q. "He's currently the                     24            MR. STOFFELMAYR: Objection to
    25   pharmaceutical integrity manager for the        25       the form.
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     1            THE WITNESS: I don't recall             1   Agreement" between the DEA and
     2       implementing any -- specifically             2   Walgreens.
     3       myself implementing any policies and         3        I inquired of counsel if our
     4       procedures in loss prevention.               4   request was even considered, and it
     5            MR. STOFFELMAYR: We're coming           5   appears that it was not. And we would
     6       up on an hour, when you get to a good        6   just ask the courtesy that the copy be
     7       spot.                                        7   provided to us so that we can use it
     8   QUESTIONS BY MR. MOUGEY:                         8   today, and that's important to put
     9       Q. If you go back to the --                  9   that on the record. I can -- and I
    10            MR. MOUGEY: Ask a couple more?         10   can see you're working very hard,
    11            MR. STOFFELMAYR: Sure.                 11   taking notes, and it would be nice for
    12   QUESTIONS BY MR. MOUGEY:                        12   you to simply just send us a copy of
    13       Q. -- to the org chart on                   13   the document, rather than just reject
    14   Stahmann 2, has the org structure changed in    14   it.
    15   any way in pharmaceutical integrity since       15        MR. STOFFELMAYR: That's
    16   the -- since this doc was published in          16   totally incorrect. Let's go ahead.
    17   April 2, 2013?                                  17        MR. SHKOLNIK: It's incorrect?
    18       A. Yes.                                     18        MR. STOFFELMAYR: Totally
    19       Q. And how has it changed now?              19   incorrect.
    20       A. Judy Rooney is no longer with            20        MR. SHKOLNIK: Oh, okay.
    21   the company. Chris Dymon has taken another      21        MR. MOUGEY: Kaspar, which part
    22   role with the company.                          22   is incorrect?
    23       Q. Otherwise, the organizational            23        MR. STOFFELMAYR: That he asked
    24   structure has stayed the same?                  24   for the copy of the document at
    25       A. Except for the business analyst          25   3:00 p.m., never said he needed it for
                                               Page 71                                        Page 73
     1   portion, there are additions and subtractions    1   the deposition today. The implication
     2   out of this org chart.                           2   is insulting.
     3       Q. What is the scope of the                  3         MR. MOUGEY: Do you-all believe
     4   responsibility of this group over the last       4   that a copy of the signed MOA has been
     5   three to four years?                             5   produced, that we have it, that we're
     6       A. It remains the same: Basically            6   missing it? Have you seen a copy?
     7   monitor controlled substances, provide           7         MR. STOFFELMAYR: I couldn't
     8   policies and procedures to help our              8   possibly know the answer to that
     9   pharmacists identify red flags where             9   question. I have not reviewed the
    10   prescriptions may not be being prescribed for   10   whole --
    11   a legitimate medical purpose, and then also     11         MR. MOUGEY: The 2013
    12   to provide data for subsequent audits or        12   settlement agreement with an
    13   requests from outside agencies.                 13   $80 million payment, you don't know if
    14            MR. MOUGEY: It's a good                14   you have a signed copy or not?
    15       stopping point.                             15         MR. STOFFELMAYR: I do not. I
    16            VIDEOGRAPHER: We're going off          16   don't know if we have a signed copy,
    17       the record at 10:05.                        17   if it exists.
    18            (Off the record at 10:05               18         MR. MOUGEY: Kate, you don't
    19       a.m.)                                       19   know if you have a copy?
    20            MR. SHKOLNIK: Just for the             20         MS. SWIFT: I don't.
    21       record, yesterday we asked for the          21         MR. MOUGEY: You don't know if
    22       courtesy of being provided or being         22   you have a signed copy?
    23       directed to the location, if it wasn't      23         MS. SWIFT: I don't.
    24       provided, of a document entitled            24         VIDEOGRAPHER: Back on the
    25       "Settlement and Memorandum of               25   record at 10:31.
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     1   QUESTIONS BY MR. MOUGEY:                         1   either an audit or an investigation.
     2       Q. Mr. Stahmann, before we leave             2       Q. And those were not reports on a
     3   Exhibits 1 and 2, on Exhibit 2, the business     3   periodic basis; those were specific detailed
     4   analyst we were discussing before the break.     4   reports requested by the DEA?
     5            Do you see that on the                  5       A. That is correct.
     6   organizational structure?                        6       Q. And what kind of reports
     7       A. Yes.                                      7   were -- did the DEA request?
     8       Q. And the first several years at            8       A. It could -- pertaining to any
     9   Walgreens you were an analyst, correct?          9   type of investigation, so reports regarding
    10       A. I was an analyst for a couple            10   prescriber history, what prescriptions were
    11   of years at Walgreens, correct.                 11   sold by -- what prescriptions that Walgreens
    12       Q. Would you please describe the            12   sold were written from or by a particular
    13   difference between the function and duties of   13   prescriber. Sometimes they asked for
    14   the business analyst in the pharmaceutical      14   specific patient profiles. They asked for
    15   integrity unit and your role as an analyst      15   other various types of documents, blueprints
    16   during your first few years at Walgreens?       16   of the pharmacy, basically anything that they
    17       A. So my role as an analyst for             17   were authorized to request in terms of
    18   asset protection, loss prevention differs       18   Walgreens pharmacies.
    19   than the role for these business analysts and   19       Q. Explain in a little more detail
    20   pharmaceutical integrity based on the type of   20   what the -- what type of information the DEA
    21   reports they pull, the type of reports they     21   wanted regarding patient history.
    22   run, and also who that information is being     22       A. So from my understanding, if
    23   provided to.                                    23   they were investigating a patient or if they
    24       Q. Let's do one at a time.                  24   needed patient information, we would pull all
    25            So in your role as an analyst,         25   of the -- based on the requested date range,
                                               Page 75                                              Page 77
     1   who were the reports provided to?                1   we would pull the information regarding what
     2       A. They were provided internally             2   a patient filled at a Walgreens and where at
     3   to field leadership.                             3   and what time.
     4       Q. Do you have any understanding             4       Q. What time period did Walgreens
     5   of whether or not field leadership was           5   have the ability to pull that customer,
     6   forwarding any of those reports to the DEA?      6   patient-specific information?
     7       A. I am unaware. I do not know.              7       A. When you mean frame, can you
     8       Q. Do you have any understanding             8   kind of elaborate on that time frame?
     9   of whether or not anyone within Walgreens was    9       Q. In your tenure at Walgreens
    10   forwarding any of the reports you were          10   from 2006 until today, do you have an
    11   pulling to the DEA?                             11   understanding of when Walgreens had the
    12       A. I do not know.                           12   ability to pull specific patient prescription
    13       Q. Let's go back to the business            13   history?
    14   analyst in the pharmaceutical integrity         14       A. From my understanding, we've
    15   department.                                     15   always had that capability.
    16            Do you have an understanding of        16       Q. Was Walgreens able to red flag
    17   whether any of the reports that were being      17   specific patient history in their
    18   pulled were sent to the DEA?                    18   prescriptions of Schedule II and III
    19       A. I am aware.                              19   narcotics?
    20       Q. And which reports were being             20            MR. STOFFELMAYR: Objection to
    21   forwarded to the DEA out of the                 21       the form.
    22   pharmaceutical integrity unit?                  22            THE WITNESS: So there was a
    23       A. The reports that I can                   23       way to red flag prescriptions, but it
    24   recollect or recall are reports that were       24       was not part of an automated system.
    25   actually requested by the DEA in regards to     25       We were reliant on the actual
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     1       pharmacists.                                 1   QUESTIONS BY MR. MOUGEY:
     2   QUESTIONS BY MR. MOUGEY:                         2       Q. And you understand that there's
     3       Q. Were there any automated                  3   both state statutes or state code and federal
     4   reports regarding suspicious orders that were    4   code governing the distribution of
     5   forwarded to the DEA during your tenure at       5   Schedule II and Schedule III narcotics,
     6   pharmaceutical integrity?                        6   correct?
     7             MR. STOFFELMAYR: Objection to          7       A. I am aware, yes.
     8       the form. Foundation.                        8       Q. And you understand that there
     9             THE WITNESS: I don't know if           9   are both state and federal codes that
    10       anybody in Walgreens forwarded any          10   regulate dispensing of Schedule II and
    11       reports to the DEA when I was in RX         11   Schedule III narcotics, correct?
    12       integrity because it was not part of        12       A. I am aware, yes.
    13       my function then.                           13       Q. And you're aware, sir, that
    14   QUESTIONS BY MR. MOUGEY:                        14   there is additional information that assists
    15       Q. Were you aware of anyone within          15   companies like Walgreens with providing
    16   pharmaceutical integrity forwarding automated   16   additional parameters to the codes governing
    17   reports to the DEA?                             17   dispensing and distribution of Schedule II
    18       A. Automated reports? No, I'm               18   and III narcotics, correct?
    19   not -- I can't -- I don't think or can't        19            MR. STOFFELMAYR: Objection to
    20   recall if any reports -- automated reports      20       the form.
    21   were sent to the DEA.                           21            THE WITNESS: I don't know
    22             (Walgreens-Stahmann Exhibit 3         22       specifically or I don't know outside
    23       marked for identification.)                 23       agencies, if they provide additional
    24   QUESTIONS BY MR. MOUGEY:                        24       information.
    25       Q. Now, Mr. Stahmann, you                   25

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     1   understand during your tenure at Walgreens       1   QUESTIONS BY MR. MOUGEY:
     2   that there were specific regulations in place    2       Q. Generally speaking, you're
     3   regarding Schedule II and Schedule III           3   aware that there are other guidelines or
     4   narcotics, correct, sir?                         4   parameters governing Schedule II and III
     5       A. I am aware that there are                 5   distribution and dispensing, correct?
     6   regulations regarding C-II and C-III             6            MR. STOFFELMAYR: Objection to
     7   narcotics.                                       7       the form.
     8       Q. And you are aware during your             8            THE WITNESS: I don't know if
     9   tenure at Walgreens that there are several       9       there are or not.
    10   different areas of information that would       10   QUESTIONS BY MR. MOUGEY:
    11   help define or -- the parameters around those   11       Q. Are you aware that there are
    12   rules and regulations around Schedule II and    12   regs that govern Schedule II and Schedule III
    13   Schedule III narcotics, correct?                13   distribution?
    14       A. Correct.                                 14       A. Yes.
    15       Q. And some of that information             15       Q. Are you aware that there's regs
    16   would be statutes that were applicable to       16   governing Schedule II and Schedule III
    17   Schedule II and Schedule III narcotics,         17   dispensing?
    18   correct?                                        18       A. Yes.
    19            MR. STOFFELMAYR: Objection to          19       Q. Are you aware that there's
    20       the form.                                   20   manuals at Walgreens that govern policies and
    21            THE WITNESS: I know there are          21   procedures regarding Schedule II and III
    22       statutes, but I don't know                  22   distribution?
    23       specifically what those individual          23       A. I am aware that there are
    24       statutes are, especially for                24   policies and procedures regarding dispensing
    25       individual states.                          25   of C-IIs and C-IIIs.
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     1       Q. And are you aware of, sir, that           1             MR. STOFFELMAYR: You want the
     2   there are polices and procedures at Walgreens    2       one with the orange sticker.
     3   that govern distribution of schedule -- C-II     3   QUESTIONS BY MR. MOUGEY:
     4   and C-III?                                       4       Q. If you would turn, sir, to the
     5       A. I am aware, yes.                          5   fourth page in with a bottom right-hand
     6       Q. And, sir, are you aware that              6   corner that has a number 2, begins with
     7   there are industry guidelines from industry      7   "whereas here."
     8   organizations that govern the distribution of    8             It's the last paragraph on the
     9   Schedule II and Schedule III distribution?       9   right-hand side.
    10            MR. STOFFELMAYR: Objection to          10             MR. STOFFELMAYR: The fourth
    11       the form.                                   11       page are you saying?
    12            THE WITNESS: I don't know if           12             MR. MOUGEY: The fourth page.
    13       there are individual standards              13       Mine doesn't have pages on them. The
    14       regarding those governances.                14       print doesn't have a page.
    15   QUESTIONS BY MR. MOUGEY:                        15             MR. STOFFELMAYR: So this is
    16       Q. Are you aware, sir, that there           16       double-sided. You mean this side, the
    17   are court interpretations of the code and       17       fourth actual page?
    18   regs governing Schedule II and III              18             MR. MOUGEY: The fourth piece
    19   distribution?                                   19       of paper, yes.
    20       A. I am aware that there are                20             MR. STOFFELMAYR: Number 2?
    21   interpretations, yes.                           21             MR. MOUGEY: Number 2.
    22       Q. Are you aware that there are             22             MR. STOFFELMAYR: Do you mind
    23   court interpretations of the code and regs      23       if I look at yours because I'm not
    24   governing Schedule II and Schedule III          24       sure what we're looking for?
    25   dispensing?                                     25             MR. MOUGEY: Sure. Bottom
                                              Page 83                                             Page 85
     1        A. Yes.                                     1       right-hand side. That last paragraph,
     2        Q. And, sir, what I've put in               2       right-hand side.
     3   front of you as Stahmann 3 is one of the         3             MR. STOFFELMAYR: Oh, the
     4   interpretations regarding Schedule II and        4       headnote. This is not page 4 of ours,
     5   Schedule III narcotics. It's Masters             5       but it says "whereas here."
     6   Pharmaceutical.                                  6             Do you see that?
     7             Sir, have you ever seen this           7             THE WITNESS: Yes.
     8   decision or this document?                       8   QUESTIONS BY MR. MOUGEY:
     9        A. I have not.                              9       Q. Headnote 2, bottom right-hand
    10        Q. And have you ever seen                  10   side that begins with "whereas here."
    11   reference to the Masters Pharmaceutical         11             Do you see that?
    12   decision in any internal documents at           12       A. I do see that.
    13   Walgreens?                                      13       Q. Take a minute, if you would,
    14        A. I do not recall, no.                    14   and just read that paragraph, Mr. Stahmann,
    15        Q. Have you ever seen reference to         15   that continues into the next page.
    16   this document in any of your dealings with      16       A. I read it.
    17   the DEA regarding Schedule II and Schedule      17       Q. Have you ever seen any language
    18   III distribution?                               18   during your tenure at Walgreens -- anything
    19        A. I cannot recall.                        19   similar to the paragraph you just reviewed
    20        Q. All right. If you would, sir,           20   under headnote 2?
    21   turn to --                                      21             MR. STOFFELMAYR: Objection to
    22             MR. STOFFELMAYR: Do you have          22       the form.
    23        two of these?                              23             THE WITNESS: I cannot recall
    24             THE WITNESS: Oh, yes, I have          24       if I've seen this specifically
    25        them.                                      25       somewhere else.
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     1   QUESTIONS BY MR. MOUGEY:                         1   on your tenure and experience and expertise
     2       Q. You understand that Walgreens             2   at Walgreens that Walgreens had a reporting
     3   has a license from the federal government to     3   requirement of suspicious orders to the DEA,
     4   distribute Schedule II and Schedule III          4   correct, sir?
     5   narcotics, correct?                              5             MR. STOFFELMAYR: I'm going to
     6       A. We used to, correct.                      6        object to that form and lack of
     7       Q. Yes, sir.                                 7        foundation, asking him to interpret a
     8            Up until 2014, Walgreens was            8        legal document he's never seen.
     9   licensed by the federal government to            9             THE WITNESS: Yeah, I can't
    10   distribute Schedule II and Schedule III         10        really answer that accurately because
    11   narcotics, correct?                             11        I don't know what Walgreens has done
    12            MR. STOFFELMAYR: Objection to          12        throughout their history of the
    13       the form.                                   13        company.
    14            THE WITNESS: I can't recall            14   QUESTIONS BY MR. MOUGEY:
    15       exactly up to what point, but I do          15        Q. And what I asked you was a
    16       know now that we do not distribute          16   little different.
    17       controlled substances.                      17             What I asked you was: During
    18   QUESTIONS BY MR. MOUGEY:                        18   your tenure at Walgreens, do you have an
    19       Q. Yes, sir.                                19   understanding that Walgreens had a reporting
    20            But up until the point where           20   requirement of suspicious orders to the DEA?
    21   you did not continue to distribute controlled   21             MR. STOFFELMAYR: Objection to
    22   substances, Walgreens had a license from the    22        the lack of form. Foundation. Again,
    23   federal government to distribute Schedule II    23        asking for a legal conclusion from a
    24   and Schedule III narcotics, correct?            24        lay witness.
    25       A. That is correct.                         25             THE WITNESS: I do now know
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     1        Q. And you understand with -- that          1       that we had a requirement, but
     2   license from the federal government to           2       throughout my entire tenure, no, I
     3   distribute Schedule II and Schedule III comes    3       cannot say that I knew of that
     4   with significant responsibilities, correct,      4       requirement or what that requirement
     5   sir?                                             5       was.
     6        A. Correct.                                 6   QUESTIONS BY MR. MOUGEY:
     7        Q. And if we look at the federal            7       Q. Yet your tenure at Walgreens
     8   court interpretation of the reg and code         8   included the scope and realm of diversion for
     9   governing the distribution of Schedule II and    9   almost 12 years, correct, sir?
    10   Schedule III, this paragraph begins, "The       10            MR. STOFFELMAYR: Objection to
    11   administrator considers the first factor:       11       the form.
    12   The maintenance of effective controls against   12            THE WITNESS: Diversion can
    13   the diversion of controlled substances. The     13       mean a lot of different things. My
    14   administrator must determine whether the        14       involvement with diversion helped -- I
    15   registrant complied with the DEA securities     15       provided information to field leaders
    16   requirement, and the security requirement at    16       to help investigate diversion.
    17   the heart of this case mandates that            17   QUESTIONS BY MR. MOUGEY:
    18   distributors design and operate a system to     18       Q. And one of the major components
    19   identify suspicious orders of controlled        19   of your responsibility during your entire
    20   substances and report those orders to DEA,      20   tenure at Walgreens was the area of
    21   the reporting requirement."                     21   diversion, correct, sir?
    22            Did I read that accurately,            22            MR. STOFFELMAYR: Objection to
    23   sir?                                            23       the form.
    24        A. Yes.                                    24            THE WITNESS: I wouldn't say
    25        Q. And, sir, you would agree based         25       major. It was a part of my job
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     1       duties.                                      1            MR. STOFFELMAYR: Objection to
     2   QUESTIONS BY MR. MOUGEY:                         2       the form.
     3       Q. One of your significant job               3            THE WITNESS: I do not know if
     4   duties at Walgreens during your entire           4       that is the requirement that is
     5   tenure, from 2006 until today, included          5       referenced in this document.
     6   diversion, correct, sir?                         6   QUESTIONS BY MR. MOUGEY:
     7             MR. STOFFELMAYR: Objection to          7       Q. Are you aware of any systems at
     8       the form.                                    8   Walgreens up and to February of '13, when the
     9             THE WITNESS: I consider all of         9   pharmaceutical integrity department was
    10       my duties significant, so I wouldn't        10   organized, that Walgreens had a system to
    11       say that is one significant. So it's        11   identify suspicious orders of controlled
    12       a part of my duty, but I wouldn't say       12   substances?
    13       it is a significant part of my duties.      13            MR. STOFFELMAYR: Objection to
    14   QUESTIONS BY MR. MOUGEY:                        14       the form. Lack of foundation.
    15       Q. And, sir, at what point in time          15            THE WITNESS: I am aware that
    16   did you become aware in your responsibilities   16       we had a system to identify controlled
    17   managing diversion issues, the Schedule II      17       substance orders that were suspicious
    18   and Schedule III narcotics, that there was a    18       or of interest, but I do not know if
    19   reporting requirement?                          19       that met the requirement.
    20             MR. STOFFELMAYR: Objection to         20   QUESTIONS BY MR. MOUGEY:
    21       the form. Lack of foundation.               21       Q. Let me redo that question
    22             THE WITNESS: I did not know           22   because I asked you in February of '13, when
    23       what the requirement was, but I did         23   pharmaceutical integrity was organized.
    24       know that we had a requirement when I       24            Up and to when you began with
    25       was in -- a manager for pharmaceutical      25   pharmaceutical integrity, do you have an
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     1       integrity.                                   1   understanding of whether or not Walgreens had
     2   QUESTIONS BY MR. MOUGEY:                         2   a system to identify suspicious orders of
     3       Q. So until February of 2013, you            3   controlled substances?
     4   did not have any understanding that there was    4            MR. STOFFELMAYR: Objection to
     5   a reporting requirement to the DEA of            5       the form. Lack of foundation.
     6   suspicious orders?                               6            THE WITNESS: There was a
     7            MR. STOFFELMAYR: Objection to           7       system in place, but I cannot speak on
     8       the form.                                    8       behalf of Walgreens what that complete
     9            THE WITNESS: That is correct.           9       system was or if any other part of
    10       I did not know that there was a             10       that system fell outside of my
    11       reporting requirement or if one             11       responsibilities.
    12       existed.                                    12   QUESTIONS BY MR. MOUGEY:
    13   QUESTIONS BY MR. MOUGEY:                        13       Q. And I'm not asking you to speak
    14       Q. Draw your attention to the --            14   on behalf of Walgreens. And I'm not asking
    15   the next sentence that begins with "the         15   you to -- I want to know what exactly you
    16   security requirement."                          16   knew.
    17            Do you see that, sir?                  17            What exactly did you know
    18       A. I do.                                    18   during your tenure at Walgreens until you
    19       Q. "The security requirement is at          19   joined the pharmaceutical integrity
    20   the heart of this case, mandates distributors   20   department about Walgreens' system to
    21   design and operate a system to identify         21   identify suspicious orders of controlled
    22   suspicious orders of controlled substances      22   substances?
    23   and report those to the DEA."                   23       A. I did not have any awareness of
    24            That's the reporting                   24   a system to identify controlled substances.
    25   requirement, correct, sir?                      25   The reports that I pulled and provided to the

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     1   DEA, I knew that they had suspicious orders,      1   contacted you about why they wanted you to
     2   orders of interest on them, but I was not         2   stop sending the reports?
     3   fully aware of that how that system works.        3       A. They didn't contact me
     4       Q. During the time that you were              4   directly, but, no, they did not provide an
     5   pulling any suspicious order reports, did         5   explanation to me.
     6   anyone from Walgreens ever ask you to pull        6       Q. Do you know who they contacted?
     7   any additional information or to drill down       7       A. I believe it was either my
     8   on any of those reports?                          8   boss's boss or one of the VPs in asset
     9       A. No.                                        9   protection.
    10       Q. The next section, "The                    10       Q. Do you have an understanding of
    11   reporting requirement is a relatively modest     11   what was in those reports that you were
    12   one. It requires only that a distributor         12   pulling?
    13   provide basic information about certain          13       A. I do have an understanding.
    14   orders to DEA so that DEA investigators in       14       Q. And what was in those reports
    15   the field can aggregate reports from every       15   that you were pulling that were being
    16   point along the legally regulated supply         16   forwarded to the DEA?
    17   chain and use those information to ferret out    17       A. Inside those reports were
    18   potentially illegal activity."                   18   orders that were either deemed as suspicious
    19            Do you see that, sir?                   19   or of interest based off of some algorithm,
    20       A. I do.                                     20   mathematical formula, which I can't begin to
    21       Q. Do you have an understanding up           21   comprehend.
    22   until the point when you joined the              22       Q. The mathematical or the
    23   pharmaceutical integrity department of           23   algorithm that you can't begin to comprehend
    24   whether or not the DEA was using the             24   was in place prior to '13?
    25   information provided by Walgreens to ferret      25       A. Yes.
                                                Page 95                                             Page 97
     1   out potential illegal activity?                   1       Q. You don't have any
     2       A. I do not know what the DEA was             2   understanding of what that algorithm or model
     3   doing with those reports. I do remember at        3   was prior to 2013?
     4   one time they told us to stop sending those       4       A. I don't know what the
     5   reports because they didn't really want to        5   mathematical formula was, no.
     6   get inundated with them.                          6       Q. Even more narrow.
     7       Q. And do you have an                         7            Prior to the creation of the
     8   understanding or recollection when that was       8   pharmaceutical integrity unit, do you have
     9   that the DEA asked you to stop sending the        9   any understanding of what the formula or
    10   reports you were sending?                        10   algorithm was to identify suspicious order
    11       A. It was towards the end of my              11   reports?
    12   tenure at the asset protection, loss             12       A. I do not.
    13   prevention.                                      13       Q. How do you know that you
    14       Q. So at the end of 2012?                    14   couldn't begin to understand it?
    15       A. Around that time. And it was              15       A. The reason why I said that,
    16   just individual DEA offices. It wasn't the       16   because I know the person who created that
    17   DEA in general. I don't remember                 17   algorithm, and he has a doctorate in
    18   specifically who those offices were.             18   mathematics.
    19       Q. Who specifically did you send             19       Q. And when did he create it?
    20   the reports to that you're referencing?          20       A. I don't know.
    21       A. I can't recall each individual            21       Q. And who was that person?
    22   agency, but it was all of the local DEA          22       A. It's -- the name escapes me at
    23   offices and then also to our DCs, or             23   this time. I'll think of it in a couple
    24   distribution centers, throughout the country.    24   minutes, I'm sure.
    25       Q. Did the DEA explain when it               25       Q. And that was in 2012, 2013,
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     1   correct, sir?                                    1   integrity department was created, do you have
     2            MR. STOFFELMAYR: Objection to           2   an understanding of where those suspicious
     3       the form.                                    3   order reports were sent?
     4            THE WITNESS: I don't recall             4       A. Not through that full period,
     5       exactly when that formula was --             5   but only during my time frame of when I
     6   QUESTIONS BY MR. MOUGEY:                         6   worked in asset protection, loss prevention.
     7       Q. I'm not asking you exactly.               7       Q. Which wasn't until 2012,
     8   I'm giving you a two-year window.                8   correct?
     9            The algorithm that you're               9       A. Sounds about right, correct.
    10   referencing was created in 2012, 2013,          10       Q. So you have no understanding of
    11   correct, sir?                                   11   whether or not the reporting requirement we
    12            MR. STOFFELMAYR: Objection to          12   just went through was filled from 2006 when
    13       the form.                                   13   you began at Walgreens until you -- until you
    14            THE WITNESS: I have no idea            14   joined the loss prevention group in June of
    15       when it was created.                        15   '12 as a manager?
    16   QUESTIONS BY MR. MOUGEY:                        16            MR. STOFFELMAYR: Objection to
    17       Q. Do you have an understanding of          17       the form.
    18   whether or not that algorithm or formula        18            THE WITNESS: I do not know if
    19   changed over time at Walgreens?                 19       that report existed prior to my role
    20       A. I have an understanding that it          20       in loss prevention.
    21   changed, and the name is Wayne Bancroft.        21   QUESTIONS BY MR. MOUGEY:
    22            MR. STOFFELMAYR: Wayne                 22       Q. Did you send the report to
    23       Bancroft was the Ph.D. --                   23   someone specific at the distribution centers?
    24            THE WITNESS: Ph.D.                     24       A. I don't recall if it went to a
    25            MR. STOFFELMAYR: -- you                25   specific person.
                                               Page 99                                             Page 101
     1       referred to earlier?                         1       Q. Do you recall what e-mail
     2            THE WITNESS: Correct. Sorry.            2   address you sent it to?
     3            MR. STOFFELMAYR: Part of your           3       A. They were actually mailed.
     4       answer to that?                              4   They were burned on a CD and actually mailed.
     5            THE WITNESS: Correct.                   5       Q. Let's continue with Stahmann 3.
     6   QUESTIONS BY MR. MOUGEY:                         6            "Once a distributor has
     7       Q. Do you have any idea of what              7   reported a suspicious order, it must make one
     8   happened within Walgreens after the              8   of two choices: Decline to ship the order,
     9   suspicious order was sent to the DEA?            9   or conduct some due diligence, and if it is
    10       A. I do not know what happened.             10   not able to determine that the order is not
    11       Q. Do you have any idea of whether          11   likely to be diverted into illegal channels,
    12   or not anyone within Walgreens used that        12   ship the order, the shipping requirement."
    13   suspicious order report for any further due     13            Do you see that, sir?
    14   diligence?                                      14       A. I see that.
    15       A. I do not know.                           15            MR. STOFFELMAYR: I think you
    16       Q. Did you forward that report to           16       misread it unintentionally. You
    17   anyone at Walgreens, the same report that you   17       inserted an extra "not."
    18   sent to the DEA?                                18            MR. MOUGEY: Let me do it
    19       A. Yes.                                     19       again.
    20       Q. Who did you send that report             20   QUESTIONS BY MR. MOUGEY:
    21   to?                                             21       Q. "Once a distributor has
    22       A. To the DCs, or distribution              22   reported a suspicious order, it must make one
    23   centers.                                        23   of two choices: Decline to ship the order or
    24       Q. Okay. And in -- so from 2006             24   conduct some due diligence."
    25   to when you started until pharmaceutical        25            Let me stop there.

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     1            Do you agree that I got that           1       what you have to say.
     2   right?                                          2            MR. STOFFELMAYR: Okay. I'm
     3       A. Yes.                                     3       speaking to you now. I'm not
     4       Q. All right. So the two choices            4       objecting. I'm asking you to ask him
     5   once the suspicious order is identified:        5       fair questions.
     6   Ship or perform due diligence, correct, sir?    6   QUESTIONS BY MR. MOUGEY:
     7            MR. STOFFELMAYR: Objection to          7       Q. Sir, do you have any personal
     8       the form. Lack of foundation. Asking        8   knowledge during your tenure at Walgreens, up
     9       a witness to interpret the document.        9   until the point when you began in the
    10            THE WITNESS: Yeah, I don't            10   pharmaceutical integrity department, whether
    11       know -- I can't speak to the               11   or not there was any due diligence conducted
    12       interpretation of what needs to be         12   on suspicious orders?
    13       done or the actions taken. It's            13       A. I have no knowledge.
    14       beyond my role or was my role.             14       Q. Did anyone ever -- at Walgreens
    15            MR. MOUGEY: Kaspar, I would           15   ever come back to you on the due diligence --
    16       appreciate it if you'd just limit your     16   I'm sorry, on the suspicious order reports
    17       objections at this point to just           17   that you were burning on CDs and ask you to
    18       "objection to form." That's plenty to      18   perform any due diligence on any of those
    19       preserve it. I don't -- limit any          19   orders?
    20       speaking objections.                       20       A. They did not come to me, no.
    21            MR. STOFFELMAYR: All right.           21       Q. Do you know if anyone at
    22       Well, I won't make an objection, but I     22   Walgreens came to anyone in your group and
    23       think it is unfair to ask a lay            23   asked you to perform any due diligence on any
    24       witness to interpret a court decision      24   of those suspicious orders?
    25       and interpret regulations.                 25       A. I don't know if they ever came
                                             Page 103                                             Page 105
     1           MR. MOUGEY: I appreciate that.          1   to anybody at Walgreens.
     2      You've said that twice and --                2       Q. So during your tenure up until
     3           MR. STOFFELMAYR: But he's               3   pharmaceutical integrity department, you have
     4      already told you this is outside his         4   no independent recollection of anyone
     5      field and something he wasn't trained        5   performing any due diligence on any of the
     6      on.                                          6   reports that you generated regarding
     7           MR. MOUGEY: Yes, sir, and               7   suspicious orders?
     8      that's about the third time you've had       8       A. Not saying it didn't happen,
     9      a speaking objection, and it's amazing       9   but I am unaware that they were asking or if
    10      because exactly what you say, Kaspar,       10   they asked.
    11      is then repeated by the witness. So         11       Q. Yes, sir.
    12      let me finish --                            12            And during your entire career,
    13           MR. STOFFELMAYR: That wasn't           13   diversion was your area of expertise,
    14      an objection. You told me I'm               14   correct, sir?
    15      objecting. I'm not objecting --             15            MR. STOFFELMAYR: Objection to
    16           MR. MOUGEY: I'm specifically           16       the form.
    17      asking that the only thing you say          17            THE WITNESS: Diversion means a
    18      today is "objection to the form."           18       lot of different things, could be
    19      That's it. You know, you've been            19       interpreted a lot of different ways,
    20      doing this a lot longer than I have,        20       depending on who you ask.
    21      that preserves whatever objection you       21   QUESTIONS BY MR. MOUGEY:
    22      have.                                       22       Q. Is there a diversion group,
    23           Your speaking objection is             23   other than yours, from '06 until 2012 that
    24      getting repeated by the witness. I          24   was responsible for performing due diligence
    25      want to hear what he has to say, not        25   on suspicious orders?
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     1             MR. STOFFELMAYR: Objection.            1       Q. You had no earthly idea from
     2       Form. Lack of foundation.                    2   2006 until 2012 that there was an opiate
     3             THE WITNESS: I am -- I do not          3   epidemic?
     4       know if there are other departments          4            MR. STOFFELMAYR: Objection to
     5       that conducted investigations on             5       the form.
     6       diversion outside of mine.                   6            THE WITNESS: No, I was not.
     7   QUESTIONS BY MR. MOUGEY:                         7   QUESTIONS BY MR. MOUGEY:
     8       Q. How many different suspicious             8       Q. No one from Walgreens ever
     9   order reports do you believe you forwarded to    9   provided any training to you explaining that
    10   the DEA during your tenure at Walgreens?        10   dozens and dozens of people were dying every
    11       A. I can't recall exactly how               11   day from Schedule II and Schedule III
    12   many.                                           12   narcotic overdoses --
    13       Q. Well, how long were you                  13            MR. STOFFELMAYR: Objection to
    14   responsible for sending -- burning them on      14       the form.
    15   CDs and sending them to the DEA?                15   QUESTIONS BY MR. MOUGEY:
    16       A. Ever since I took that -- or             16       Q. -- from 2006 to 2012?
    17   was delegated that role from my supervisor      17       A. You're asking if I received
    18   until I left asset protection. Again, I         18   training on that? No.
    19   don't know exactly when that role was           19       Q. Did you receive any information
    20   delegated to me.                                20   from Walgreens that opiates were rapidly
    21       Q. So a period of two years?                21   becoming the largest cause of death in kids
    22       A. Again, I can't say exactly               22   18 to 25 years old?
    23   when. I don't know. We can assume, but,         23            MR. STOFFELMAYR: Objection to
    24   yeah, I don't know exactly how long it was.     24       the form.
    25       Q. And no one ever came back to             25            THE WITNESS: No, I was not
                                              Page 107                                             Page 109
     1   you or asked you any questions about             1       made aware.
     2   performing any additional due diligence on       2            (Walgreens-Stahmann Exhibit 4
     3   those suspicious orders?                         3       marked for identification.)
     4       A. No, no one from the DEA came              4   QUESTIONS BY MR. MOUGEY:
     5   back to me and asked.                            5       Q. I've handed you what I've
     6       Q. Or from internally at                     6   marked as Stahmann 3, and at the very top of
     7   Walgreens, anyone ask you to perform any due     7   the page, "OxyContin: Its use and abuse.
     8   diligence on those suspicious orders?            8   Hearing before the Subcommittee on Oversight,
     9       A. Not to me directly, no.                   9   Investigation, the Committee on Energy and
    10       Q. And during your entire tenure,           10   Commerce, House of Representatives, 107th
    11   up until the pharmaceutical integrity           11   Congress, First session, August 28, 2001."
    12   department was formed, you're not aware of      12            Sir, OxyContin was one of the
    13   any group specifically within Walgreens         13   Schedule II narcotics distributed and
    14   responsible for performing due diligence on     14   dispensed by Walgreens, correct, sir?
    15   suspicious orders?                              15            MR. STOFFELMAYR: Objection to
    16       A. I am not aware, no.                      16       the form.
    17       Q. And, sir, you have an                    17            THE WITNESS: That's not
    18   understanding sitting here in -- when you --    18       entirely true. We did dispense
    19   I'm sorry.                                      19       OxyContin, and at one time we were a
    20            You have an understanding when         20       distributor.
    21   you began at Walgreens, in 2006 up until 2012   21   QUESTIONS BY MR. MOUGEY:
    22   when the pharmaceutical integrity department    22       Q. Yes, sir.
    23   was formed, that there was an opiate epidemic   23            For a long period of time -- or
    24   in the US?                                      24   from 2006 up until 2012, 2013, Walgreens
    25       A. No, I was not.                           25   distributed Schedule II narcotics such as

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     1   OxyContin, correct?                              1       period.
     2       A. I don't know the exact time               2   QUESTIONS BY MR. MOUGEY:
     3   frame.                                           3       Q. The last sentence of that
     4       Q. I'm not asking you this for the           4   paragraph, sir, references OxyContin as a
     5   exact time frame.                                5   highly addictive drug.
     6            Generally speaking, you're              6           Were you aware from 2006 until
     7   aware for several years during your tenure at    7   2012 that OxyContin was highly addictive?
     8   Walgreens that it was distributing OxyContin?    8       A. During that entire time frame?
     9       A. At one time we were                       9   No.
    10   distributing OxyContin, yes.                    10       Q. When did you become aware,
    11       Q. And, sir, when you began in              11   between 2006 and your initiation into the
    12   2006, up and to pharmaceutical integrity        12   pharmaceutical integrity department, that
    13   department was created, were you aware that     13   OxyContin was highly addictive?
    14   there were ongoing hearings before              14       A. I probably came more aware
    15   subcommittees in Congress on the abuse of       15   during my -- end of my tenure with loss
    16   OxyContin?                                      16   prevention.
    17       A. I was not.                               17       Q. And do you see in the paragraph
    18       Q. Sir, would you please -- in the          18   below, "Today we will hear from law
    19   upper right-hand corner, Mr. Stahmann,          19   enforcement officials who argue that
    20   there's page numbers and a date. Would you      20   OxyContin is quickly becoming the abuser's
    21   please turn to page 6 titled "OxyContin, its    21   drug of choice, surpassing heroin and cocaine
    22   use and abuse"?                                 22   in some jurisdictions"?
    23            And let me direct your                 23           Do you see that, sir?
    24   attention to the paragraph that begins in the   24       A. I do see that.
    25   middle of the page with "the use and abuse of   25       Q. Were you aware that one of the
                                              Page 111                                             Page 113
     1   OxyContin."                                      1   drugs being distributed by Walgreens,
     2            Do you see that, sir?                   2   Schedule II, OxyContin, was becoming the drug
     3            MR. STOFFELMAYR: Sorry, did             3   of choice for drug dealers?
     4       you say page 6 or page 1?                    4            MR. STOFFELMAYR: Objection to
     5            MR. MOUGEY: At the very top             5       the form.
     6       hand -- right-hand corner, 006.              6            THE WITNESS: I was not aware.
     7            MR. STOFFELMAYR: Oh, those              7   QUESTIONS BY MR. MOUGEY:
     8       numbers. Okay.                               8       Q. Continue on that page. Bottom
     9            THE WITNESS: So, yes, I do see          9   paragraph, "Today's hearing is the logical
    10       that.                                       10   extension of this subcommittee's ongoing
    11   QUESTIONS BY MR. MOUGEY:                        11   investigation into prescription drug abuse
    12       Q. All right. "The use and abuse            12   throughout the United States. My staff and I
    13   of OxyContin provides quite a dilemma for us    13   have met on numerous occasions with the DEA,
    14   in Congress and for the American public. For    14   the FDA and Purdue Pharma in order to
    15   some, OxyContin is the angel of mercy; for      15   investigate the trends of OxyContin abuse and
    16   others, it is the angel of death."              16   diversion and {sic} well as to explore
    17            Sir, are you aware that in             17   potential solutions."
    18   subcommittee hearings in front of Congress,     18            Do you see that, sir?
    19   OxyContin, that Walgreens distributed, was      19       A. I do.
    20   being referred to as the angel of death?        20       Q. Do you see the use of the word
    21            MR. STOFFELMAYR: Objection to          21   "diversion"?
    22       the form.                                   22       A. I do see diversion, yes.
    23            THE WITNESS: I was not made            23       Q. Did you have an understanding
    24       aware, and Walgreens only distributed       24   from 2006 and 2012 that subcommittees in
    25       OxyContin during a certain time             25   Congress were concerned about the diversion

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     1   of Schedule II narcotics such as OxyContin?      1             Do you see that, sir?
     2       A. Yes.                                      2             MR. STOFFELMAYR: It's the
     3       Q. And when did you become aware             3       little page 11? Yeah, right there.
     4   that there were subcommittee hearings on the     4       The little number on there.
     5   diversion of Schedule II drugs such as           5             THE WITNESS: I see it.
     6   OxyContin?                                       6   QUESTIONS BY MR. MOUGEY:
     7       A. During my time or current time            7       Q. And you see Mr. Woodworth is
     8   with pharmaceutical integrity.                   8   the deputy director, Office of Diversion
     9       Q. Okay. That -- up until                    9   Control, Drug Enforcement Administration.
    10   pharmaceutical integrity, were you aware that   10             Do you see that, sir?
    11   Senate -- I'm sorry, Congress was conducting    11       A. I do see that.
    12   hearings on Schedule II narcotics such as       12       Q. Were you aware that the DEA had
    13   OxyContin and the problems associated with      13   an Office of Diversion Control participating
    14   diversion?                                      14   in investigations regarding Schedule II drugs
    15       A. No, not previous to my tenure            15   such as OxyContin?
    16   at RX integrity.                                16       A. I do now, yes.
    17       Q. Next paragraph. "Sadly,                  17       Q. And when you say you do now,
    18   prescription drug bruise is a growing           18   when did you become aware that there was a
    19   national problem."                              19   DEA Department of Diversion Control?
    20            Sir, were you aware from 2006          20       A. During my tenure or current
    21   to pharmaceutical integrity -- when you         21   position with pharmaceutical integrity.
    22   started with that department, that drug abuse   22       Q. If you go to the bottom of that
    23   -- prescription drug abuse was a growing        23   page that begins with "during the last two
    24   national problem?                               24   years."
    25       A. No.                                      25             Do you see where I am? Last
                                              Page 115                                             Page 117
     1       Q. "According to the National                1   paragraph.
     2   Institute on Drug Abuse, as recently as 1999,    2        A. Yes.
     3   more than 9 million Americans, age 12 and        3        Q. "During the last two years, DEA
     4   older, reported that they used prescription      4   has noticed a dramatic increase in the
     5   drugs at least that year for nonmedical          5   illicit availability and abuse of OxyContin,"
     6   reasons."                                        6   correct, sir?
     7            Do you see that, sir?                   7        A. I do see that.
     8       A. I do.                                     8        Q. And, sir, you were charged with
     9       Q. Were you aware that this was a            9   investigating internally at Walgreens
    10   growing trend, including kids years 12 and      10   shrinkage, correct, sir?
    11   older?                                          11        A. I was -- yes, that was part of
    12            MR. STOFFELMAYR: Objection to          12   -- one of my responsibilities was to help
    13       the form.                                   13   facilitate the investigation of shrink.
    14            THE WITNESS: I was not aware           14        Q. Was the -- part of your
    15       during my time in asset protection.         15   responsibilities, did you have an
    16   QUESTIONS BY MR. MOUGEY:                        16   understanding that OxyContin was highly
    17       Q. Or at any point up until                 17   sought after and was a target of illicit drug
    18   pharmaceutical integrity department, were you   18   dealers?
    19   aware about the growing trend of prescription   19        A. During my time at asset
    20   drug abuse?                                     20   protection, no.
    21       A. No.                                      21        Q. Was there no sense of urgency
    22       Q. Sir, if you would, please turn           22   or no highlight from Walgreens that OxyContin
    23   to page 11 in the upper right-hand corner,      23   should be paid special attention to in your
    24   the section that's titled or begins with        24   analysis of drugs being stolen?
    25   "Testimony of Terrance W. Woodworth."           25             MR. STOFFELMAYR: Objection to

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     1       the form. Foundation.                        1             THE WITNESS: That's correct.
     2            THE WITNESS: I cannot speak             2   QUESTIONS BY MR. MOUGEY:
     3       what Walgreens felt as -- what sense         3       Q. "As early as 1999, the DEA
     4       of urgency it would have for certain         4   assisted the State of Maine in the
     5       medications.                                 5   investigation of an organized ring of
     6   QUESTIONS BY MR. MOUGEY:                         6   individuals who used forged, stolen and
     7       Q. Did anybody ever come to you              7   altered prescriptions to divert thousands of
     8   when you were in loss prevention and say,        8   dosage units of OxyContin to abusers."
     9   "There is a national opiate epidemic with        9             Sir, were you aware that one of
    10   Schedule II OxyContin. I need you to pay        10   the means of diversion -- one of the holes
    11   special attention to diversion issues with      11   for diversion was that individuals were using
    12   regard to Schedule II narcotics"?               12   forged, stolen and altered prescriptions to
    13       A. Not to me specifically, no.              13   get their hands on OxyContin?
    14       Q. To you generally, did that               14       A. If you're asking if I was ever
    15   message ever get relayed to you, e-mail,        15   aware --
    16   training, modules, Internet, anything?          16       Q. Up until pharmaceutical
    17       A. I was asked to pull data                 17   integrity department in 2012.
    18   regarding OxyContin and oxycodone and other     18       A. I was aware that there were
    19   C-II medications, but I was never directly      19   people that were using forged prescriptions,
    20   contacted stating that this was a growing       20   yes.
    21   epidemic.                                       21       Q. When did you become aware of
    22       Q. I wasn't asking if you were              22   that, sir?
    23   directly contacted.                             23       A. During my tenure at asset
    24            Did anybody in any training            24   protection.
    25   during your entire tenure at Walgreens up       25       Q. Sir, if you turn to page -- the
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     1   until the point where you began with the         1   small page number 15, the upper right-hand
     2   pharmaceutical integrity department ever tell    2   side.
     3   you to put a spotlight on Schedule II            3             Were you aware that part of the
     4   narcotics such as OxyContin because it was a     4   hearings in front of the subcommittee -- I
     5   drug dealers' drug of choice?                    5   direct your attention to the third full
     6       A. No.                                       6   sentence, "The abuse of the brand name
     7       Q. That last paragraph, "During              7   painkiller, OxyContin, is rising on a
     8   the last two years, DEA has noted a dramatic     8   tremendous scale."
     9   increase in the illicit availability and         9             Were you aware of that 2006 to
    10   abuse of OxyContin."                            10   2012?
    11             Do you see that, sir?                 11        A. No.
    12       A. Yes.                                     12        Q. "Placing people who are unaware
    13       Q. You were not aware of that fact          13   of its lethal potential in danger."
    14   until you began with pharmaceutical integrity   14             Sir, you were aware that
    15   group, department?                              15   OxyContin could be lethal?
    16             MR. STOFFELMAYR: Objection to         16        A. Yes, it did -- it could be
    17       the form.                                   17   lethal.
    18             THE WITNESS: I was not aware          18        Q. And were you aware that the
    19       of that fact, no.                           19   general public did not have knowledge that
    20   QUESTIONS BY MR. MOUGEY:                        20   taking OxyContin could be lethal?
    21       Q. So up until 2012, you were not           21             MR. STOFFELMAYR: Objection to
    22   aware that there was a dramatic increase in     22        the form.
    23   the illicit availability of OxyContin?          23             THE WITNESS: I can't speak on
    24             MR. STOFFELMAYR: Objection to         24        behalf of the general public.
    25       the form.                                   25


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     1   QUESTIONS BY MR. MOUGEY:                          1   that indicated early refills or identical
     2       Q. If you go to the bottom of that            2   therapy.
     3   page, sir, the second to the last sentence        3       Q. And by identical therapy, does
     4   that begins with "and a phenomenon."              4   that include repeat prescriptions to the same
     5            Are you there with me?                   5   individuals over and over again?
     6       A. I'm there.                                 6       A. That is part of it, yes.
     7       Q. "And a phenomenon we called                7       Q. And there were significant
     8   doctor shopping."                                 8   holes in Walgreens' systems to identify
     9            Are you aware of what doctor             9   specific individuals that repeatedly came
    10   shopping is, sir?                                10   back to fill prescriptions, correct?
    11       A. I am.                                     11            MR. STOFFELMAYR: Objection to
    12       Q. And doctor shopping is when               12       the form.
    13   individuals will go from doctor to doctor to     13            THE WITNESS: I have no idea if
    14   doctor faking injuries or pain trying to         14       there were any holes in the system.
    15   secure prescriptions?                            15   QUESTIONS BY MR. MOUGEY:
    16       A. That's my understanding of what           16       Q. Sir, were you aware in --
    17   doctor shopping is, yes.                         17   beginning in 2001 up until 2006 that there
    18       Q. And once they received a                  18   were repeated investigations into the opiate
    19   prescription, they would then fill with a        19   epidemic by Congress?
    20   Schedule II or Schedule III narcotic,            20       A. I was not.
    21   correct, sir?                                    21       Q. Were you aware that offices
    22       A. It could be any prescription,             22   like the GAO, the Government Accountability
    23   but, yes, they can.                              23   Office, was filing reports to the
    24       Q. Yes, sir.                                 24   subcommittee regarding opiates and the abuse
    25            And then it would be sold on            25   of prescription drugs?
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     1   the street for a higher value, correct, sir?      1       A. Prior to that time frame, I
     2            MR. STOFFELMAYR: Objection to            2   was -- no, I was not aware.
     3       the form.                                     3       Q. Were you aware that the
     4            THE WITNESS: I have no idea              4   Inspector General was filing reports to
     5       what is done with prescriptions after         5   Congress identifying problems with diversion
     6       they leave Walgreens.                         6   and Schedule II and III narcotics?
     7            MR. STOFFELMAYR: The question            7       A. Prior to that time, I was not
     8       wasn't about Walgreens.                       8   aware.
     9            THE WITNESS: Oh.                         9       Q. Were you aware, sir, that the
    10   QUESTIONS BY MR. MOUGEY:                         10   OxyContin and schedule -- other Schedule II
    11       Q. Yes, sir, but the issue that I            11   narcotics were repeatedly being investigated
    12   had was the doctor shopping. That's what we      12   in Congress on almost an annual basis about
    13   were talking about, right?                       13   the ongoing epidemic?
    14            Were you aware that one of the          14            MR. STOFFELMAYR: Objection to
    15   mechanisms -- one of the means for diversion     15       the form.
    16   was through doctor shopping?                     16            THE WITNESS: Prior to that
    17       A. It is one of the means of                 17       time, no, I was not aware.
    18   diversion, yes.                                  18   QUESTIONS BY MR. MOUGEY:
    19       Q. And do you have any                       19       Q. When you keep saying "that
    20   understanding of any metrics or analytics        20   time," what time are you referencing?
    21   that Walgreens used from when you began in       21       A. You were referencing or you had
    22   2006 up until 2012 to analyze or identify        22   stated prior -- prior to my time at asset
    23   individuals involved with doctor shopping?       23   protection or RX integrity. That's the time
    24       A. There was no way we can analyze           24   frame I was referencing.
    25   doctor shopping, but we did have a system        25       Q. In your tenure in law
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     1   enforcement, did you investigate specific        1        the form.
     2   crimes that were reported in your community?     2             THE WITNESS: I can't agree
     3       A. No.                                       3        with that entire statement.
     4       Q. And as part of your tenure as a           4   QUESTIONS BY MR. MOUGEY:
     5   law enforcement officer, you conducted           5        Q. Yes, sir.
     6   observation or surveillance to ensure your       6             You would agree with me that
     7   constituents' safety?                            7   information in your roles at Walgreens was an
     8       A. Yes.                                      8   important component of your job, correct,
     9       Q. And what are some of the tools            9   sir?
    10   that you used to help keep people safe when     10        A. Yes, information -- correct
    11   you were a police officer?                      11   information or accurate information is an
    12       A. Conducting community awareness           12   important role of any job.
    13   events, just walking through the community,     13        Q. And you would expect that
    14   talking with individuals, just putting out a    14   senior management at Walgreens would pass
    15   presence and awareness.                         15   along information to you that would help your
    16       Q. Awareness is paramount to law            16   job in diversion at Walgreens, correct, sir?
    17   enforcement, correct, sir?                      17             MR. STOFFELMAYR: Objection to
    18       A. It's important, yes.                     18        the form.
    19       Q. And you would expect if there            19             THE WITNESS: I cannot speak to
    20   were problems in your community, as a law       20        what senior leadership or executives
    21   enforcement officer, that the senior officers   21        pass -- what they deem as important
    22   would make you aware of that, correct?          22        information to pass down.
    23       A. I can assume that, yes.                  23   QUESTIONS BY MR. MOUGEY:
    24       Q. Yes, sir.                                24        Q. I'm not asking what -- what
    25            Because when you're out on the         25   leadership or executives -- what they deem
                                              Page 127                                             Page 129
     1   street trying to keep people safe, you would     1   important.
     2   expect that you are armed with information to    2             What I'm asking you is what you
     3   do your job, correct, sir?                       3   would deem important, that you would expect
     4       A. Correct.                                  4   information that was helpful to you in your
     5       Q. And as a law enforcement                  5   job as diversion at Walgreens, that senior
     6   officer, information is vital, correct, sir?     6   management would pass that along to you,
     7       A. It is.                                    7   correct, sir?
     8       Q. And without the information,              8        A. Information that I deem
     9   things that might become obvious to you in       9   important, I would like, but that's not
    10   your job as a police officer might otherwise    10   necessarily the same information that they
    11   escape your analysis if you didn't know it      11   would deem important.
    12   was a problem, correct?                         12             (Walgreens-Stahmann Exhibit 5
    13            MR. STOFFELMAYR: Objection to          13        marked for identification.)
    14       the form.                                   14   QUESTIONS BY MR. MOUGEY:
    15            THE WITNESS: It's possible.            15        Q. I hand what you I've marked as
    16   QUESTIONS BY MR. MOUGEY:                        16   Stahmann Exhibit 5. I'm going to ask you
    17       Q. Information helps you spot               17   about specific parts of this letter. It's a
    18   problems, right?                                18   letter -- it's a package.
    19       A. It is a means to help spot a             19             Let's just walk through what I
    20   problem, yes.                                   20   have in front of you. Okay, sir?
    21       Q. And information, when -- you             21        A. Okay.
    22   would agree with me while you were at           22        Q. So on the first page, Stahmann
    23   Walgreens in -- your role as a diversion        23   Exhibit 5, is a letter that's stamped
    24   expert was also important, correct?             24   June 12, 2012.
    25            MR. STOFFELMAYR: Objection to          25             Do you see that, sir?
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     1        A. I do see that stamp.                     1   expressing concerns regarding drug abuse in
     2        Q. And if you would just turn the           2   the United States and highlighted the
     3   page, it appears to be another correspondence    3   responsibilities of manufacturers and
     4   from the US Department of Justice, DEA, dated    4   distributors to be vigilant in the
     5   December 27, 2007.                               5   distribution of controlled substances."
     6            Do you see that, sir?                   6            Do you see that sentence, sir?
     7        A. I do.                                    7        A. I do.
     8        Q. And if you turn the page again,          8        Q. And Walgreens is in the
     9   there appears to be another piece of             9   business of distributing controlled
    10   correspondence dated February 7, 2007.          10   substances, correct, sir?
    11            Do you see that?                       11        A. At one point in time, yes.
    12        A. I do.                                   12        Q. Yes, sir.
    13        Q. And one more time, turn two             13            At the point in time that this
    14   pages, onto what's Bates numbered 691. You      14   letter went out, June 12, 2012, Walgreens was
    15   see that there is another piece of              15   in the business of distributing controlled
    16   correspondence from the US Department of        16   substances, correct, sir?
    17   Justice, DEA, dated September 27, 2006,         17        A. I believe so, yes.
    18   correct, sir?                                   18        Q. And the paragraph goes on, "To
    19        A. I do see that.                          19   assist manufacturers and distributors, DEA
    20        Q. All right. So let's start back          20   listed circumstances that might be indicative
    21   on the very first page, June 12, 2012, US       21   of diversion."
    22   Department of Justice.                          22            Correct, sir?
    23            And, sir, you have an                  23        A. I do see that.
    24   understanding who the Department of Justice     24        Q. "On December 27, 2007, DEA
    25   is, correct, sir?                               25   issued another letter which reiterated the
                                              Page 131                                            Page 133
     1       A. Yes, I do.                                1   responsibilities of controlled substance
     2       Q. And US Department of Justice is           2   manufacturers and distributors to inform DEA
     3   over the DEA, correct, sir?                      3   of suspicious orders in connection with 21
     4       A. Correct.                                  4   CFR Section 1301.74(b)."
     5       Q. And it's -- this letter is                5             Correct, sir?
     6   addressed as, "Dear Registrant: This letter      6             MR. STOFFELMAYR: Objection to
     7   is being sent to every entity in the United      7        the form.
     8   States who is registered with the Drug           8             THE WITNESS: I see that
     9   Enforcement Administration, DEA, to              9        written here, yes.
    10   manufacture or distributing controlled          10   QUESTIONS BY MR. MOUGEY:
    11   substances."                                    11        Q. "Although DEA's September 2006
    12             Do you see that, sir?                 12   letter included a list of factors that might
    13       A. I do.                                    13   indicate diversion, DEA wants to stress that
    14       Q. All right. And, sir, have you            14   this was not a comprehensive list of all
    15   seen this letter before?                        15   possible indications of diversion."
    16       A. I have.                                  16             Correct?
    17       Q. And did you see it in                    17             MR. STOFFELMAYR: Objection to
    18   preparation for your testimony today?           18        the form.
    19       A. Yes.                                     19             THE WITNESS: I see that
    20       Q. Have you seen this letter other          20        written here.
    21   than in preparation for your testimony today?   21   QUESTIONS BY MR. MOUGEY:
    22       A. I have not.                              22        Q. Yes, sir.
    23       Q. If you go to the next                    23             And you see in that paragraph
    24   paragraph, "On September 27, 2006, DEA sent a   24   that the DEA has now used the word
    25   letter to this registrant community             25   "diversion" on at least two to three
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     1   different instances, correct, sir?               1       the form.
     2        A. I do see that.                           2            THE WITNESS: I do not know if
     3        Q. Does there appear to be any              3       that's accurate or not.
     4   confusion from the DEA about what diversion      4   QUESTIONS BY MR. MOUGEY:
     5   is?                                              5       Q. Do you have any idea of just
     6        A. I don't see where they define            6   how large Walgreens' part was in the
     7   diversion in this letter.                        7   distribution of Schedule II and III narcotics
     8        Q. "Although DE" -- I'm going to            8   from '06 to '13, '14?
     9   continue, sir.                                   9       A. I do not know the scope.
    10             "Although DEA's September 2006        10       Q. Go to the last paragraph on
    11   letter included a list of factors that might    11   this page, "registrants who rely on rigid
    12   indicate diversion, DEA wants to stress that    12   formulas to identify whether an order is
    13   this was not a comprehensive list of all        13   suspicious may fail to detect suspicious
    14   possible indications of diversion," correct,    14   orders."
    15   sir?                                            15            Do you see that, sir?
    16             MR. STOFFELMAYR: Objection to         16       A. I do.
    17        form.                                      17       Q. "For example, the system might
    18             THE WITNESS: I do see that,           18   not identify suspicious orders placed by a
    19        but I do -- I was never -- I never         19   pharmacy if that pharmacy placed unusually
    20        received or seen the letter that           20   large orders from the beginning of its
    21        they're referencing in 2006.               21   relationship."
    22   QUESTIONS BY MR. MOUGEY:                        22            Do you see that, sir?
    23        Q. "The DEA encouraged registrants         23            MR. STOFFELMAYR: Objection to
    24   to take an integrated approach. This point      24       the form.
    25   was emphasized in the December 2007 letter,     25            THE WITNESS: I see those words
                                              Page 135                                             Page 137
     1   and DEA once again is bringing it to your        1      written here, yes.
     2   attention."                                      2   QUESTIONS BY MR. MOUGEY:
     3            Do you see that, sir?                   3      Q. Let's stop there.
     4       A. I do see that.                            4           So do you have any idea of
     5       Q. Sir, did you have any                     5   whether Walgreens had a formula to identify
     6   understanding during any tenure at Walgreens     6   whether an order is suspicious prior to the
     7   about how large or how many controlled           7   DEA's mandate that Walgreens create
     8   substances that it was putting into the          8   pharmaceutical integrity?
     9   stream of commerce?                              9           MR. STOFFELMAYR: Objection to
    10       A. At some point in my tenure,              10      the form.
    11   yes.                                            11           THE WITNESS: I am aware that
    12       Q. Billions of Schedule II and              12      there was a way to identify suspicious
    13   Schedule III narcotics over a period of years   13      orders for those reports that I had --
    14   into the US in total, correct, sir?             14      was burning on CDs.
    15            MR. STOFFELMAYR: Objection to          15   QUESTIONS BY MR. MOUGEY:
    16       the form.                                   16      Q. Do you have any idea what the
    17            THE WITNESS: I do not know the         17   formula was?
    18       exact total.                                18      A. I do not.
    19   QUESTIONS BY MR. MOUGEY:                        19      Q. Do you have any idea whether it
    20       Q. Do you have any understanding            20   was a rigid formula?
    21   that Walgreens was responsible for 15,          21      A. I do not.
    22   16 percent of every Schedule II and III         22      Q. Your job was just to burn CDs
    23   narcotic distributed in the US from 2006 to     23   and send them off?
    24   2014?                                           24      A. That is correct.
    25            MR. STOFFELMAYR: Objection to          25      Q. Walgreens is in the business of
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     1   hiring folks with master's degrees from          1   QUESTIONS BY MR. MOUGEY:
     2   Loyola of Chicago to burn CDs and to send        2        Q. You don't know whether anybody
     3   them off with no -- no analysis?                 3   was asking you as a senior analyst to provide
     4       A. Yes, sir.                                 4   any analysis of suspicious orders?
     5             MR. STOFFELMAYR: Objection to          5        A. I am -- yes, I am aware that
     6       the form.                                    6   nobody was asking me specifically to perform
     7   QUESTIONS BY MR. MOUGEY:                         7   additional analysis.
     8       Q. And your job -- your job title            8        Q. You were just burning CDs?
     9   was senior analyst, and you did no analyzing     9             MR. STOFFELMAYR: Objection to
    10   of these reports that you sent off?             10        the form. It's like the 18th time --
    11             MR. STOFFELMAYR: Objection to         11             THE WITNESS: Yes.
    12       the form.                                   12   QUESTIONS BY MR. MOUGEY:
    13             THE WITNESS: That was not part        13        Q. You were just burning CDs?
    14       of my responsibility.                       14             MR. STOFFELMAYR: You don't
    15   QUESTIONS BY MR. MOUGEY:                        15        need to be embarrassed about burning
    16       Q. Yet that was your title,                 16        CDs.
    17   correct, sir?                                   17             THE WITNESS: I'm not at all.
    18             MR. STOFFELMAYR: Objection to         18             No. That's exactly part of my
    19       the form.                                   19        responsibility is burn that CD.
    20             THE WITNESS: That was -- my           20   QUESTIONS BY MR. MOUGEY:
    21       title was analyst, but that was not         21        Q. If you would, sir, please turn
    22       part of my responsibility, to analyze       22   all the way back to September 27, 2006,
    23       or investigate those orders on the          23   correct -- or September 27, 2006?
    24       reports that I was sending out.             24        A. All right. Yep, I'm there.
    25                                                   25        Q. And you were employed at
                                              Page 139                                             Page 141
     1   QUESTIONS BY MR. MOUGEY:                         1   Walgreens in September 27, 2006, correct,
     2        Q. So you analyzed other segments           2   sir?
     3   of your job responsibility, just not the         3        A. Correct.
     4   suspicious order reports you were sending off    4        Q. "Dear Sir or Madam: This
     5   monthly, correct, sir?                           5   letter is being sent to every commercial
     6        A. That is correct.                         6   entity in the United States registered with
     7        Q. And as part of your job as an            7   the Drug Enforcement Administration to
     8   investigator, you did not perform any            8   distribute controlled substances," correct,
     9   analysis on any suspicious orders, correct,      9   sir?
    10   sir?                                            10        A. I do see that.
    11        A. That is correct.                        11        Q. And you agree with me that that
    12        Q. To the point where you don't            12   was Walgreens at that point in time, correct,
    13   even know what the formula was for              13   sir?
    14   identifying suspicious orders, correct, sir?    14        A. Yes.
    15        A. Correct, I do not know that             15        Q. Under background, "As each of
    16   formula.                                        16   you is undoubtedly aware, the abuse,
    17        Q. All the while, an opiate                17   non-medical use of controlled prescription
    18   epidemic is raging in our country, and no one   18   drugs is a serious and growing health problem
    19   is asking the senior analyst to provide or      19   in this country."
    20   perform any analysis, correct?                  20             Do you see that, sir?
    21             MR. STOFFELMAYR: Objection to         21        A. Yes.
    22        the form.                                  22        Q. But no one from Walgreens ever
    23             THE WITNESS: That's -- yeah, I        23   told you in your capacity as an investigator
    24        don't know that -- the answer to that      24   that there was a serious and growing health
    25        question.                                  25   problem in the country, correct, sir?
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     1       A. Correct.                                  1       the form and foundation.
     2       Q. Go to the next paragraph, "The            2            THE WITNESS: I was aware at
     3   CSA" --                                          3       some point in my tenure with
     4           Sir, you understand that stands          4       Walgreens, but not during the time
     5   for Controlled Substance Act?                    5       that this letter was sent out.
     6       A. I do.                                     6   QUESTIONS BY MR. MOUGEY:
     7       Q. -- "was designed by Congress to           7       Q. Or not until several years
     8   combat diversion by providing for a closed       8   thereafter, correct, sir?
     9   system of drug distribution."                    9       A. That is correct.
    10           Let's stop there.                       10       Q. The letter goes on,
    11           Do you understand what closed           11   "Distributors are, of course, one of the key
    12   system of drug distribution is?                 12   components of the distributor chain."
    13       A. No. I don't know exactly what            13            Sir, were you aware your first
    14   that means. It can be interpreted many          14   several years at Walgreens that a distributor
    15   different ways.                                 15   was a key component of the distributor chain?
    16       Q. Well, I'm not asking you                 16            MR. STOFFELMAYR: Objection to
    17   exactly or specifically.                        17       the form.
    18           Do you have a general                   18            THE WITNESS: I was not aware.
    19   understanding of what closed system means       19   QUESTIONS BY MR. MOUGEY:
    20   under the CSA?                                  20       Q. Were you aware, sir, as this
    21       A. Very vague, general                      21   next sentence indicates that, "distributors
    22   understanding, yes.                             22   are, of course, one of the" -- I'm sorry, I
    23       Q. What's your vague, general               23   read the same sentence.
    24   understanding of what a closed system under     24            The next sentence, "If the
    25   the CSA means?                                  25   closed system is to function properly as
                                             Page 143                                              Page 145
     1       A. My vague understanding is that            1   one -- as Congress envisioned, distributors
     2   we need to record controlled substances that     2   must be vigilant."
     3   are being shipped to stores, sales of those      3            Correct, sir?
     4   medications, and keep inventory of those         4       A. I do see that.
     5   medications so we can identify any shrink.       5            MR. STOFFELMAYR: Objection to
     6       Q. Any shrink. So your scope of              6       the form.
     7   the closed system is to make sure that           7            THE WITNESS: Sorry. I'm
     8   Schedule II and III narcotics weren't            8       sorry.
     9   disappearing out of the pharmacies?              9   QUESTIONS BY MR. MOUGEY:
    10       A. Correct.                                 10       Q. "And Walgreens must be vigilant
    11       Q. And this sentence goes on, "In           11   in deciding whether a prospective customer
    12   which all legitimate handlers of controlled     12   can be trusted to deliver controlled
    13   substances must obtain a DEA registration; as   13   substances only for -- only for lawful
    14   a condition of maintaining such registration,   14   purposes," correct, sir?
    15   must take reasonable steps to ensure that       15            MR. STOFFELMAYR: Objection to
    16   their registration is not being utilized as a   16       the form.
    17   source of diversion."                           17            THE WITNESS: I see that
    18            Do you see that, sir?                  18       written here, but I don't know what
    19       A. I do.                                    19       the vigilance was being -- or what due
    20       Q. Were you aware, once you                 20       diligence was being performed.
    21   started Walgreens, that as a member of this     21   QUESTIONS BY MR. MOUGEY:
    22   closed system, Walgreens must take reasonable   22       Q. At Walgreens, correct, sir?
    23   steps to ensure their registration is not       23       A. Correct.
    24   being utilized as a source of diversion?        24       Q. DEA goes on, and it says, "This
    25            MR. STOFFELMAYR: Objection to          25   responsibility" --
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     1            And you see, sir, that it's             1   paragraph in, that begins with, "The
     2   referencing the distributor's responsibility,    2   statutory factors."
     3   correct, sir?                                    3            Let me know when you're there.
     4       A. I do see that.                            4       A. I'm there.
     5       Q. -- "is critical as Congress has           5       Q. "The statutory factors DEA must
     6   expressly declared that the illegal              6   consider in deciding whether to revoke a
     7   distribution of controlled substances has a      7   distribute's registration are set forth in 21
     8   substantial and detrimental effect on the        8   USC 823(e)."
     9   health and general welfare of the American       9            Do you see that, sir?
    10   people."                                        10       A. Yes.
    11            Do you see that, sir?                  11       Q. Listed first among these
    12       A. I do.                                    12   factors, "the duty of distributors to
    13       Q. Do you agree with that                   13   maintain effective controls against
    14   sentence, sir, that distributors of             14   diversions of controlled substances into
    15   controlled substances have a substantial and    15   other than legitimate medical, scientific and
    16   detrimental effect on the health and general    16   industrial channels."
    17   welfare of the American people?                 17            Do you see that, sir?
    18            MR. STOFFELMAYR: Objection to          18       A. Yes.
    19       the form. I think that --                   19       Q. And you understand, sir, that
    20            THE WITNESS: Yeah, you left --         20   that was the duty that Walgreens was charged
    21       the illegal distribution, yes. I            21   with from the DEA, correct, sir?
    22       agree that illegal distribution of          22            MR. STOFFELMAYR: Objection to
    23       controlled substances has a                 23       the form. Foundation.
    24       substantial and detrimental effect on       24            THE WITNESS: I do not know
    25       health.                                     25       what Walgreens was charged with or
                                              Page 147                                             Page 149
     1   QUESTIONS BY MR. MOUGEY:                         1        asked to do from a DEA's perspective.
     2       Q. And that Walgreens must be                2   QUESTIONS BY MR. MOUGEY:
     3   vigilant in ferreting out potential diversion    3        Q. Sir, in 2006 until 2012, did
     4   in the supply chain, correct, sir?               4   you have any understanding of what Walgreens'
     5            MR. STOFFELMAYR: Objection to           5   duties were under the CSA?
     6       the form.                                    6        A. No.
     7            THE WITNESS: It states here             7        Q. No idea?
     8       that a distributor must be vigilant.         8        A. No.
     9       I can't state whether Walgreens -- on        9        Q. So if we continue with this
    10       behalf of Walgreens if we -- our due        10   letter, sir, "The DEA regulations require all
    11       diligence in maintaining the                11   distributors to report suspicious orders of
    12       vigilance.                                  12   controlled substances. Specifically the
    13            MR. STOFFELMAYR: Can we go off         13   regulations state in 21 CFR 1301.74(b)."
    14       the record for one second?                  14             You didn't know what Walgreens
    15            MR. MOUGEY: Sure.                      15   was required to do or not required to do?
    16            MR. STOFFELMAYR: Just to talk          16             MR. STOFFELMAYR: Objection to
    17       about lunch. So it's 11:40.                 17        the form.
    18            VIDEOGRAPHER: We're going off          18             THE WITNESS: At the time this
    19       the record at 11:39.                        19        letter was sent out, no.
    20        (Off the record at 11:39 a.m.)             20   QUESTIONS BY MR. MOUGEY:
    21            VIDEOGRAPHER: We're back on            21        Q. At any point in time up until
    22       the record at 11:40.                        22   2012, you didn't know what Walgreens'
    23   QUESTIONS BY MR. MOUGEY:                        23   responsibilities were under the CSA, correct?
    24       Q. If you would, sir, please turn           24        A. Up until 2012, correct.
    25   to the second page of this letter, the third    25        Q. Did you even understand

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     1   generally, in your capacity at Walgreens of      1   QUESTIONS BY MR. MOUGEY:
     2   one of the diversion guys, what Walgreens'       2       Q. So you're not aware from 2006,
     3   responsibilities were?                           3   when you began at Walgreens, up and to the
     4             MR. STOFFELMAYR: Objection to          4   point when you began at pharmaceutical
     5        the form.                                   5   integrity department, that anyone at
     6             THE WITNESS: I wouldn't title          6   Walgreens was responsible for performing due
     7        myself as one of the diversion guys,        7   diligence on suspicious orders?
     8        but, no, I was not aware.                   8            MR. STOFFELMAYR: Objection to
     9   QUESTIONS BY MR. MOUGEY:                         9       the form.
    10        Q. Yet you used the word                   10            THE WITNESS: I do not know who
    11   "diversion" repeatedly in your CV, correct,     11       was responsible for those duties.
    12   sir?                                            12   QUESTIONS BY MR. MOUGEY:
    13        A. I used the word "diversion" to          13       Q. You don't know who was
    14   identify what types of responsibilities and     14   responsible for the duties, and you don't
    15   reports I ran to help identify diversion.       15   know whether anyone was even fulfilling those
    16        Q. Then the next paragraph, the            16   duties, correct, sir?
    17   blocked quote, "The registrant shall design     17            MR. STOFFELMAYR: Objection to
    18   and operate a system."                          18       the form.
    19             You weren't aware of whether or       19            THE WITNESS: I do not know if
    20   not the system that you were using to burn      20       those duties were being performed or
    21   CDs was part of a requirement for -- from the   21       by who.
    22   DEA, correct, sir?                              22   QUESTIONS BY MR. MOUGEY:
    23        A. I was not aware.                        23       Q. Right.
    24        Q. And the next paragraph, sir, I          24            You have no idea of any
    25   assume then it's also safe to conclude that     25   department or individuals who were performing
                                              Page 151                                             Page 153
     1   you were not aware that in addition to           1   due diligence on suspicious orders, correct,
     2   reporting suspicious orders, that a              2   sir, up until pharmaceutical integrity
     3   distributor has a statutory responsibility to    3   department was formed in 2012?
     4   exercise due diligence to avoid filling          4             MR. STOFFELMAYR: Objection to
     5   suspicious orders that might be diverted into    5        the form.
     6   other legitimate, medical, scientific and        6             THE WITNESS: Not saying that
     7   industrial channels, correct, sir?               7        they weren't being performed. I just
     8            MR. STOFFELMAYR: Objection to           8        don't know who was performing those
     9       the form.                                    9        duties.
    10            THE WITNESS: Prior to my time          10   QUESTIONS BY MR. MOUGEY:
    11       with RX integrity, no, I was not            11        Q. Yes, sir, and I just want to
    12       aware.                                      12   make sure we're clear. I'm not asking you
    13   QUESTIONS BY MR. MOUGEY:                        13   whether or not they were performed.
    14       Q. And you're not aware from 2006,          14             What I'm asking you is: Do you
    15   continuing into pharmaceutical integrity,       15   know any individuals or any departments that
    16   that anyone at Walgreens was responsible for    16   was responsible for performing due diligence
    17   performing due diligence on suspicious          17   on suspicious orders before they were shipped
    18   orders?                                         18   up and the time when you began with
    19            MR. STOFFELMAYR: Objection to          19   pharmaceutical integrity?
    20       the form.                                   20        A. Performing due diligence on
    21            THE WITNESS: I think you added         21   those orders, I do not know of anyone
    22       through my time in RX integrity. I          22   specifically, no.
    23       was aware in RX integrity that there        23        Q. You keep throwing in the word
    24       was due diligence ran, but not prior        24   specifically. I'm not asking you John Smith
    25       to.                                         25   in Dubuque, Iowa.
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     1             What I'm asking you is: Do you         1   orders before they were shipped?
     2   -- generally are you aware of any individuals    2            MR. STOFFELMAYR: Objection to
     3   or departments within Walgreens that was         3       the form.
     4   tasked with performing due diligence on          4            THE WITNESS: So to answer
     5   suspicious orders before they were shipped?      5       that, then, yes, I am aware that
     6             MR. STOFFELMAYR: Object to the         6       there -- it was part of their
     7       form, the little speech. You asked           7       responsibilities, but I don't know if
     8       him for individuals. I don't think           8       it was actually being performed.
     9       it's fair to dress him down for saying       9   QUESTIONS BY MR. MOUGEY:
    10       he couldn't give you the names of           10       Q. It was part of the
    11       individuals, but go ahead and answer        11   responsibilities of which department?
    12       that question.                              12       A. It was actually the individual
    13             THE WITNESS: Again, I don't           13   distribution centers.
    14       know specifically or -- individually        14       Q. So the distribution centers --
    15       or who were performing due diligence        15   you believe, it was their responsibility to
    16       on those reports. When I sent those         16   perform due diligence on suspicious orders
    17       reports out, if due diligence was           17   before they were shipped?
    18       being done, I was unaware of it.            18       A. That was my understanding, yes.
    19   QUESTIONS BY MR. MOUGEY:                        19       Q. Sir, when did you become aware
    20       Q. Generally, do you have any               20   that the distribution centers were
    21   general knowledge of a department who was       21   responsible for performing due diligence on
    22   responsible for performing due diligence on     22   suspicious orders before they were shipped?
    23   suspicious orders before they were shipped?     23       A. When I was in pharmaceutical
    24             MR. STOFFELMAYR: Objection to         24   integrity.
    25       the form.                                   25       Q. So you have no individual -- no
                                              Page 155                                            Page 157
     1             THE WITNESS: I cannot speak to         1   personalized knowledge of which departments
     2        that. I know part of the                    2   were supposed to perform due diligence on
     3        responsibilities of our distribution        3   orders before they were shipped until you
     4        centers -- that was part of their           4   began in pharmaceutical integrity?
     5        responsibilities, but, again, I cannot      5       A. Correct.
     6        speak to whether or not that was being      6       Q. Do you have any understanding
     7        performed.                                  7   that there was due diligence performed on
     8   QUESTIONS BY MR. MOUGEY:                         8   suspicious orders prior to being shipped
     9        Q. So the answer to my question             9   before the pharmaceutical integrity
    10   is, no, you are not aware of any departments    10   department was formed?
    11   that were responsible for performing due        11            MR. STOFFELMAYR: Objection to
    12   diligence on suspicious orders before they      12       the form.
    13   were shipped?                                   13            THE WITNESS: Are you asking me
    14             MR. STOFFELMAYR: Objection to         14       if I was aware that due diligence was
    15        the form.                                  15       being performed?
    16             THE WITNESS: There could have         16   QUESTIONS BY MR. MOUGEY:
    17        been due diligence done. I just don't      17       Q. Do you have -- yes, sir.
    18        know who was performing that due           18       A. I am unaware if any due
    19        diligence.                                 19   diligence was being performed.
    20   QUESTIONS BY MR. MOUGEY:                        20       Q. So what I want to try and do is
    21        Q. I'm not asking you if it could          21   separate out the time period when the DEA and
    22   or maybe could have. I'm asking you:            22   the Department of Justice required that
    23   Sitting here today, do you have any general     23   Walgreens form the pharmaceutical integrity
    24   knowledge that any department was responsible   24   department.
    25   for performing due diligence on suspicious      25            Okay?

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     1       A. Okay.                                     1       have knowledge of what those
     2       Q. Were you aware of any                     2       regulations were or if Walgreens was
     3   department that was performing due diligence     3       in compliance with those regulations.
     4   on suspicious orders before they were            4   QUESTIONS BY MR. MOUGEY:
     5   shipped?                                         5       Q. But you would agree with me
     6       A. No.                                       6   that as early as 2006, the DEA was
     7       Q. Now, let's start with the                 7   communicating to registrants that it had to
     8   pharmaceutical integrity when you said that      8   perform due diligence on suspicious orders,
     9   the distribution centers were tasked with        9   correct, sir?
    10   performing due diligence on suspicious orders   10            MR. STOFFELMAYR: Objection to
    11   before they were shipped.                       11       the form.
    12            How did you become aware of            12            THE WITNESS: According to the
    13   that information? Who told you?                 13       information you provided me, I am
    14       A. It was discussed in our                  14       aware, but during the time frame, I
    15   department from my supervisor and among the     15       was not aware that we were being --
    16   other managers regarding the DEA MOA. It was    16   QUESTIONS BY MR. MOUGEY:
    17   part of the discussion of the duties that       17       Q. Yes, sir.
    18   were being performed or responsibilities for    18            But sitting here today you can
    19   each department.                                19   see that the DEA is telling the registrants
    20       Q. And do you have an                       20   like Walgreens it has to perform due
    21   understanding of what the scope of              21   diligence on suspicious orders, correct, sir?
    22   distribution center's responsibility was with   22            MR. STOFFELMAYR: Objection to
    23   performing due diligence on suspicious orders   23       the form.
    24   before they were shipped?                       24            THE WITNESS: I do see that in
    25       A. No, I do not know the scope.             25       the documents you showed me, but I
                                              Page 159                                             Page 161
     1       Q. So, sir, you would agree with             1        don't know who was informed on the
     2   me that if Walgreens was not performing due      2        Walgreens side.
     3   diligence on suspicious orders before they       3   QUESTIONS BY MR. MOUGEY:
     4   were shipped, that it was violating the          4        Q. And if Walgreens was not
     5   Controlled Substance Act?                        5   performing due diligence on suspicious orders
     6            MR. STOFFELMAYR: Objection to           6   up to the creation of pharmaceutical
     7       the form. Lack of foundation.                7   integrity, it was violating the CSA, correct,
     8            THE WITNESS: Yeah, I can't              8   sir?
     9       speak to regulations. I'm not -- I'm         9              MR. STOFFELMAYR: Objection to
    10       obviously not a lawyer, so I don't          10        the form. Lack of foundation.
    11       know what Walgreens' responsibilities       11              THE WITNESS: I can't speak to
    12       were in regards to the Controlled           12        that.
    13       Substances Act.                             13   QUESTIONS BY MR. MOUGEY:
    14   QUESTIONS BY MR. MOUGEY:                        14        Q. Well, let's read the paragraph
    15       Q. I understand you're not a                15   together. Okay?
    16   lawyer, but what I'm asking you: In your        16              It says, "Thus, in addition to
    17   tenure at Walgreens from 2006 all the way up    17   reporting all suspicious orders, a
    18   to the beginning of pharmaceutical integrity,   18   distributor has a statutory responsibility to
    19   did you have an understanding that if           19   exercise due diligence to avoid filling
    20   Walgreens was not performing due diligence on   20   suspicious orders."
    21   suspicious orders, that it was violating the    21              You see that, right?
    22   CSA?                                            22        A. Yes.
    23            MR. STOFFELMAYR: Objection to          23        Q. So as of 2006, according to
    24       the form. Lack of foundation.               24   this letter, you don't have any problem
    25            THE WITNESS: No, I did not             25   understanding, as a Walgreens employee, that
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     1   a distributor has a statutory responsibility     1      speaking objection.
     2   to exercise due diligence to avoid filling       2           MR. MOUGEY: It certainly was.
     3   suspicious orders, correct?                      3           MR. STOFFELMAYR: I am
     4             MR. STOFFELMAYR: Objection to          4      correcting you.
     5        the form. Lack of foundation.               5           MR. MOUGEY: I don't need to be
     6             THE WITNESS: I do not know             6      corrected.
     7        what a distributor has -- what              7           MR. STOFFELMAYR: You say
     8        responsibilities a distributor has in       8      you're reading the text, and you read
     9        terms of these federal regulations.         9      the first half of the sentence, and
    10   QUESTIONS BY MR. MOUGEY:                        10      you rewrite the second half of the
    11        Q. I understand, but sitting here          11      sentence. That's not fair.
    12   today looking at this letter for the first      12           If you're doing that on
    13   time, it's as of September 2006, the DEA is     13      purpose --
    14   telling Walgreens, "You have a responsibility   14           MR. MOUGEY: And you have
    15   to exercise due diligence to avoid filling      15      plenty time down the road to object,
    16   suspicious orders." That's unequivocal,         16      correct?
    17   correct?                                        17           MR. STOFFELMAYR: Well --
    18             MR. STOFFELMAYR: Objection to         18           MR. MOUGEY: I don't need --
    19        the form.                                  19           MR. STOFFELMAYR: -- we're
    20             THE WITNESS: I see that today,        20      going to be here a long time cleaning
    21        but again, I don't know what those         21      up if you're going to misread every
    22        responsibilities are on behalf of          22      document you show him.
    23        Walgreens as a distributor.                23           MR. MOUGEY: I appreciate your
    24   QUESTIONS BY MR. MOUGEY:                        24      concern about how long we're going to
    25        Q. But that sentence is not                25      be here. We have parameters on how
                                              Page 163                                             Page 165
     1   confusing, convoluted, hard to understand in     1       long we can be here. If that's how I
     2   any shape, form or fashion, correct, sir?        2       want to spend my time, great, but I
     3            Due diligence on suspicious             3       don't want to spend my time asking you
     4   orders to avoid filling illegitimate             4       not to continue with your speaking
     5   prescriptions, correct, sir?                     5       objections. Are we on the same page?
     6            MR. STOFFELMAYR: Objection to           6            MR. STOFFELMAYR: I'm going to
     7       the form. That's not what it says.           7       ask you to stop misreading documents.
     8            THE WITNESS: Yeah, it says --           8            MR. MOUGEY: I appreciate that,
     9            MR. MOUGEY: Mr. Kaspar, I'm             9       and I'm going to --
    10       not going to ask you again, you             10            MR. STOFFELMAYR: Can I ask you
    11       understand? It's the fifth, sixth,          11       that?
    12       seventh, eighth time.                       12            MR. MOUGEY: This is the fifth
    13            MR. STOFFELMAYR: I thought you         13       or sixth time I've asked you to stop
    14       were making a mistake.                      14       with the speaking objections.
    15            MR. MOUGEY: No, I appreciate           15            MR. STOFFELMAYR: It wasn't an
    16       that. I'll live with my mistakes. I         16       objection. I'm correcting you.
    17       don't need any more conversations on        17   QUESTIONS BY MR. MOUGEY:
    18       the record, underneath your breath,         18       Q. There's not any confusion in
    19       because exactly what Mr. Stahmann says      19   this paragraph, sir, that a distributor has a
    20       is exactly what -- he's just parroting      20   statutory responsibility to exercise due
    21       whatever you say.                           21   diligence to avoid filling suspicious orders,
    22            Now, I've been patient. You've         22   correct?
    23       probably done speaking objections 20,       23            MR. STOFFELMAYR: Objection to
    24       25 times --                                 24       the form.
    25            MR. STOFFELMAYR: It wasn't a           25            THE WITNESS: According to this

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     1       document, there is a statutory               1   QUESTIONS BY MR. MOUGEY:
     2       responsibility for a distributor to          2       Q. Let's go back to the very first
     3       exercise due diligence.                      3   page, June 12, 2012. There is -- there are a
     4   QUESTIONS BY MR. MOUGEY:                         4   series of letters coming from the DEA
     5       Q. So the letter we just went                5   reminding registrants of their duties and
     6   through is dated September 27, 2006. If you      6   obligation under the CSA, correct, sir?
     7   look backwards, you see that almost the exact    7       A. Yes.
     8   same letter was sent on February 7, 2007,        8       Q. And up and to the point when
     9   correct, sir?                                    9   you began in pharmaceutical integrity, no one
    10       A. I don't know if it's the same            10   ever came to you and relayed what the DEA
    11   exact letter. I didn't read through both of     11   expectations were, correct, with regard to
    12   them.                                           12   suspicious orders?
    13       Q. Take a minute and look through           13       A. No.
    14   them.                                           14       Q. No one ever came to you from
    15       A. Seems to be additional                   15   Walgreens and gave you any of the information
    16   information in the February 7, 2007 document    16   about the requirement that -- that Walgreens
    17   or letter.                                      17   perform due diligence on suspicious orders
    18       Q. You turn to the next page,               18   prior to your time in pharmaceutical
    19   December 27, 2007, another letter from the US   19   integrity department, correct, sir?
    20   Department of Justice, DEA to registrants       20            MR. STOFFELMAYR: Objection to
    21   under the CSA, correct?                         21       the form.
    22       A. It's from Joseph Rannazzisi. I           22            THE WITNESS: During my time.
    23   don't know if that's -- specifically if he      23       No one came to me and relayed this
    24   represents the DEA.                             24       information to me.
    25       Q. Do you see his title, deputy             25            MR. MOUGEY: This is a good
                                              Page 167                                             Page 169
     1   assistant administrator, Office of Diversion     1       time to take a break for lunch. Thank
     2   Control?                                         2       you.
     3       A. I do see that.                            3            VIDEOGRAPHER: We're going off
     4       Q. And if you turn to the first              4       the record at 11:58.
     5   page of this document, December 27, 2007, the    5        (Off the record at 11:58 a.m.)
     6   third paragraph down, "This regulation also      6            VIDEOGRAPHER: We're back on
     7   requires that the registrant inform the local    7       the record at 1:05.
     8   DEA diversion -- division office of              8   QUESTIONS BY MR. MOUGEY:
     9   suspicious orders when discovered by the         9       Q. Mr. Stahmann, at any point in
    10   registrant."                                    10   time were you aware that pharmacy customers
    11            Do you see that, sir?                  11   were arrested on Walgreens property regarding
    12       A. I do see that.                           12   Class II and III narcotics?
    13       Q. And you see that "when                   13       A. Yes.
    14   discovered" is underlined, correct, sir?        14       Q. Were you aware that pharmacists
    15       A. That is underlined, yes.                 15   were concerned for their safety when walking
    16       Q. So as of December 27, 2007, it           16   to their cars after work from a Walgreens
    17   was crystal clear that the DEA wanted           17   Pharmacy?
    18   Walgreens to report suspicious orders as they   18       A. No.
    19   were discovered, correct, sir?                  19       Q. Were you aware that pharmacists
    20            MR. STOFFELMAYR: Objection to          20   expressed their concern about growing
    21       the form. Foundation.                       21   prescriptions for oxy 30s?
    22            THE WITNESS: According to              22       A. At some point I was made aware,
    23       Mr. Rannazzisi, the -- that could be        23   yes.
    24       his interpretation of those regs, yes.      24       Q. And when you say "at some
    25            (Discussion off the record.)           25   point," when did you become aware?

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     1       A. Pharmaceutical integrity.                 1             MR. STOFFELMAYR: Objection to
     2       Q. And you've mentioned                      2        the form.
     3   pharmaceutical integrity a few times.            3             THE WITNESS: I was not aware
     4   Pharmaceutical integrity is the department       4        of what Walgreens knew.
     5   that was created by direction of the DEA         5             (Discussion off the record.)
     6   after an imposed an $80 million fine,            6             (Walgreens-Stahmann Exhibit 6
     7   correct, sir?                                    7        marked for identification.)
     8            MR. STOFFELMAYR: Objection to           8   QUESTIONS BY MR. MOUGEY:
     9       the form.                                    9        Q. I just put in front of you what
    10            THE WITNESS: Actually, I think         10   we've premarked as Stahmann 6, which the
    11       it was a settlement, but I don't know       11   first page of this document is titled
    12       exactly why the RX integrity                12   "Settlement and Memorandum of Agreement,"
    13       department was created. I do know           13   correct, sir?
    14       that it was part of the settlement          14        A. That is correct.
    15       with the DEA.                               15        Q. Now, are you familiar with this
    16   QUESTIONS BY MR. MOUGEY:                        16   document?
    17       Q. And that settlement resulted in          17        A. Yes.
    18   substantial fines from the DFA {sic},           18        Q. And did you review it in
    19   correct?                                        19   preparation for your testimony today?
    20            MR. STOFFELMAYR: Objection to          20        A. I did.
    21       the form.                                   21        Q. Did you also review it at about
    22            THE WITNESS: Again, there were         22   the same time that Walgreens reached the
    23       not fines. I think it was a                 23   agreement with the DEA?
    24       settlement, and the -- yeah, the            24        A. It was a little bit after that
    25       approximate dollar amount was               25   time, during my role in pharmaceutical
                                              Page 171                                           Page 173
     1       $80 million.                                 1   integrity.
     2   QUESTIONS BY MR. MOUGEY:                         2        Q. So pharmaceutical integrity you
     3       Q. And you're aware, sir, that               3   started on or about in February of 2013,
     4   that substantial settlement amount at the        4   correct?
     5   point that agreement was reached with the DEA    5        A. Correct. I think I officially
     6   was the largest in the history of the DEA        6   transitioned over there in April of 2013.
     7   regarding a distributor, correct, sir?           7        Q. In the bottom right-hand corner
     8       A. I did not know that, no.                  8   you have page numbers on this document, so
     9       Q. When you said that you were               9   let's start off with the very beginning
    10   aware that customers were arrested in -- on     10   titled "Settlement and Memorandum of
    11   Walgreens property, did you become aware of     11   Agreement," correct?
    12   that in your role as part of the                12        A. Yes.
    13   pharmaceutical integrity department?            13        Q. And the memorandum of agreement
    14       A. I did learn about some                   14   is entered into by and between the United
    15   instances when I was in loss prevention.        15   States Department of Justice, United States
    16       Q. Did you -- when you were with            16   Drug Enforcement Administration, and
    17   part of loss prevention?                        17   Walgreens.
    18       A. Correct.                                 18             Do you see that there, sir?
    19       Q. Were you aware that pharmacists          19        A. I do.
    20   were questioning how the -- strike that.        20        Q. And then on the first page
    21            Were you aware that corporate          21   there is another section titled "Procedural
    22   Walgreens was questioning how specific          22   Background."
    23   Walgreens pharmacies stored so many bottles     23             Correct?
    24   of Class II and III narcotics as they were      24        A. I do see that.
    25   ordering?                                       25        Q. And you are familiar that this
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     1   memorandum of agreement, or MOA, encompasses     1   correct, sir?
     2   several different orders to show cause issued    2       A. I don't recall how many of our
     3   by the DEA, correct, sir?                        3   distribution centers distributed C-II
     4       A. I am not aware of that. I                 4   through Vs at that time.
     5   don't know specifically what orders to show      5       Q. And I'm asking specifically
     6   cause were listed in here.                       6   about C -- just C-IIs.
     7       Q. All right. And maybe not                  7       A. Again, I don't know which
     8   specifically, but generally, did you have an     8   specific distribution centers of Walgreens
     9   understanding that this MOA was a culmination    9   distributed C-IIs at the time.
    10   of several different orders to show cause?      10       Q. Do you have an understanding
    11       A. Yes.                                     11   that it was less than five distribution
    12       Q. So if we started off with                12   centers that were distributing C-IIs like
    13   paragraph 1 on page 1 of this document,         13   OxyContin?
    14   "Walgreens owns or operates distribution        14       A. I believe it was under -- it
    15   centers," and that's one of Walgreens' role     15   was less than five, yes.
    16   under -- roles under the CSA with regard to     16       Q. It was less than five.
    17   Schedule II and III, correct, sir?              17            So are you -- do you have any
    18       A. At one time it was, yes.                 18   understanding of whether Perrysburg is
    19       Q. And under paragraph 2,                   19   another distribution center that was licensed
    20   "Walgreens owns and operates or has             20   to distribute Class II narcotics?
    21   previously owned or operated pharmacies that    21       A. They were. They were at one
    22   are or were registered with the DEA's           22   time.
    23   retail/chain pharmacies to handle Schedule II   23       Q. And another was -- Tempe,
    24   through V controlled substances under the       24   Arizona, was licensed to distribute Class II,
    25   CSA," correct?                                  25   correct?
                                              Page 175                                              Page 177
     1       A. I do see that, yes.                       1       A. They were at one time, yes.
     2       Q. And that is what the DEA and              2       Q. Can you think of any others
     3   Walgreens are referring to as a pharmacy or      3   other than those three that were licensed or
     4   collectively pharmacies, correct, sir?           4   approved to distribute Class II?
     5       A. I don't know if that's                    5       A. I don't know for certain if
     6   specifically what Walgreens and the DEA is       6   they were, but I can name other distribution
     7   referring to, but that is written here.          7   centers.
     8       Q. All right. On -- underneath               8       Q. Number 5, "On September 13,
     9   paragraph 3 on April 7, 2011, Walgreens          9   2012, the DEA by its administrator, Michele
    10   entered into a settlement agreement and         10   Leonhart, issued an order to show cause and
    11   administrative memorandum of agreement with     11   immediate suspension of regulation to Jupiter
    12   the DEA, correct?                               12   Distribution."
    13       A. Correct.                                 13            Do you see that, sir?
    14       Q. And it says "see Appendix A."            14       A. I do see that.
    15       A. Yep.                                     15       Q. And that's Jupiter as a
    16       Q. And then just take a minute --           16   distribution center, correct, sir?
    17   well, let's look at 4. 4 is, "Walgreens         17       A. I believe that's what they're
    18   Jupiter Distribution Center is registered       18   referring to, yes.
    19   with the DEA as a distributor of Schedule II    19       Q. And as you look at paragraph 6,
    20   through IV controlled substances," correct?     20   "On November 6, 2012, the DEA, but its deputy
    21       A. They were at one time, yes.              21   assistant administrator, Joseph H.
    22       Q. Yes, sir.                                22   Rannazzisi, issued three OTSC" --
    23            And that was one of three              23            You understand that that's
    24   distribution centers at this point in time      24   order to show cause?
    25   that distributed Schedule II narcotics,         25       A. I do.

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     1        Q. -- "to Walgreens Pharmacy," and          1   forward, correct, sir?
     2   it lists the numbers 3629, 12028 -- I'm          2        A. That's my understanding of that
     3   sorry, the first one is 03629. The second        3   word, yeah.
     4   one is 07 -- 04727, and 06997 as part of that    4        Q. So during the course this
     5   order to show cause, correct?                    5   morning of your testimony, you have
     6        A. I do see that.                           6   referenced several times the Walgreens
     7        Q. Paragraph 7 on the second page           7   pharmaceutical integrity department, correct,
     8   also references on February 4, 2013, that        8   sir?
     9   Mr. Rannazzisi also issued an order to show      9        A. Yes.
    10   cause for retail pharmacy 03836, correct?       10        Q. And as we look on page 11 under
    11        A. I do see that.                          11   the title "Addendum: Prospective
    12        Q. So that's the fourth Walgreens          12   compliance," we see under A1, "Walgreens will
    13   Pharmacy so far included in the orders to       13   maintain a department of pharmaceutical
    14   show cause, correct, sir?                       14   integrity composed of personnel with
    15        A. That's what it appears, yes.            15   pharmacy-related training and managerial
    16        Q. Number 8 is February 11, 2013,          16   personnel who shall be trained in relevant
    17   Mr. Rannazzisi issued another order to show     17   diversion-related issues." I'll stop there.
    18   cause for retail pharmacy 04391, correct?       18             Did I read that correctly?
    19        A. Yes.                                    19        A. You did.
    20        Q. And under paragraph 9 on                20        Q. So as part of this substantial
    21   February 19, 2013, Mr. Rannazzisi issued        21   settlement agreement with Walgreens,
    22   another order to show cause on another          22   Walgreens was required by the DEA to maintain
    23   Walgreens Pharmacy, 03099, correct, sir?        23   the department of pharmaceutical integrity,
    24        A. That is correct.                        24   correct, sir?
    25        Q. And each of those paragraphs            25             MR. STOFFELMAYR: Objection to
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     1   that we just went through, paragraph 6           1       the form.
     2   through 9, all reference Exhibit 3 for the       2            THE WITNESS: Under these
     3   orders to show cause, correct, sir?              3       rules, I don't know if that was part
     4       A. Yes.                                      4       of why the department of
     5            MR. STOFFELMAYR: Exhibit C?             5       pharmaceutical integrity was created
     6            MR. MOUGEY: I'm sorry?                  6       or why -- or if it needed to be
     7            MR. STOFFELMAYR: C?                     7       maintained, so I can't speak directly
     8            MR. MOUGEY: C?                          8       to that. I can speak to --
     9            MR. STOFFELMAYR: I thought you          9   QUESTIONS BY MR. MOUGEY:
    10       said 3.                                     10       Q. Well, let's look at the intro
    11            MS. SWIFT: You did.                    11   paragraph preceding the discussion about
    12   QUESTIONS BY MR. MOUGEY:                        12   pharmaceutical integrity.
    13       Q. Exhibit 6 through 9 all                  13            It says, "The parties agree
    14   reference Exhibit C as the order to show        14   that Walgreens will maintain the following
    15   cause on those various Walgreens pharmacies,    15   specific compliance measures for the duration
    16   correct, sir?                                   16   of this agreement. To the extent any
    17       A. Yes, Appendix C.                         17   compliance measures identified below are not
    18       Q. All right. And just keep your            18   yet in place, Walgreens commits to implement
    19   finger there. I'm going to come back to that    19   such measures within the time frame specified
    20   section. I want you to turn, sir, to page 11    20   therein."
    21   of this document.                               21            Correct?
    22            Do you see the title on that           22       A. Correct, that's what -- that's
    23   page, "Addendum: Prospective compliance"?       23   what it says.
    24       A. I do.                                    24       Q. And you see in the paragraph
    25       Q. And prospective meaning looking          25   A1, second sentence, it says, "Within one
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     1   month of the effective date of this              1       Q. And number 3 is, "Dispensing
     2   agreement, Walgreens will identify a             2   controlled substances to individuals that
     3   dedicated contact point for DEA within the       3   Walgreens 06094 knew or should have known
     4   department of pharmaceutical integrity to        4   were diverting the controlled substances."
     5   facilitate Walgreens' responses to DEA           5             Do you see that, sir?
     6   requests for information and documents,"         6       A. I do see that.
     7   correct, sir?                                    7       Q. So before the lunch break, you
     8       A. That's correct.                           8   and I just went through a series of DEA
     9       Q. If you would, sir, please turn            9   letters that began in 2006, correct?
    10   to page 15 of this document, which is           10       A. Yes.
    11   Appendix A, referencing the memorandum of       11       Q. And those letters continued
    12   agreement regarding the Jupiter store,          12   until 2012, and I think we looked at four
    13   correct? I'm sorry, the Jupiter Distribution    13   individual and distinct letters reminding
    14   Center.                                         14   distributor of their duties, correct?
    15            No, I'm sorry, I got -- I'm            15       A. Correct.
    16   incorrect.                                      16       Q. And as of, according to this
    17            Exhibit A references the               17   document, September 30, 2009, right in the
    18   settlement and release agreement with the DEA   18   middle of those letters reminding
    19   regarding a San Diego pharmacy, number 06094.   19   distributors of their duties, the Walgreens
    20            Do you see that, sir?                  20   received an order to show cause from the DEA,
    21       A. I do see that, yes.                      21   correct, sir?
    22       Q. And under background, you see            22       A. For a particular store, yes,
    23   on September 30, 2009, the deputy assistant     23   that's correct.
    24   administrator, Office of Diversion Control,     24       Q. Yes, sir.
    25   DEA, issued an order to show cause proposing    25             So were you aware that
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     1   to revoke DEA's certificate of registration      1   Walgreens received an order to show cause
     2   on Walgreens store 06094, correct, sir?          2   regarding this Walgreens Pharmacy before
     3       A. That's what it says, yes.                 3   Walgreens initiated the pharmaceutical
     4       Q. In the paragraph below, the               4   integrity department?
     5   OTSC -- the order to show cause -- alleged       5       A. I was not aware.
     6   that Walgreens, and you see that there's         6       Q. Were you aware after you joined
     7   numbers, 1, 2, 3.                                7   the pharmaceutical integrity department of
     8           Do you see that, sir?                    8   this order to show cause?
     9       A. Yes.                                      9       A. Yes.
    10       Q. The first one is, "Dispense              10       Q. And explain to me how you
    11   controlled substances to individuals based on   11   became aware of this order to show cause that
    12   purported prescriptions issued by physicians    12   was received by Walgreens in
    13   who are not licensed to practice medicine in    13   September 30th -- or on September 30th of
    14   California."                                    14   2009?
    15           Do you see that, sir?                   15       A. So after I joined the
    16       A. Yes.                                     16   pharmaceutical integrity team part of our
    17       Q. And number 2, "Dispense                  17   analysis to help develop policies and
    18   controlled substances to individuals located    18   procedures, we looked at these orders to show
    19   in California based on Internet prescriptions   19   cause to help develop policies and
    20   issued by physicians for other than a           20   procedures.
    21   legitimate medical purpose and/or outside the   21       Q. Walgreens, corporate Walgreens,
    22   usual course of professional practice in        22   should have been aware of these problem areas
    23   violation of federal and state law."            23   with diversion beginning on September 30th of
    24           Do you see that, sir?                   24   2009, correct?
    25       A. I do.                                    25            MR. STOFFELMAYR: Objection to

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     1       form.                                        1            MR. STOFFELMAYR: Objection to
     2            THE WITNESS: I cannot speak             2       form. Give me a chance to --
     3       whether or not Walgreens as a whole          3            THE WITNESS: Sorry.
     4       should have been made aware.                 4   QUESTIONS BY MR. MOUGEY:
     5   QUESTIONS BY MR. MOUGEY:                         5       Q. And, in fact, sir, under your
     6       Q. Let's continue with the                   6   definition of your job description as a
     7   paragraph that begins with, "The OTSC            7   project manager of pharmacy loss prevention,
     8   alleged," and go to the sentence that begins     8   "compile and interpret data for internal
     9   with, "In addition to the allegations            9   pharmacy theft cases and for statistical
    10   raised."                                        10   purposes to monitor diversion," correct, sir?
    11            Do you see that?                       11       A. Correct.
    12       A. I do.                                    12       Q. You didn't think it was
    13       Q. "In addition to the allegations          13   important at that point in time to provide
    14   raised in the OTSC, DEA's investigation also    14   any definition for what diversion meant,
    15   reveals that Walgreens O6094 was allegedly      15   correct?
    16   refilling prescriptions for controlled          16            MR. STOFFELMAYR: Objection to
    17   substances too early and had allegedly filled   17       the form.
    18   several prescriptions that were issued using    18            THE WITNESS: Diversion at that
    19   expired DEA registration numbers."              19       time in my role and responsibility
    20            Do you see that, sir?                  20       focused solely on employee diversion.
    21       A. I do see that.                           21   QUESTIONS BY MR. MOUGEY:
    22       Q. And these are all examples of            22       Q. Yes, sir.
    23   diversion, correct, sir?                        23            And you didn't think you had to
    24            MR. STOFFELMAYR: Objection to          24   define that in your CV for the world to see
    25       form.                                       25   that you posted on LinkedIn of what the
                                              Page 187                                             Page 189
     1            THE WITNESS: Not necessarily.           1   definition of diversion was, correct?
     2       Diversion is very, very vague and            2        A. I did not, no.
     3       broad. It can mean a whole bunch of          3        Q. Yes, sir.
     4       different things. This doesn't               4            And if you look on the first
     5       necessarily lead to diversion.               5   page of your CV, you use the word "diversion"
     6   QUESTIONS BY MR. MOUGEY:                         6   in relation to your position as manager of
     7       Q. Sir, you would agree with me              7   pharmaceutical integrity department on
     8   that these examples are all issues identified    8   several different instances, correct, sir?
     9   by the DEA that would -- could lead to           9        A. I do.
    10   potential diversion, correct, sir?              10        Q. And, for example, the very
    11       A. It is possible, yes.                     11   first bullet point -- I'm sorry, the very
    12       Q. These were red flag diversion            12   last bullet point, "develops innovative
    13   areas brought to the attention of Walgreens     13   programs to identify and analyze areas that
    14   in 2009 by the DEA, correct, sir?               14   address drug diversion and regulatory
    15            MR. STOFFELMAYR: Objection to          15   compliance."
    16       the form.                                   16            Do you see that on the last
    17            THE WITNESS: I do not know if          17   bullet?
    18       they were brought to Walgreens'             18        A. I do see that.
    19       attention in 2009.                          19        Q. And you thought it was crystal
    20   QUESTIONS BY MR. MOUGEY:                        20   clear in that description what drug diversion
    21       Q. Sir, you've expressed some               21   meant, correct, sir?
    22   confusion with what exactly diversion is, but   22        A. To me when I wrote these words,
    23   you used the word "diversion" repeatedly        23   yes.
    24   through your CV, correct, sir?                  24        Q. Yes, sir.
    25       A. Correct.                                 25            That you developed innovative

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     1   programs to identify and analyze areas that      1   correct, sir?
     2   address drug diversions and regulatory           2       A. The person who signed this had
     3   compliance, correct, sir?                        3   agreed to that. I cannot say on behalf of
     4        A. That's what I wrote, yes.                4   Walgreens that's what we agreed or assured to
     5        Q. And if you go back to page 15            5   do.
     6   of the administrative memorandum of              6       Q. The plain reading of this
     7   agreement, the second to last paragraph --       7   agreement, sir, is that Walgreens assured the
     8   the last sentence of that paragraph beginning    8   DEA that it was going to comply with the
     9   with "moreover, the parties."                    9   requirements of the CSA and the applicable
    10            Do you see where I am?                 10   DEA regs, correct, sir?
    11        A. Yes.                                    11       A. It says Walgreens maintains a
    12        Q. "Moreover, the parties believe          12   compliance program. I don't know if it -- it
    13   that the continued cooperation between the      13   doesn't specifically say or it doesn't say
    14   parties to reduce the potential for diversion   14   verbatim that it assures that we would be in
    15   is in the public interest, and entering into    15   compliance under the CSA.
    16   this agreement will ensure nationwide           16       Q. Well, by signing something, you
    17   compliance by Walgreens with respect to its     17   understand that that's an agreement or a
    18   pharmacy operations."                           18   contract, correct, sir?
    19            Sir, do you see that?                  19       A. I do.
    20        A. I do.                                   20       Q. And by signing something, you
    21        Q. And if you turn to page 21 of           21   understand and agree that when you sign it,
    22   this document, the order to show cause and      22   you're assuring the other party that, Hey,
    23   the resulting memorandum of agreement was       23   I'm going to take care of my obligations as
    24   entered into in 2011, correct, sir?             24   agreed to in this agreement, correct, sir?
    25        A. I do see that's when it was             25       A. I can assume that when that
                                              Page 191                                             Page 193
     1   signed.                                          1   person signed that, that's what was under
     2        Q. Yes, sir.                                2   their thought process, but, again, I cannot
     3            March of 2011, it's signed by           3   speculate.
     4   Walgreens and April of 2011 signed by the        4       Q. And when you sign something,
     5   DEA, correct, sir?                               5   that's what you mean. Personally,
     6        A. That is correct.                         6   Mr. Stahmann, when you sign something, you're
     7        Q. Now, if you would turn to                7   assuring the other party that you're going to
     8   page 16 of the memorandum of agreement of the    8   fulfill your obligations in that agreement,
     9   San Diego store, under obligations of            9   correct, sir?
    10   Walgreens, Walgreens assured the DEA when it    10       A. Personally, yes.
    11   signed this document that "it would maintain    11       Q. And the same paragraph goes on,
    12   a compliance program to detect and prevent      12   "This program shall include procedures to
    13   diversion of controlled substances as           13   identify the common signs associated with the
    14   required under the Controlled Substances Act    14   diversion of controlled substances including,
    15   and applicable DEA regulations."                15   but not limited to, doctor shopping and
    16            Do you see that, sir?                  16   requests for early refills."
    17        A. You said assures. I think it            17            Do you see that, sir?
    18   says Walgreens agrees to maintain.              18       A. I do.
    19        Q. Yes, sir.                               19       Q. And you see in paragraph B that
    20            But the question I asked: Was          20   "Walgreens shall implement a system to notify
    21   it assured? By signing this agreement           21   local DEA office within two business days of
    22   Walgreens told the DEA it was going to          22   a refusal to fill a prescription for
    23   maintain a compliance program to detect and     23   controlled substances where such refusal is
    24   prevent diversion of controlled substances as   24   based on the Walgreens' pharmacist's
    25   required under the Controlled Substances Act,   25   determination that the prescription was

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     1   forged, altered or issued other than for a       1   correct?
     2   legitimate medical purpose."                     2       A. Correct.
     3            Correct, sir?                           3       Q. And that loss prevention, you
     4       A. I do see that.                            4   would understand that timeliness of
     5       Q. And, sir, that immediate                  5   information in your role at Walgreens is
     6   notification to the DEA -- you can understand    6   important, correct?
     7   as a former law enforcement officer why the      7       A. In my role, yes.
     8   timeliness of that notification is important,    8       Q. Yes, sir.
     9   correct, sir?                                    9            And under paragraph C,
    10       A. Of course, yes.                          10   "Walgreens shall implement and maintain
    11       Q. You can't wait for weeks or              11   policies and procedures to ensure that
    12   months to go by with reporting that             12   prescriptions for controlled substances are
    13   information to law enforcement because that     13   only dispensed to authorized individuals
    14   opportunity to enforce the regulations or       14   pursuant to federal and state laws and regs."
    15   laws is often lost with the passage of time,    15            Correct?
    16   correct?                                        16       A. I do see that.
    17            MR. STOFFELMAYR: Objection to          17       Q. Let's go back to the first page
    18       form. Foundation.                           18   of this memorandum of agreement. I would
    19            THE WITNESS: I can't say               19   like you to look down at paragraphs 4 and 5,
    20       exactly why the DEA needed those --         20   and those discuss the Jupiter Distribution
    21       that information on a timely basis or       21   Center.
    22       within two business days.                   22            Correct, sir?
    23   QUESTIONS BY MR. MOUGEY:                        23       A. They do.
    24       Q. Well, let's just say your own            24       Q. Now, sir, were you aware that
    25   experience with law enforcement that you've     25   the Jupiter Distribution Center had been
                                             Page 195                                               Page 197
     1   now brought into Walgreens, you would agree      1   padlocked by the DEA at this point in time?
     2   with that, correct?                              2       A. I was not.
     3       A. In a very general, broad sense,           3       Q. Were you aware that the DEA had
     4   yes.                                             4   locked the building based on its conclusions
     5       Q. Yes, sir.                                 5   that Walgreens continually violated its
     6            And when we were looking at the         6   obligations under the CSA?
     7   organizational chart earlier in the day, and     7            MR. STOFFELMAYR: Objection to
     8   I asked all of the managers' areas of            8       the form.
     9   expertise -- do you remember that line of        9            Go ahead.
    10   questioning?                                    10            THE WITNESS: Sorry. I was not
    11       A. I do.                                    11       aware until after I was part of
    12       Q. And you said two of them were            12       pharmaceutical integrity team.
    13   pharmacists, correct?                           13   QUESTIONS BY MR. MOUGEY:
    14       A. Yes.                                     14       Q. When you say you were not
    15       Q. And one, I think it was                  15   aware, you were not aware that the DEA locked
    16   Mr. Bratton, was the -- he was kind of the      16   the distribution center in Jupiter, Florida,
    17   database guru, correct?                         17   so Walgreens could not enter?
    18       A. Correct.                                 18            MR. STOFFELMAYR: Objection to
    19       Q. You were the loss prevention             19       the form.
    20   guy, right?                                     20            THE WITNESS: That's correct.
    21       A. I worked in loss prevention. I           21       I was not aware until after I joined
    22   was not the loss prevention guy.                22       the pharmaceutical integrity team.
    23       Q. But despite the geographic               23   QUESTIONS BY MR. MOUGEY:
    24   areas of division of responsibility, your       24       Q. And after you joined the
    25   area of expertise was loss prevention,          25   pharmaceutical integrity treatment discussed

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     1   in this memorandum of agreement as part of       1   Registration."
     2   this substantial fine, what were you told by     2       A. I see it.
     3   Walgreens about the Jupiter center being         3       Q. It's titled "Order to Show
     4   locked by the DEA?                               4   Cause and Immediate Suspension of
     5            MR. STOFFELMAYR: Mr. Stahmann,          5   Registration."
     6       the question is fine. I just want to         6            Do you see that?
     7       caution you, and I don't know if this        7       A. I do.
     8       is the case, but if any of what you          8       Q. And under Notice, "It's hereby
     9       were told you were told by lawyers for       9   given to inform Walgreen Corporation of the
    10       the company or people passing on            10   immediate suspensions of Drug Enforcement
    11       information from lawyers to the             11   Administration certificate of registration,"
    12       company, don't go into that. We can         12   provides a number, "pursuant to US Code,
    13       sort that out.                              13   because such registration constitutes an
    14            Go ahead and answer the                14   imminent danger to the public health and
    15       question with that caveat.                  15   safety."
    16            THE WITNESS: So I was told by          16            Do you see that, sir?
    17       my supervisor why the DEA came and          17       A. I do.
    18       closed down the Jupiter Distribution        18       Q. Were you aware that the DEA had
    19       Center.                                     19   concluded that the Jupiter Distribution
    20   QUESTIONS BY MR. MOUGEY:                        20   Center constituted an imminent danger to
    21       Q. And what was that explanation?           21   public health and safety?
    22       A. That they had some concerns              22       A. At some point in my time with
    23   about our distribution or dispensing of         23   pharmaceutical integrity, yes, I was made
    24   controlled substances.                          24   aware.
    25       Q. And were you told that it was            25       Q. And you understand that as part
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     1   closed down, or were you told that it was put    1   of this order to show cause and immediate
     2   under lock and key by the DEA excluding          2   suspension, that the DEA was suspending the
     3   Walgreens from their own distribution center?    3   Jupiter Distribution Center's license to
     4       A. I don't recall the exact words            4   distribute controlled substances, correct?
     5   that were used.                                  5        A. Yes, I was made aware.
     6       Q. Any description, closed down              6        Q. And under paragraph 1, DEA
     7   versus that it was locked up by the DEA. Was     7   explains that "Walgreens operates more than
     8   anybody -- did anybody explain that to you       8   7,800 Walgreens retail pharmacies in the
     9   from Walgreens?                                  9   United States," correct, sir?
    10            MR. STOFFELMAYR: Objection to          10        A. I don't recall how many at the
    11       the form.                                   11   time. I know we're -- that that number has
    12            THE WITNESS: Again, yeah. No,          12   changed.
    13       I don't remember the specific words         13        Q. Do you understand -- well,
    14       that were used.                             14   let's put it this way. There's several
    15   QUESTIONS BY MR. MOUGEY:                        15   thousand Walgreens across the country,
    16       Q. And I'm not asking you if you            16   correct, sir?
    17   remember the specific words.                    17        A. That is correct.
    18            Did anybody from Walgreens tell        18        Q. Do you understand what the word
    19   you that the Jupiter Distribution Center had    19   "systemic" means?
    20   been locked up by the DEA?                      20        A. I do.
    21       A. Not in so many words, but, yes.          21        Q. What does the word "systemic"
    22       Q. Sir, please turn to page 23, if          22   mean?
    23   you aren't there already.                       23        A. Pertaining to a system.
    24            It's titled "Order to Show             24        Q. Meaning that the entire system
    25   Cause and Immediate Suspension of               25   has problems; it's a systemic problem,
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     1   correct, sir?                                    1   QUESTIONS BY MR. MOUGEY:
     2            MR. STOFFELMAYR: Objection to           2       Q. As part of your job description
     3       the form.                                    3   where you are designing and implementing new
     4            THE WITNESS: According to the           4   policies and procedures to avoid diversion,
     5       definition of systemic, I don't know         5   don't you think it would have been important
     6       if that is what is mentioned here or         6   for you to understand the belief --
     7       the context -- the context of what is        7   understand that DEA believed there were
     8       mentioned here.                              8   systemic shortcomings with Walgreens' system?
     9   QUESTIONS BY MR. MOUGEY:                         9       A. That is valuable information,
    10       Q. Did anyone at Walgreens as part          10   yes.
    11   of the pharmaceutical integrity department      11       Q. If you would, sir, please turn
    12   advise you that there were systemic problems    12   back to page 23 and 24, and let me direct
    13   according to the DEA and with Walgreens'        13   your attention to paragraph 2. "Since at
    14   system?                                         14   least 2009" --
    15       A. No.                                      15            Do you see that, sir?
    16       Q. At any point in time ever in             16       A. I do.
    17   pharmaceutical -- your experience in            17       Q. -- "The State of Florida has
    18   pharmaceutical integrity department, did        18   been the epicenter of a notorious,
    19   anyone advise you the DEA believed there were   19   well-documented epidemic of prescription drug
    20   systemic problems with Walgreens' performance   20   abuse.
    21   and obligations under the CSA?                  21            Yet, sir, you weren't aware of
    22       A. No.                                      22   the epidemic of opiate drug abuse until you
    23       Q. Sir, if you turn to page 11.             23   began in the pharmaceutical integrity
    24            MR. MOUGEY: I'm sorry. I said          24   department, correct, sir?
    25       11, I meant 33. I apologize, page 33.       25       A. That is correct.
                                              Page 203                                            Page 205
     1            MR. STOFFELMAYR: 3 as in the            1       Q. "In July of 2011, the Florida
     2       small numbers in the lower right?            2   Surgeon General declared a public health
     3            MR. MOUGEY: The small numbers,          3   emergency based on the prescription pill
     4       yes.                                         4   epidemic which resulted in an average of
     5   QUESTIONS BY MR. MOUGEY:                         5   seven overdose deaths per day in Florida."
     6       Q. Under paragraph 23, on page 33,           6            Do you see that, sir?
     7   "Voluntarily -- voluntary dispensing             7       A. I do.
     8   restrictions enacted either in anticipation      8       Q. Yet you weren't advised by
     9   of or in reaction to regulatory action do not    9   Walgreens management of the opiate epidemic
    10   indicate to me that respondent and its parent   10   in the State of Florida before you started
    11   company have recognized and adequately          11   the pharmaceutical integrity department,
    12   reformed the systemic shortcomings discussed    12   correct, sir?
    13   herein."                                        13       A. Correct.
    14            Do you see that, sir?                  14       Q. Now, sir, do you have any
    15       A. I do.                                    15   understanding of whether or not there was a
    16       Q. Don't you think that if the DEA          16   problem with pills, Schedule II and III
    17   believed there were systemic shortcomings       17   narcotics, being diverted out of Florida
    18   with Walgreens, that as a manager in the        18   pharmacies into other states?
    19   pharmaceutical integrity department you would   19       A. I am not aware, no, or was not
    20   have been advised of that fact?                 20   aware.
    21            MR. STOFFELMAYR: Objection to          21       Q. Even sitting here today, were
    22       the form.                                   22   you aware that Schedule II and III narcotics
    23            THE WITNESS: I do not know             23   were being diverted from Florida pharmacies
    24       what the DEA was thinking.                  24   into other states?
    25                                                   25            MR. STOFFELMAYR: Objection to

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     1       the form.                                    1   narcotics?
     2            THE WITNESS: Can you define             2             MR. STOFFELMAYR: Objection to
     3       diversion for me, your definition of         3        the form.
     4       diversion?                                   4             THE WITNESS: I personally did
     5   QUESTIONS BY MR. MOUGEY:                         5        not, no.
     6       Q. You want me to define diversion           6   QUESTIONS BY MR. MOUGEY:
     7   for you?                                         7        Q. You never went back and looked
     8       A. Because it can mean so many               8   prior to '13 what Walgreens was doing prior
     9   different things. That's why I'm asking.         9   to the agreed-upon creation of the
    10       Q. Pills that are not ending up in          10   pharmaceutical integrity department?
    11   a legitimate home and out into the stream of    11        A. That was not part of my role,
    12   commerce. Did -- that pills were being          12   so, no, I did not.
    13   diverted from legitimate patients into the      13        Q. Did you ask anybody, Well, what
    14   hands of kids, that were being diverted into    14   were we doing before the pharmaceutical
    15   the hands of drug dealers and making their      15   integrity department was created by agreement
    16   way into other states.                          16   between the DEA and Walgreens?
    17            MR. STOFFELMAYR: Objection to          17        A. I did not.
    18       the form.                                   18        Q. You never went back and looked
    19            THE WITNESS: So are you asking         19   at the systems in place to avoid diversion
    20       me if I was aware that that was             20   prior to you starting in the pharmaceutical
    21       happening?                                  21   integrity department?
    22   QUESTIONS BY MR. MOUGEY:                        22             MR. STOFFELMAYR: Objection to
    23       Q. Yes, sir.                                23        the form.
    24       A. Yes, I was aware that people             24             Go ahead.
    25   were using opioid medications not for their     25             THE WITNESS: That was not part
                                             Page 207                                              Page 209
     1   intended use.                                    1       of my role, no.
     2       Q. And not just for -- not just              2   QUESTIONS BY MR. MOUGEY:
     3   for their intended use, but were you aware       3       Q. Have you ever looked through
     4   that Florida was the epicenter of a notorious    4   this document that I have in front of you and
     5   well-documented epidemic of description drug     5   identified the discussion about the migration
     6   abuse, and those pills were migrating to         6   of pills from Florida pharmacies to other
     7   other states?                                    7   states?
     8       A. I was made aware of that during           8       A. No.
     9   my time in pharmaceutical integrity.             9       Q. Are you aware of how big a
    10       Q. So not until 2013?                       10   problem it was in Florida that pills were
    11       A. Correct.                                 11   migrating from Florida pharmacies to other
    12       Q. And, sir, what were you told by          12   states?
    13   Walgreens about the migration of pills from     13       A. I was not aware of the size of
    14   Florida pharmacies into other states?           14   the problem, no.
    15       A. We were made aware of some of            15       Q. If you would, sir, please turn
    16   the drug-seeking behavior of some of the        16   to page 41, and it says, "Summary of
    17   patients and how -- some of the techniques      17   testimony." It's the Deputy Assistant
    18   that they use to obtain prescriptions not for   18   Administrator, Joseph Rannazzisi, says he's
    19   a legitimate medical purpose and made aware     19   from the DEA.
    20   of some prescribers that were not writing       20             Do you see that, sir?
    21   prescriptions for legitimate medical purpose.   21       A. Yes.
    22       Q. So at that point in time, in             22       Q. And, sir, this is a submission
    23   2013, did you make a study or analyze the       23   from the government's prehearing statement.
    24   systems set in place at Walgreens to minimize   24             Do you see that, sir?
    25   or avoid the diversion of Schedule II and III   25       A. I do.
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     1       Q. And do you know who                      1   rogue pain clinics whose complicit doctors
     2   Mr. Rannazzisi is?                              2   were initially permitted to dispense millions
     3       A. Just according to what he puts           3   of dosage units of oxycodone and other abused
     4   under his title, so I get -- yes.               4   drugs directly from the clinics."
     5       Q. Let's look at the last sentence          5             Did I read that correctly?
     6   of the second paragraph. It says, "Each year    6        A. You did.
     7   roughly 5.1 million people abuse narcotic       7        Q. And Mr. Rannazzisi goes on to
     8   pain relievers in the United States."           8   testify that, "Florida is the epicenter for
     9            Do you see that, sir?                  9   these illegal pain clinics."
    10       A. I do.                                   10             Do you see that, sir?
    11       Q. And, sir, you've heard the              11        A. Yes.
    12   saying that a chain is only as strong as its   12        Q. "DEA state and local law
    13   weakest link, correct, sir?                    13   enforcement investigations reveal that
    14       A. I have heard that.                      14   thousands of drug seekers flocked these
    15       Q. So meaning that if the strength         15   Florida-based pain clinics to obtain their
    16   of the chain is only going to be able to       16   supply of oxycodone."
    17   handle the pressure as the weakest link in     17             Do you see that, sir?
    18   the chain, correct?                            18        A. I do.
    19       A. I have heard that, yes.                 19        Q. And if you go on to the next --
    20       Q. So if there's a hole or a soft          20   sir, turn to page 128.
    21   spot in the Walgreens pharmacies, the          21        A. 128?
    22   diversion efforts are only as good as the      22        Q. 128, which is in Appendix C,
    23   softest or weakest distribution --             23   and this is a summary of the testimony of
    24   pharmacies, correct, sir?                      24   Ms. Langston, diversion program manager in
    25            MR. STOFFELMAYR: Objection to         25   the Miami field division.
                                             Page 211                                             Page 213
     1       form. Foundation.                           1             Do you see that, sir?
     2            THE WITNESS: I don't -- I              2       A. I do.
     3       don't know how you can make that            3       Q. And on the bottom of page 128,
     4       assumption.                                 4   "Ms. Langston will testify to DEA findings
     5   QUESTIONS BY MR. MOUGEY:                        5   that Walgreens 03629 has dispensed controlled
     6       Q. Yes, sir.                                6   substances to customers residing in numerous
     7            Because you think that's a             7   states and commonwealths outside of Florida."
     8   reach? You think that I'm just speculating      8             Do you see that, sir?
     9   that the -- that the pharmacy -- that           9       A. I do.
    10   Walmart -- I'm sorry, Walgreens Pharmacy is    10       Q. "She will testify that
    11   only as strong as its weakest pharmacy?        11   Walgreens 03629's dispensing to out-of-state
    12       A. Yeah, again, I cannot agree to          12   customers is particularly problematic when
    13   that assumption.                               13   one considers information developed by DEA
    14       Q. Yes, sir.                               14   that is a result of long-standing
    15            Am I speculating -- do you            15   prescription monitoring programs in Kentucky
    16   think I'm speculating when I'm making that     16   and Ohio, and with the increased difficulty
    17   statement?                                     17   in obtaining controlled substances from
    18            MR. STOFFELMAYR: Objection to         18   licensed physicians in these jurisdictions,
    19       the form.                                  19   many individuals have found creative ways to
    20            THE WITNESS: I don't know what        20   circumvent state prescription monitoring
    21       you're intending.                          21   programs."
    22   QUESTIONS BY MR. MOUGEY:                       22             Do you see that, sir?
    23       Q. Paragraph, "Beginning in late           23       A. Yes.
    24   2008 and continuing to the present, there's    24       Q. Did you have an understanding
    25   been a significant rise in the number of       25   during your tenure at Walgreens that addicts

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     1   were seeking pills in states that did not       1   QUESTIONS BY MR. MOUGEY:
     2   have monitoring programs mandated by the        2        Q. Yes, sir, I understand that.
     3   states?                                         3             Do you understand, though, sir,
     4        A. Yes.                                    4   that -- that part of the diversion issue in
     5        Q. And they go on in page 129, "As         5   Florida was carloads of addicts traveling to
     6   a result of the restricted access to            6   pharmacies that were dispensing Schedule II
     7   controlled substances in their states, many     7   and Schedule III narcotics?
     8   individuals from Ohio, Kentucky and other       8             MR. STOFFELMAYR: Objection to
     9   states have traveled by the carloads to pain    9        the form.
    10   clinics located in Florida to obtain           10             THE WITNESS: I understand now
    11   prescriptions for oxycodone."                  11        that that was one of the problems,
    12             Do you see that, sir?                12        yes.
    13             MR. STOFFELMAYR: Objection to        13   QUESTIONS BY MR. MOUGEY:
    14        form.                                     14        Q. Yes, sir.
    15             THE WITNESS: I do see that           15             And during your time at
    16        here.                                     16   Walgreens, did you ever perform any analysis
    17   QUESTIONS BY MR. MOUGEY:                       17   to try to identify suspicious orders that
    18        Q. So it's impossible to simply           18   would point to red flags with addicts coming
    19   say, Well, this is a Florida problem,          19   from out of town by the carloads?
    20   confined to Florida, because it was crystal    20        A. I personally did not, no.
    21   clear that pills were migrating to other       21        Q. Do you know of anyone that was
    22   states from the weakest pharmacies, correct,   22   performing any analysis of all of the data
    23   sir?                                           23   maintained by Walgreens to identify
    24             MR. STOFFELMAYR: Objection to        24   suspicious orders from addicts traveling from
    25        the form. Foundation.                     25   foreign states to secure Schedule II and
                                             Page 215                                             Page 217
     1            THE WITNESS: Yeah. I can't             1   Schedule III narcotics in Florida pharmacies?
     2       speculate that or agree with that           2       A. I do not know how the data
     3       statement.                                  3   would be able to identify an addict versus
     4   QUESTIONS BY MR. MOUGEY:                        4   someone who is a snowbird.
     5       Q. You understand that as of                5       Q. Well, wouldn't it be relatively
     6   January 9, 2013, the date of this summary of    6   easy to look at Walgreens' prescription data
     7   testimony, that the DEA was relaying that       7   to identify out of state customers?
     8   they had uncovered evidence that pills were     8       A. It is.
     9   migrating to other states for addicts           9       Q. It would be relatively simple,
    10   traveling by the carloads, correct, sir?       10   wouldn't it?
    11            MR. STOFFELMAYR: Objection to         11       A. It is.
    12       the form.                                  12       Q. It would be relatively simple
    13            THE WITNESS: I do see that,           13   to have a data pull with the ages of those
    14       that that's what they're implying,         14   customers, correct?
    15       yes.                                       15       A. That can be done, yes.
    16   QUESTIONS BY MR. MOUGEY:                       16       Q. And it would also be relatively
    17       Q. And, sir, you understand that           17   simple to pull the doctors that wrote the
    18   that is why the CSA required that due          18   prescriptions for these potential red flags,
    19   diligence was performed on suspicious orders   19   correct, sir?
    20   before they were shipped, correct, sir?        20       A. It is easy to pull prescriber
    21            MR. STOFFELMAYR: Objection to         21   information, yeah.
    22       form. Foundation.                          22       Q. So if you had a number of pill
    23            THE WITNESS: I don't know the         23   seekers coming from a foreign jurisdiction,
    24       definition or interpretation of the        24   they'd have to present their driver's license
    25       regs or the CSA.                           25   at Walgreens, correct, sir?
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     1        A. They do now, yes.                        1       we put the burden on them. We provide
     2        Q. And they would have to present           2       them with tools and resources that
     3   a prescription, correct, sir?                    3       they can use or lean on to use their
     4        A. They do, yes.                            4       professional judgment to determine if
     5        Q. And so a simple data pull for            5       red flags are resolvable.
     6   pill seekers with out-of-state licenses          6            And if the red flags are not
     7   issued by physicians within, say, 30 miles of    7       resolvable, they have the right to
     8   a Walgreens might be a red flag of a             8       refuse the prescription based on
     9   suspicious order, right?                         9       information provided by the prescriber
    10             MR. STOFFELMAYR: Objection to         10       and/or patient.
    11        the form. Foundation.                      11   QUESTIONS BY MR. MOUGEY:
    12             THE WITNESS: It could be a            12       Q. Was there a hotline available
    13        potential red flag. Not every one of       13   for pharmacists to call that they could
    14        those instances or situations they         14   anonymously report their concerns about
    15        describe would automatically indicate      15   walking to the car at the end of the night?
    16        a drug seeker.                             16       A. Yes, I believe there was.
    17   QUESTIONS BY MR. MOUGEY:                        17       Q. "This trouble" -- and I go on
    18        Q. Exactly.                                18   in this paragraph. "This troublesome" --
    19             And that's the point of a red         19   and, sir, when was that hotline created?
    20   flag, right? A red flag is a place to look      20       A. I do not know.
    21   to see if there's a potential problem, right?   21       Q. Was it created before the
    22             MR. STOFFELMAYR: Objection to         22   pharmaceutical integrity department was
    23        the form.                                  23   agreed to be created from the DEA and
    24             THE WITNESS: A red flag is            24   Walgreens?
    25        something that would indicate special      25       A. I don't know when that hotline
                                              Page 219                                             Page 221
     1        attention, yes.                             1   was created.
     2   QUESTIONS BY MR. MOUGEY:                         2        Q. "This troublesome trend is
     3        Q. Yes, sir.                                3   particularly acute in the Appalachian region
     4              And your pharmacists are a            4   where individuals return to the region with
     5   combination of men, women, varying ages,         5   drugs dispensed or prescribed by physicians
     6   correct?                                         6   working at Florida clinics."
     7        A. I would assume so, yes.                  7            Did I read that accurately,
     8        Q. And you can understand that a            8   sir?
     9   pharmacist that's issuing a prescription to a    9        A. Yes.
    10   pill seeker who is concerned with his or her    10        Q. "Because of the easy
    11   safety -- that might impact her decision        11   availability of drugs from these cash-only
    12   whether or not to fill that prescription,       12   clinics, drug-seeking individuals in the
    13   correct?                                        13   Appalachian region have obtained these drugs
    14        A. I can't speak on behalf of what         14   and abuse or sell them on the streets to --
    15   a pharmacist would do during their roles as a   15   both to support drug habits and finance later
    16   pharmacist.                                     16   car trips to Florida."
    17        Q. But that's part of your job,            17            Do you see that, sir?
    18   isn't it, is -- putting together policies and   18        A. I do.
    19   procedures, you don't put the burden on a       19        Q. "The financing of these trips
    20   115, 120-pound female or male working behind    20   include the costs charged by the clinics for
    21   the counter to not issue the prescription to    21   doctor visits and for drugs dispensed by the
    22   the -- to the pill seeker, correct?             22   clinics."
    23              MR. STOFFELMAYR: Objection to        23            Do you see that, sir?
    24        the form.                                  24        A. I do.
    25              THE WITNESS: I don't believe         25        Q. Do you have any idea how much
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     1   revenue some of these doctor shopping groups     1            Do you see that, sir?
     2   were -- were generating on an annual basis?      2        A. I do.
     3        A. No idea.                                 3        Q. So the total outlay is $520,
     4        Q. No idea.                                 4   correct, according to the Sarasota Sheriff's
     5            (Walgreens-Stahmann Exhibit 7           5   Office, correct?
     6        marked for identification.)                 6        A. Yes. If they supplied that
     7   QUESTIONS BY MR. MOUGEY:                         7   information, then, yes.
     8        Q. Hand you what I've marked as             8        Q. Yes, sir.
     9   Stahmann 7.                                      9            And the price of 30-milligram
    10        A. 7?                                      10   OxyContin on the street is about $15 a pill.
    11        Q. Stahmann 7.                             11            Do you see that, sir?
    12            Do me a favor, don't put away          12        A. I do.
    13   the Stahmann 6. Just keep it in front of        13        Q. Times 180 pills, it's $2,700,
    14   you.                                            14   correct?
    15            Stahmann 7, just look at the           15        A. Sounds about right, yes.
    16   first page, and you recognize the names of      16        Q. And then profit is $2,100 a
    17   the e-mails on this first page as Walgreens     17   month, correct?
    18   employees, correct, sir?                        18        A. I do see that.
    19        A. Yes.                                    19        Q. Now -- and it says there's
    20        Q. Markets 3 and 28, what does             20   more. Do you see that on the bottom?
    21   that reference, sir? Do you see that at the     21        A. I do.
    22   top of the page?                                22        Q. Flip to the next page. You see
    23        A. Those are -- markets are                23   at the bottom where it says -- and I'm on
    24   individual -- are identified by individual      24   Bates number 997.
    25   numbers stating where in the region of the      25            At the bottom it says, "This is
                                             Page 223                                               Page 225
     1   country they are.                                1   big business."
     2       Q. Do you know where those are off           2            Do you see that, sir?
     3   the top of your head, markets 3 and 28?          3       A. I do see that.
     4       A. Not off the top of my head.               4       Q. And it says, "How much money is
     5       Q. Okay. And if you would turn to            5   in doctor shopping?"
     6   the second page, it says, "Market 3, pharmacy    6            And the monthly profit we just
     7   meeting."                                        7   pulled from the previous page, $2,180,
     8       A. I do see that.                            8   correct?
     9       Q. On the bottom right-hand corner           9       A. I do see that.
    10   of this document are WAG, and then there's a    10       Q. And if there's a 21-person
    11   series of numbers, if you could turn to 996.    11   shopping ring, that's $21,800 a month,
    12   And you see there's a badge in the left-hand    12   correct?
    13   corner of Bates numbered 996 that says          13       A. A 10-person shopping ring, yes.
    14   "Sheriff's Office, Sarasota County."            14       Q. Yes, sir.
    15            Do you see that?                       15            Or 10 times 2,180 for $21,800,
    16       A. I do see that.                           16   correct?
    17       Q. It says, "How much money is in           17       A. Yes.
    18   doctor shopping?"                               18       Q. And you go to four doctor
    19            Do you see that, sir?                  19   offices per month, that's $87,200, correct?
    20       A. I do.                                    20       A. That's what it says.
    21       Q. And it says, "Office visit, the          21       Q. That's just one a week, right?
    22   cost is $250," right?                           22   Just one a week per person amounts to $87,200
    23       A. According to this, yes.                  23   for a 10-person ring, correct?
    24       Q. "Pills received, 180, cost at            24       A. That's what it states, yes.
    25   pharmacy, $270."                                25       Q. Times 12 months is $1,046,400,

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     1   correct?                                         1   QUESTIONS BY MR. MOUGEY:
     2        A. That's what it states, yes.              2       Q. Yes, sir.
     3        Q. Did anybody at Walgreens ever            3            And in all of your time with
     4   come to you and give you a similar               4   the monitoring diversion for Walgreens, were
     5   explanation about doctor shopping being big      5   you ever specifically tasked to identify
     6   business?                                        6   suspicious orders from patients from out of
     7        A. Ever? Yes. Someone -- not in             7   state?
     8   these terms, but, yes, I was made aware that     8       A. You said suspicious orders, so,
     9   doctor shopping is -- is big business.           9   no --
    10        Q. After the pharmaceutical                10       Q. No, fair enough. You're right.
    11   integrity department was created by agreement   11   Let me do it another way.
    12   from the DEA and Walgreens in the 2013 MOA,     12            During all of your time with
    13   correct?                                        13   monitoring diversion for Walgreens, were you
    14        A. Correct.                                14   ever -- were you ever specifically tasked to
    15        Q. Now, let's go back to Stahmann          15   identify patients with suspicious
    16   6 --                                            16   prescriptions from out-of-state residents?
    17              MR. STOFFELMAYR: I don't know        17       A. I was not.
    18        if it's your accent, but it's              18       Q. And if you look at page 135,
    19        Stahmann, not straw man.                   19   "Division Investigator Peter Flagg's proposed
    20              MR. MOUGEY: Thank you. I have        20   testimony," that on the last paragraph of
    21        an accent?                                 21   page 135, he relays that "Walgreens 03629
    22              MR. STOFFELMAYR: I didn't            22   dispensed to customers who resided in 26
    23        notice, but she told me.                   23   states and our commonwealths including the
    24   QUESTIONS BY MR. MOUGEY:                        24   Appalachian regions of Kentucky, Ohio and
    25        Q. Sir, if you turn to page 130,           25   Tennessee."
                                              Page 227                                             Page 229
     1   Mr. Stahmann.                                    1             Do you see that, sir?
     2        A. I'm sorry, you said 130?                 2      A.       I do.
     3        Q. Yes, sir.                                3             MR. STOFFELMAYR: When you get
     4             And under 3, "DEA Task Force           4       to a good point, I need a break.
     5   Officer Janet Pascalli proposed testimony."      5             MR. MOUGEY: Sure. I think
     6             Do you see that that, sir?             6       it's a good point.
     7        A. I do.                                    7             MR. STOFFELMAYR: Okay.
     8        Q. And as you go into the next              8             VIDEOGRAPHER: We're going off
     9   page, it says, "Walgreens 03629, because of      9       the record at 2:03.
    10   the ease with which they could get              10        (Off the record at 2:03 p.m.)
    11   combination controlled substance                11             VIDEOGRAPHER: We're back on
    12   prescriptions filled, she will further          12       the record at 2:17.
    13   testify that PCSO received additional           13   QUESTIONS BY MR. MOUGEY:
    14   information that Walgreens 03629 became a       14       Q. Mr. Stahmann, when you
    15   favorite location with traffickers of           15   transitioned to your new role with the
    16   prescription drugs, and some of these           16   pharmaceutical integrity department, did you
    17   individuals would travel great distances to     17   take that opportunity to go meet with anyone
    18   fill questionable prescriptions, primarily      18   at Walgreens who had been performing due
    19   for oxycodone."                                 19   diligence on suspicious orders in the past?
    20             Do you see that, sir?                 20       A. No.
    21             MR. STOFFELMAYR: Objection to         21       Q. So you testified earlier that
    22        the form.                                  22   you believe the distribution centers possibly
    23             THE WITNESS: I do see that            23   were performing due diligence on suspicious
    24        written here, yes.                         24   orders.
    25                                                   25             I take it you didn't go and

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     1   talk to anyone in the distribution centers?       1   suspicious reports?
     2       A. Correct.                                   2       A. No.
     3       Q. Did you ask anyone at Walgreens            3       Q. Have you seen any evidence
     4   to pull all of the historical due diligence       4   whatsoever that there was any due diligence
     5   files on suspicious reports so you could          5   performed on any suspicious reports prior to
     6   analyze those?                                    6   the pharmaceutical integrity team department
     7       A. No.                                        7   being created?
     8       Q. Is there someone that you are              8       A. I personally did not.
     9   aware of at Walgreens that you could go to        9       Q. Did you see any assimilation or
    10   and say, "Would you help me gather all of        10   tables or spreadsheets of any evidence that
    11   these due diligence files and that will give     11   any due diligence had been done on any
    12   us some direction on how to do a better job      12   suspicious reports prior to Walgreens and the
    13   going forward?"                                  13   DEA agreeing that a pharmaceutical integrity
    14       A. Not one particular point of               14   department would be created?
    15   contact. It would probably have to be a          15            MR. STOFFELMAYR: Objection to
    16   collaborative effort.                            16       the form.
    17       Q. All right. And who would                  17            THE WITNESS: I personally did
    18   those -- that group of people be that would      18       not see any reports, but I do not
    19   be a collaborative effort?                       19       know -- I'm not saying they couldn't
    20       A. So I would probably reach out             20       have been taking place.
    21   to the loss prevention, asset protection         21   QUESTIONS BY MR. MOUGEY:
    22   department. Probably reach out to the            22       Q. Did you hear anyone discussing
    23   individual SAIL coordinators for the             23   an accumulation of any due diligence on
    24   distribution centers as well as legal -- our     24   suspicious order reports once the
    25   legal team as well.                              25   pharmaceutical integrity department was
                                               Page 231                                             Page 233
     1       Q. Now, was your legal team                   1   created by agreement with the DEA and
     2   involved in the compliance for suspicious         2   Walgreens?
     3   orders?                                           3        A. I do not.
     4            MR. STOFFELMAYR: Just answer             4        Q. Now, you mentioned kind of a --
     5       that question yes or no.                      5   I think you said an accumulation of three
     6            THE WITNESS: Yes.                        6   different groups that you put together to try
     7   QUESTIONS BY MR. MOUGEY:                          7   to gather that information on suspicious --
     8       Q. And so they fill the compliance            8   on due diligence on suspicious orders,
     9   function at Walgreens with ensuring that the      9   correct?
    10   specific code regulations were followed by       10              MR. STOFFELMAYR: Objection to
    11   Walgreens?                                       11        form.
    12       A. Yes.                                      12              THE WITNESS: I did mention
    13       Q. Do you know if anyone in the              13        three departments that I would
    14   pharmaceutical integrity department went and     14        personally reach out to, but I don't
    15   interviewed those responsible for performing     15        know if that would be an all-inclusive
    16   due diligence on suspicious reports and          16        list.
    17   gathered that information for the                17   QUESTIONS BY MR. MOUGEY:
    18   pharmaceutical integrity department?             18        Q. But one of those departments
    19       A. I am not aware of anybody from            19   was the loss prevention department, correct?
    20   pharmaceutical integrity that interviewed        20        A. Correct.
    21   anybody.                                         21        Q. And that's you, isn't it?
    22       Q. Did you see any evidence when             22              MR. STOFFELMAYR: Objection to
    23   you transitioned to pharmaceutical integrity     23        form.
    24   department that anyone had gathered prior        24              THE WITNESS: That is not me,
    25   reports or data that had been performed on       25        no.
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     1   QUESTIONS BY MR. MOUGEY:                          1       A. I cannot.
     2       Q. That was the department you                2       Q. Can you point me to anyone
     3   came from, right?                                 3   specifically in the -- I can't read my own
     4       A. I was part of that department              4   writing -- the SAIL?
     5   at one time, yes.                                 5       A. It's a -- yeah, SAIL
     6       Q. Yes, sir.                                  6   coordinator. It's an acronym.
     7            But before the pharmaceutical            7       Q. A SAIL coordinator.
     8   integrity department, you were with loss          8            Can you point me to anyone in
     9   prevention, correct?                              9   that group or department that had done any
    10       A. I was, yes.                               10   due diligence work on suspicious orders?
    11       Q. For six years, right?                     11       A. Not to my knowledge, no.
    12       A. Approximately, yes.                       12       Q. Can you point me to anyone on
    13       Q. Would you consider yourself to            13   the legal team in their compliance function
    14   be fairly attuned with the inner working of      14   that had done any work on suspicious
    15   the loss prevention department?                  15   orders -- on the due diligence for suspicious
    16       A. Yes.                                      16   orders?
    17       Q. I mean, you were promoted out             17       A. Not to my knowledge.
    18   of loss prevention into pharmaceutical           18            MR. STOFFELMAYR: Just slow
    19   integrity, correct?                              19       down a little bit, give me a second.
    20       A. Correct.                                  20       Sorry it doesn't happen, but every
    21       Q. Your scope of responsibility              21       time he says "legal," my antenna goes
    22   increased in the pharmaceutical integrity        22       up, so I just want to make sure I have
    23   department, correct?                             23       a chance.
    24       A. Different scope, but, yes.                24   QUESTIONS BY MR. MOUGEY:
    25       Q. Yes, sir.                                 25       Q. I think it's -- Stahmann 6, the
                                               Page 235                                              Page 237
     1            And your pay increased at that           1   bound report. Okay. Stahmann 6, would you
     2   point, correct?                                   2   mind going to page 24, sir? And we're back
     3       A. Correct.                                   3   in Exhibit B.
     4       Q. And so you were clearly well               4            Okay. Paragraph 4 on
     5   thought of within loss prevention, correct?       5   page number 24.
     6       A. I can't say what other people              6            Do you see that, sir?
     7   think of me. I have no idea what --               7       A. I do.
     8       Q. You had positive annual                    8       Q. "Since 2009 Walgreens' Jupiter,
     9   reviews, did you not?                             9   Florida, distribution center has been the
    10       A. I did.                                    10   single largest distributor of oxycodone
    11       Q. And those were positive,                  11   products in Florida."
    12   correct?                                         12            Do you see that, sir?
    13       A. They were.                                13       A. I do see that.
    14       Q. And you were well-informed                14       Q. "At about the same time, the
    15   about the inner workings of your loss            15   abuse of -- abuse of prescription drugs
    16   prevention department, correct?                  16   became an epidemic in Florida, Walgreens
    17       A. From my perspective, yes.                 17   Florida retail pharmacies supplied by
    18       Q. Yes, sir.                                 18   Respondent commanded an increasingly large
    19            And you kept apprised of the --         19   percentage of the state's growing oxycodone
    20   kind of the different scope or areas of          20   business," correct, sir?
    21   responsibility in loss prevention, correct?      21            MR. STOFFELMAYR: Objection to
    22       A. Correct.                                  22       the form.
    23       Q. Can you point me to anyone                23            THE WITNESS: I see that that
    24   within loss prevention that had done any work    24       is what is written here, but I'm not
    25   on due diligence for suspicious orders?          25       agreeing with that statement.
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     1   QUESTIONS BY MR. MOUGEY:                         1   So the field leadership in Florida for --
     2       Q. Do you agree with -- you don't            2   speaking directly or specifically about
     3   agree with those first three sentences in        3   Florida.
     4   paragraph 4?                                     4        Q. Who specifically would that be
     5       A. I'm reading them. Yeah, I                 5   in field leadership?
     6   cannot say that I agree with them because I      6        A. So there are loss prevention
     7   don't have the data behind it to back that       7   managers and loss prevention directors who
     8   up.                                              8   oversee loss prevention responsibilities in
     9       Q. You've been sitting here today,           9   those markets or areas.
    10   you've never looked to see where the holes      10        Q. All right. And who -- so that
    11   were in possible diversion areas in Florida     11   would be two different people?
    12   in the Walgreens pharmacies?                    12        A. It could be two different
    13            MR. STOFFELMAYR: Objection to          13   people, yes.
    14       form.                                       14        Q. Okay. And you're saying that
    15            THE WITNESS: Again, we're              15   it would be important for us to talk to those
    16       diversion, so with my role in loss          16   people because they might have information
    17       prevention, I did not look at               17   about the due diligence performed on
    18       diversion outside of employee               18   suspicious orders?
    19       pilferage.                                  19             MR. STOFFELMAYR: Objection to
    20   QUESTIONS BY MR. MOUGEY:                        20        form. Foundation.
    21       Q. Well, I'm a little confused, so          21             THE WITNESS: I don't know what
    22   I need your help.                               22        information that they would have, but
    23            So you were with loss                  23        it would be good to get their insight
    24   prevention for about six years, right?          24        of things that are happening on the
    25       A. Yes.                                     25        ground versus what we know at
                                              Page 239                                             Page 241
     1       Q. And I just asked you about who            1       corporate.
     2   you would talk to about going and pulling        2   QUESTIONS BY MR. MOUGEY:
     3   historical due diligence files for suspicious    3       Q. Now, how many of those -- what
     4   reports, and one of three groups you gave me     4   would you call them, field what?
     5   was loss prevention, right?                      5       A. They're field leaders, so at
     6       A. Yes.                                      6   the time they're loss prevention managers and
     7       Q. And -- but yet when I asked you           7   loss prevention directors; now they're asset
     8   about did you have this backup data, you         8   protection managers and asset protection
     9   said, "Well, I was with loss prevention,"        9   managers.
    10   correct?                                        10       Q. Okay. So -- and this is a dumb
    11            MR. STOFFELMAYR: Objection to          11   way to say it, but how many fields are there?
    12       form.                                       12            How many of those people are
    13   QUESTIONS BY MR. MOUGEY:                        13   there around the country?
    14       Q. Correct?                                 14       A. I don't know offhand. I don't
    15       A. I was with loss prevention,              15   know the number.
    16   yes.                                            16       Q. Just schwag it for me. Are
    17       Q. Okay. Well, who in loss                  17   there five? Are there 20? Are there one for
    18   prevention, what group or department within     18   every state? Are there 50?
    19   loss prevention, would know anything about      19       A. There are multiple --
    20   potential weak links in Walgreens' pharmacy     20            MR. STOFFELMAYR: If you know
    21   system in the State of Florida?                 21       what the word "schwag" means.
    22       A. I can't speak to who, but I              22            THE WITNESS: I don't know the
    23   would -- would have to lead to or -- it would   23       exact number. They're in the -- I
    24   mostly be the field leadership or the           24       know we have more than 50 markets, 54
    25   leadership in the loss prevention department.   25       markets, so one person per market for
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     1       a manager --                                 1   stores.
     2   QUESTIONS BY MR. MOUGEY:                         2        Q. So when you say "a movement
     3       Q. Maybe two?                                3   report," how often is a movement report?
     4       A. Yeah.                                     4        A. They can be pulled at any
     5       Q. So you're talking maybe 50, 75,           5   specific time. It can be for that day. It
     6   even possibly a hundred people that may have     6   could be for the past hour. It could be --
     7   specific information about suspicious orders     7   it's similar to those 15-week -- or 13-week
     8   and the due diligence provided or performed      8   and 52-week movement reports.
     9   on those orders, right?                          9        Q. Okay. So that's -- assuming 52
    10       A. They would possibly have some            10   weeks obviously is a year.
    11   knowledge, yes.                                 11             Is that as far as back as you
    12       Q. And it would be your                     12   can go running a report?
    13   recommendation that we should probably talk     13        A. No.
    14   to them to -- to find out how -- what kind of   14        Q. So how far back can you go
    15   information they had on due diligence on        15   running a report?
    16   suspicious orders, right?                       16        A. As far back as our electronic
    17            MR. STOFFELMAYR: Objection to          17   data warehouse stores that information.
    18       form. Lack of foundation.                   18        Q. And do you know how far that
    19            THE WITNESS: It would be my            19   is?
    20       personal recommendation.                    20        A. I don't. I know there's a
    21   QUESTIONS BY MR. MOUGEY:                        21   legal requirement of how long that data is
    22       Q. All right. I'm still on                  22   supposed to be maintained, but I don't recall
    23   paragraph 4, second sentence, "At about the     23   how long that is.
    24   same time as the abuse of prescription drugs    24        Q. All right. And were you
    25   became an epidemic in Florida, Walgreens'       25   running month-to-month, year-to-year reports
                                              Page 243                                             Page 245
     1   Florida retail pharmacies supplied by            1   to see trends around the country?
     2   Respondent commanded an increasingly large       2        A. I personally was not, no.
     3   percentage of the state's growing oxycodone      3        Q. Was anyone that you're aware of
     4   business."                                       4   running month-to-month, year-to-year reports
     5            All right. Went through that            5   to see trends around the country?
     6   sentence before.                                 6        A. During my time in loss
     7            The next sentence, "In 2010,            7   prevention, no.
     8   only three Walgreens retail pharmacies were      8        Q. You weren't -- were you aware
     9   in the top hundred purchasers of oxycodone       9   of anyone within Walgreens tracking or
    10   within Florida. In 2011, 38 Walgreens           10   monitoring month-to-month or year-to-year
    11   pharmacies made the top 100 and six were in     11   trends for Schedule II and Schedule III?
    12   the top ten."                                   12        A. I am not aware, no.
    13            Do you see that, sir?                  13        Q. So while you're saying the data
    14       A. I do.                                    14   is there, there was no automated report that
    15       Q. Now, any of the metrics or               15   would spot or red flag about rapidly
    16   reports that you were running during your       16   increasing trends in specific areas or
    17   tenure at Walgreens in 2010, in 2011, would     17   regions?
    18   you have spotted the rapid increase in          18             MR. STOFFELMAYR: Objection to
    19   oxycodone prescriptions from Walgreens          19        the form. Foundation.
    20   pharmacies in any of those reports?             20             THE WITNESS: So I am aware
    21       A. Yes.                                     21        there that are reports that flagged
    22       Q. And which reports are those?             22        orders because we did have an order
    23       A. Any type of movement report or           23        monitoring system in place, but I
    24   sales report or reports that documented         24        don't -- and those reports were
    25   receipts of shipments being delivered to        25        automatically generated, but I don't
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     1       know who was reviewing those.                1   QUESTIONS BY MR. MOUGEY:
     2   QUESTIONS BY MR. MOUGEY:                         2       Q. Sir, if you turn to page 25,
     3       Q. Those are the ones, excuse me,            3   the next page of this document, paragraph 7,
     4   that you were burning off on a CD and mailing    4   that begins with, "DEA's investigation of
     5   to the distribution centers and the DEA?         5   Respondent also revealed that Walgreens
     6       A. Those were some of the reports,           6   failed to detect and report suspicious orders
     7   correct, yes.                                    7   by its pharmacy customers -- customers in
     8       Q. But you don't know if anybody             8   violation of 21 CFR Section 1301.74B."
     9   was reviewing those, correct?                    9            Do you see that, sir?
    10       A. Correct.                                 10       A. I do.
    11       Q. The last sentence of                     11       Q. And you see that the rest of
    12   paragraph 4 says, "Through May 2012, 44         12   that paragraph cites to the requirement that
    13   Walgreens pharmacies earned the top 100         13   Walgreens design and operate a system to
    14   oxycodone purchasers, all of them supplied by   14   disclose the suspicious orders, right, sir?
    15   Respondent."                                    15       A. I do see that.
    16            Do you see that, sir?                  16       Q. And you see that it cites back
    17       A. I do.                                    17   to a Southwood Pharmacy case as the source
    18       Q. Were you aware at this point in          18   for that requirement, correct, sir?
    19   time in 2012 that 44 of the 100 pharmacy --     19            MR. STOFFELMAYR: Objection to
    20   top 100 pharmacies in the State of Florida      20       the form.
    21   for oxycodone were Walgreens?                   21            THE WITNESS: I see that
    22       A. Not at that time, no.                    22       written here. I don't know the
    23       Q. Did you become aware of that at          23       details behind that.
    24   a later point in time?                          24   QUESTIONS BY MR. MOUGEY:
    25       A. Yes.                                     25       Q. Now, sir, the suspicious order
                                              Page 247                                             Page 249
     1       Q. Did you contact -- now, we went           1   reports that you said that you were burning
     2   through all of the folks you could have          2   onto CDs and sending out, are you aware of
     3   communicated with before.                        3   whether or not those orders were shipped or
     4            Did you call the field division         4   held by Walgreens?
     5   and contact anyone in the field division         5        A. I am not aware if they were
     6   about what had caused the rapid increase in      6   shipped or if any particular order was
     7   '11 and '12?                                     7   stopped.
     8       A. Well, I am or was or am aware             8        Q. Because you would agree with
     9   of what may have caused that. The pain           9   me, sir, based on the criteria that we've
    10   clinics closed down due to state law in         10   reviewed today, the regulations we've
    11   Florida that prohibited clinics from            11   reviewed today, that if Walgreens were to
    12   dispensing oxycodone in their clinics. So       12   have shipped those suspicious orders without
    13   the business went to -- potentially could       13   performing any due diligence, that would be a
    14   have went to other pharmacies.                  14   violation of the applicable regs, correct,
    15       Q. Right.                                   15   sir?
    16            And that was a -- that was a           16             MR. STOFFELMAYR: Objection to
    17   well-known fact that the pill mills -- the      17        the form. Lack of foundation.
    18   dispensing side had been shut down in efforts   18             THE WITNESS: Can you point me
    19   by regulators, correct?                         19        to where you're referring back to that
    20            MR. STOFFELMAYR: Objection to          20        in the document, please?
    21       the form.                                   21   QUESTIONS BY MR. MOUGEY:
    22            THE WITNESS: I don't know if           22        Q. The due diligence requirements
    23       that was in response to the regulation      23   that we went through earlier in the DEA
    24       or why those pill mills were closed         24   letters, that due diligence be performed --
    25       down.                                       25   remember on the Masters case we went through

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     1   earlier and looked at the shipping               1   conclusion to that statement is: If
     2   requirement, that you either not ship or you     2   Walgreens shipped suspicious orders without
     3   ship, two choices, when there's a suspicious     3   performing due diligence, that would violate
     4   order?                                           4   the applicable regs, correct, sir?
     5            Remember that, sir?                     5            MR. STOFFELMAYR: Objection to
     6       A. I do remember that document.              6       the form. Lack of foundation.
     7       Q. And that ship or not ship, and            7            THE WITNESS: I can't speak to
     8   the only way to ship is to perform due           8       the regs and if Walgreens was in
     9   diligence on those suspicious orders that        9       compliance with the regs.
    10   were flagged, right?                            10   QUESTIONS BY MR. MOUGEY:
    11            MR. STOFFELMAYR: Objection to          11       Q. Well, you understand that in
    12       the form. Lack of foundation.               12   your job as managing diversion, you have to
    13            THE WITNESS: Yeah, that's what         13   understand industry standards, correct?
    14       you're stating to me, but I don't know      14            MR. STOFFELMAYR: Objection to
    15       if that's -- if you can point me back       15       the form.
    16       to that reg, I can take a look, but I       16            THE WITNESS: I was not a
    17       don't know if that was a true               17       manager of diversion.
    18       statement.                                  18   QUESTIONS BY MR. MOUGEY:
    19   QUESTIONS BY MR. MOUGEY:                        19       Q. You understand, sir, that in
    20       Q. You don't know if what I just            20   your role, managerial role, at Walgreens,
    21   said was a true statement?                      21   which the scope of your responsibility was
    22       A. Yeah, if you can please point            22   diversion, that there are industry standards,
    23   me back to that reg, I can take a look.         23   correct?
    24       Q. Well, now, you've been now in            24            MR. STOFFELMAYR: Objection to
    25   pharmaceutical integrity for -- since 2013.     25       the form.
                                              Page 251                                             Page 253
     1   That's five years. You were in charge of         1             THE WITNESS: I am aware that
     2   diversion and loss prevention for another six    2        there are industry standards, yes.
     3   years. So, I mean, what are we talking here?     3   QUESTIONS BY MR. MOUGEY:
     4   We're talking -- the math, we're talking 10,     4        Q. Yes, sir.
     5   11 years, a good part of that, is when           5             And are you aware that pursuant
     6   Walgreens was distributing Schedule II and       6   to industry standards, that Walgreens was
     7   Schedule III.                                    7   required to perform due diligence on
     8            You're not aware of whether or          8   suspicious orders before they shipped?
     9   not Walgreens was required to perform due        9        A. I am aware of that now, yes.
    10   diligence before it shipped?                    10        Q. And you understand that if
    11            THE WITNESS: I --                      11   Walgreens did not perform due diligence on
    12            MR. STOFFELMAYR: Excuse me.            12   the suspicious orders, that it would violate
    13       Objection to the form. Lack of              13   those industry standards, correct?
    14       foundation and the paragraph-long           14             MR. STOFFELMAYR: Objection to
    15       windup.                                     15        the form. Foundation.
    16            THE WITNESS: I am aware now            16             THE WITNESS: Only if Walgreens
    17       that it was part of our requirement,        17        did not perform due diligence. I
    18       but not during when I was in loss           18        don't know if due diligence was being
    19       prevention.                                 19        performed.
    20   QUESTIONS BY MR. MOUGEY:                        20   QUESTIONS BY MR. MOUGEY:
    21       Q. Great, so we don't need to go            21        Q. So the answer to my question
    22   back and look at that reg.                      22   is, yes, if Walgreens did not perform due
    23            You know that Walgreens was            23   diligence on suspicious orders and shipped
    24   required to perform due diligence before it     24   them regardless, that would violate the
    25   shipped suspicious orders. So the logical       25   applicable industry standards, correct, sir?
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                                              Page 254                                             Page 256
     1            MR. STOFFELMAYR: Objection to           1   roadmap for you when you began as manager of
     2       the form. Foundation.                        2   the pharmaceutical integrity department in
     3            THE WITNESS: If, yes.                   3   2013, correct?
     4   QUESTIONS BY MR. MOUGEY:                         4            MR. STOFFELMAYR: Objection to
     5       Q. Let's go back to the beginning            5       the form.
     6   of this document. Page 2 under "Stipulation      6            THE WITNESS: It was not.
     7   and Agreement."                                  7   QUESTIONS BY MR. MOUGEY:
     8            And you understand what                 8       Q. It was not a good roadmap?
     9   stipulation and agreement means, right?          9       A. It was not a roadmap that we
    10       A. Yes.                                     10   used to develop policies and procedures or to
    11       Q. What does stipulation and                11   evolve policies and procedures.
    12   agreement mean to you?                          12       Q. So the DEA had been
    13       A. Stipulation and agreement, the           13   investigating, at least pursuant to the
    14   parties agree to the statements that are        14   agreement that we've seen so far, based on
    15   written in this document.                       15   the order to show cause in San Diego since
    16       Q. Now, if you go to the second             16   2009, and had uncovered numerous weak links
    17   paragraph under "Stipulation and Agreement"     17   in the system, correct, sir?
    18   on page 2, it says "Walgreens acknowledges."    18            MR. STOFFELMAYR: Objection to
    19            Do you see that, sir?                  19       the form.
    20       A. Yes.                                     20            THE WITNESS: I can't agree to
    21       Q. "That suspicious order                   21       that, no.
    22   reporting for distribution to certain           22   QUESTIONS BY MR. MOUGEY:
    23   pharmacies did not meet the standards           23       Q. Sir, we've looked through this
    24   identified by DEA in three letters from DEA's   24   document for the last hour and a half, hour,
    25   Deputy Assistant Administrator, Office of       25   you haven't seen numerous examples of weak
                                              Page 255                                             Page 257
     1   Diversion Control sent to every registered       1   links in Walgreens' distribution and
     2   manufacturer and distributor, including          2   dispensing system?
     3   Walgreens, on September 27, 2006; February 7,    3            MR. STOFFELMAYR: Same
     4   2007; and December 27, 2007."                    4       objection.
     5            Sir, do you agree based on your         5            THE WITNESS: Again, no, I
     6   experience at Walgreens that that is an          6       can't agree to that.
     7   accurate statement?                              7   QUESTIONS BY MR. MOUGEY:
     8            MR. STOFFELMAYR: Objection to           8       Q. You don't -- you haven't seen
     9       the form. Foundation.                        9   any weak links in Walgreens' distrubution
    10            THE WITNESS: I cannot speak to         10   system?
    11       the agreement that was made here. I         11            MR. STOFFELMAYR: Same
    12       was not part of that agreement or part      12       objection.
    13       of that acknowledgement.                    13            THE WITNESS: I don't agree to
    14   QUESTIONS BY MR. MOUGEY:                        14       that term "weak links."
    15       Q. But, sir, you were a manager of          15   QUESTIONS BY MR. MOUGEY:
    16   the pharmaceutical integrity department that    16       Q. You haven't seen any weak links
    17   was created as a result of this agreement,      17   in Walgreens' dispensing practices in this
    18   and it's part of your job to understand the     18   memorandum of agreement?
    19   contents of this agreement, is it not?          19            MR. STOFFELMAYR: Same
    20       A. That is not one of my roles,             20       objection.
    21   no.                                             21            THE WITNESS: I don't agree to
    22       Q. Your role is not to understand           22       that term "weak links."
    23   the -- this is kind of -- let me strike that.   23   QUESTIONS BY MR. MOUGEY:
    24            This is a MOU -- I mean, MOA           24       Q. What about the "weak links" do
    25   that we're walking through now is a good        25   you not like?
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     1      A.     It signifies that there was --         1   dying a year from Schedule II and
     2      Q.     Problems?                              2   Schedule III overdoses?
     3            MR. STOFFELMAYR: Objection to           3        A. Around that time, yes, I was
     4       the form. Let me answer.                     4   aware.
     5            THE WITNESS: It signifies that          5        Q. You understand in about this
     6       there were areas of opportunity or           6   time that Walgreens is dispensing
     7       you're basically saying that Walgreens       7   approximately one out of every six Schedule
     8       was at fault.                                8   II and Schedule III pill across the country,
     9   QUESTIONS BY MR. MOUGEY:                         9   correct, sir?
    10       Q. Areas of opportunity for                 10             MR. STOFFELMAYR: Objection to
    11   Walgreens to do a better job, right?            11        the form.
    12       A. Areas of improvement, yes.               12             THE WITNESS: I don't know
    13       Q. Yes, sir.                                13        exactly what the total is or what the
    14            There were problems in                 14        percentage is.
    15   Walgreens' distribution and dispensing          15   QUESTIONS BY MR. MOUGEY:
    16   practices, correct?                             16        Q. Does one out of six sound out
    17       A. I can't agree to that.                   17   of line?
    18       Q. And this document identifies             18        A. Again, I have no idea what --
    19   numerous areas for Walgreens to do a better     19        Q. Wouldn't that be something
    20   job, right?                                     20   important to know, to go back and figure out
    21       A. It provides guidance, yes.               21   if Walgreens is a material part of the
    22       Q. Yes, sir.                                22   overall distribution and dispensing system in
    23            But the pharmaceutical                 23   the United States?
    24   integrity group did not use this memorandum     24             MR. STOFFELMAYR: Objection to
    25   of agreement as a roadmap to put together       25        the form.
                                              Page 259                                             Page 261
     1   policies and procedures going forward,           1             THE WITNESS: At a certain time
     2   correct?                                         2        Walgreens was in distribution. They
     3       A. Correct, not as a roadmap.                3        are no longer in distribution, but I
     4       Q. On page 2 of this document,               4        can't speak to whether or not it was
     5   "Furthermore, Walgreens acknowledges that        5        important to go back in time.
     6   certain Walgreens retail pharmacies did on       6   QUESTIONS BY MR. MOUGEY:
     7   some occasions dispense controlled substances    7        Q. And why is it that Walgreens is
     8   in a manner not fully consistent with its        8   no longer in the distribution system after --
     9   compliance obligations under the CSA."           9   distribution business after the Jupiter store
    10            Correct, sir?                          10   was padlocked by the DEA?
    11       A. I do see that.                           11             MR. STOFFELMAYR: Objection to
    12       Q. Is that an accurate statement?           12        the form. Foundation.
    13            MR. STOFFELMAYR: Objection to          13             THE WITNESS: I don't know
    14       the form. Foundation.                       14        what -- why that decision was made by
    15            THE WITNESS: I don't know if           15        Walgreens.
    16       that's an accurate statement or not.        16   QUESTIONS BY MR. MOUGEY:
    17   QUESTIONS BY MR. MOUGEY:                        17        Q. No one ever communicated to
    18       Q. And when you took over as                18   you?
    19   manager of the pharmaceutical integrity         19        A. No.
    20   department, you didn't go back and ferret out   20        Q. Now, were there any conflicts
    21   whether these were accurate statements or       21   of interest with the pharmacists in refusing
    22   not?                                            22   to fill prescriptions for pill seekers?
    23       A. Correct.                                 23             MR. STOFFELMAYR: Objection to
    24       Q. You knew at this point, sir, in          24        the form.
    25   2013 that approaching 200,000 people were       25             THE WITNESS: When you say
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     1        "conflict of interest," conflict of         1   pharmacists were bonused based on the number
     2        interest with who or what?                  2   of prescriptions they wrote?
     3   QUESTIONS BY MR. MOUGEY:                         3       A. At some point of time, yes.
     4        Q. Conflict -- you understand what          4       Q. And you would understand or
     5   a conflict of interest is, right?                5   agree with me, sir, that that is a conflict
     6        A. I do.                                    6   of interest for a pharmacist when deciding
     7        Q. And it's a -- a conflict of              7   whether or not to fill a Schedule II or III
     8   interest may be a financial conflict of          8   prescription for a pill seeker, correct?
     9   interest, correct?                               9            MR. STOFFELMAYR: Objection to
    10        A. It could be a conflict, but --          10       the form.
    11        Q. Yes, sir.                               11            THE WITNESS: So this policy
    12             Did the pharmacist have a             12       has changed over time, but this is
    13   financial conflict of interest when refusing    13       not -- so currently pharmacists are
    14   to fill prescriptions for Schedule II and III   14       not -- the sales of controlled
    15   narcotics for pill seekers?                     15       substances are not part of a
    16        A. Not that I'm aware of.                  16       pharmacist's bonus.
    17        Q. No one has ever brought that to         17   QUESTIONS BY MR. MOUGEY:
    18   your attention, that there was a potential      18       Q. Yes, sir.
    19   conflict of interest for pharmacists if they    19            And do you know why that policy
    20   refused to fill a prescription for a            20   stopped?
    21   Schedule II or III narcotic for a pill          21       A. I do not.
    22   seeker?                                         22       Q. All right. Without putting 8
    23             MR. STOFFELMAYR: Objection to         23   away, let's go back to the bound 6 and turn
    24        the form.                                  24   to page 12. Now, page 12 is part of the
    25             THE WITNESS: I was not aware.         25   prospective compliance for Walgreens.
                                              Page 263                                              Page 265
     1        It was actually the pharmacist's duty       1           Do you see that on page 11,
     2        to not fill a prescription that             2   sir?
     3        they're not comfortable filling.            3        A. I do see that.
     4   QUESTIONS BY MR. MOUGEY:                         4        Q. Meaning as a result of this
     5        Q. You were not aware that it was           5   substantial fine from the DEA and as a result
     6   the pharmacist's duty not to fill a              6   of these multiple investigations, Walgreens
     7   prescription that they weren't comfortable       7   is agreeing to certain conduct prospectively,
     8   filling?                                         8   going forward.
     9        A. No, I'm sorry, I may have                9             Do you see that, sir?
    10   misspoke. I -- it's only -- it's the            10             MR. STOFFELMAYR: Objection to
    11   pharmacist who can only refuse a prescription   11        the form.
    12   that they're not comfortable filling, so I      12             THE WITNESS: Walgreens was not
    13   was -- I am aware of that.                      13        fined. It was a settlement.
    14        Q. Okay. So were you ever aware            14   QUESTIONS BY MR. MOUGEY:
    15   that there was a financial conflict of          15        Q. Yes, sir.
    16   interest for a pharmacist if they refused to    16             You can tell yourself that.
    17   fill a Schedule II or III narcotic from a       17   It's $80 million, right?
    18   pill seeker?                                    18        A. A settlement.
    19        A. I'm not aware of a financial            19        Q. $80 million that Walgreens paid
    20   conflict of interest.                           20   over a period of several years when you were
    21            (Walgreens-Stahmann Exhibit 8          21   a material participant in the diversion team,
    22        marked for identification.)                22   correct, sir?
    23   QUESTIONS BY MR. MOUGEY:                        23             MR. STOFFELMAYR: Now, you're
    24        Q. I hand you what -- Stahmann 8.          24        just arguing with him. Do you want to
    25            Sir, were you aware that               25        ask a question?
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     1   QUESTIONS BY MR. MOUGEY:                         1       the form.
     2        Q. Sir, please answer my question.          2            THE WITNESS: I was one of many
     3             $80 million that Walgreens paid        3       that had that type of expertise.
     4   over a period -- covering a period of time of    4   QUESTIONS BY MR. MOUGEY:
     5   several years when you were a material           5       Q. You were one of many people
     6   participant in the diversion team, correct,      6   that was the subject matter expert on all
     7   sir?                                             7   systems covering prescription monitoring and
     8             MR. STOFFELMAYR: Objection to          8   processing, DEA requirements, making
     9        the form.                                   9   decisions at Walgreens and the DEA, and
    10             THE WITNESS: Yeah, I don't            10   Walgreens paid an $80 million settlement,
    11        think I would call myself a                11   correct, sir?
    12        material -- a material part of the         12            MR. STOFFELMAYR: Objection to
    13        diversion team.                            13       the form.
    14   QUESTIONS BY MR. MOUGEY:                        14            THE WITNESS: I don't agree
    15        Q. Yes, sir.                               15       with that statement.
    16             But when we looked at this --         16   QUESTIONS BY MR. MOUGEY:
    17   your CV this morning when we first started      17       Q. What part of that statement do
    18   off, under "Project Manager, Pharmacy Loss      18   you not agree with?
    19   Prevention," you used the word "expert" --      19       A. I was not the maker of the DEA
    20   "subject matter expert" on two different        20   requirements or had the ability to make sure
    21   occasions, correct, sir?                        21   Walgreens was following what the DEA
    22        A. Correct.                                22   regulations were, requirements were.
    23        Q. So this $80 million fine was            23       Q. You would agree with me that
    24   paid by Walgreens at a time when you were the   24   Walgreens paid an $80 million settlement
    25   "subject matter expert on all systems,          25   covering a period of time when you were the
                                             Page 267                                             Page 269
     1   applications and initiatives related to          1   subject matter expert on prescription
     2   inventory movement and associated functions      2   monitoring and processing and DEA
     3   that can cause or monitor pharmacy health        3   requirements, correct, sir?
     4   care shrink, examples would include, but are     4             MR. STOFFELMAYR: Objection to
     5   not limited to, point-of-sale systems,           5        the form.
     6   inventory management, cash management,           6             THE WITNESS: I agree, I was
     7   prescription monitoring and processing,          7        one of the many subject matter experts
     8   internal theft, DEA requirements, corporate      8        in loss prevention during that time
     9   programs, regulatory issues, and operation       9        period, yes.
    10   policies," correct, sir?                        10   QUESTIONS BY MR. MOUGEY:
    11            MR. STOFFELMAYR: Objection to          11        Q. So the answer to my question,
    12       the form.                                   12   sir, that Walgreens paid an $80 million
    13            THE WITNESS: Again, you keep           13   settlement covering a period of time when you
    14       using the term "fine." I don't see          14   were the subject matter expert on
    15       anywhere where we were fined. It was        15   prescription monitoring and processing and
    16       a settlement, and I was one of many         16   DEA requirements, the answer to that question
    17       people that had expertise in the loss       17   is yes, correct?
    18       prevention department.                      18             MR. STOFFELMAYR: Objection to
    19   QUESTIONS BY MR. MOUGEY:                        19        the form.
    20       Q. $80 million was paid by                  20             THE WITNESS: I am not agreeing
    21   Walgreens during a period of time that you      21        that I was the subject matter expert.
    22   were the subject matter expert on               22   QUESTIONS BY MR. MOUGEY:
    23   prescription monitoring and processing and      23        Q. You would agree with me that
    24   DEA requirements, correct?                      24   you were a subject matter expert on
    25            MR. STOFFELMAYR: Objection to          25   prescription monitoring and processing and
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     1   DEA requirements at a period in time when        1   during a certain amount of time.
     2   Walgreens agreed to pay an $80 million           2       Q. Yes, sir. And exactly right.
     3   settlement to the DEA, correct, sir?             3   So let me redo that.
     4             MR. STOFFELMAYR: Objection to          4            You would agree with me, sir,
     5        form.                                       5   that Stahmann 8, Bates number 007 and 008,
     6             THE WITNESS: I am agreeing             6   pharmacists at Walgreens were bonused based
     7        that I was a subject matter expert          7   on the amount of prescriptions they filled,
     8        during that time, but I believe             8   correct, sir?
     9        this -- in 2000 -- I believe this           9       A. Total amount of prescriptions
    10        settlement came after I was part of        10   they filled, yes.
    11        loss prevention.                           11       Q. Yes, sir.
    12   QUESTIONS BY MR. MOUGEY:                        12            And you would agree with me
    13        Q. As a matter of months.                  13   that when the pharmacist was making a
    14             But the settlement agreement          14   decision whether or not to fill a
    15   paying -- agreeing to pay $80 million covered   15   prescription of Schedule II and III narcotics
    16   a period of time when you were the subject      16   for a pill seeker, that this was a financial
    17   matter expert on prescription monitoring and    17   conflict of interest?
    18   processing and DEA requirements, correct,       18            MR. STOFFELMAYR: Objection to
    19   sir?                                            19       the form. Foundation.
    20             MR. STOFFELMAYR: Objection to         20            THE WITNESS: I can't speak on
    21        the form.                                  21       behalf of the pharmacists if the
    22             THE WITNESS: I was a subject          22       decision whether or not to fill a
    23        matter expert, one of many, again, in      23       prescription was based off their
    24        part of Walgreens. So the fine did         24       financial conflict of interests.
    25        come out during that time period when      25

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     1       I was a subject matter expert.               1   QUESTIONS BY MR. MOUGEY:
     2   QUESTIONS BY MR. MOUGEY:                         2       Q. And I'm not asking you to
     3       Q. Thank you.                                3   provide testimony based on what pharmacies
     4             And you'll agree with me, sir,         4   thought -- pharmacists thought.
     5   on page 12 of Stahmann 6, that beginning in      5             As the manager of
     6   2014 Walgreens will exclude any accounting       6   pharmaceutical integrity and the project
     7   for controlled substance prescriptions           7   manager, do you believe that it was a
     8   dispensed by a particular pharmacy from bonus    8   conflict of interest for pharmacists to be
     9   computations for pharmacists and pharmacy        9   bonused on the number of scripts they filled
    10   technicians at the pharmacy, correct, sir?      10   for Schedule II and III narcotics?
    11       A. I do see that.                           11             MR. STOFFELMAYR: Objection to
    12       Q. And the document I just put in           12       the form.
    13   front of you, sir, Stahmann 8, is an example    13             THE WITNESS: I can't possibly
    14   of the bonus calculation for pharmacists at     14       be able to validate whether or not
    15   Walgreens, correct, sir?                        15       pharmacists felt filling or refusing
    16       A. I believe that's what it is,             16       prescriptions, if there was any
    17   yes. I don't know if it's the current one --    17       financial motive behind it.
    18   but it is --                                    18   QUESTIONS BY MR. MOUGEY:
    19       Q. It's one of them, correct, sir?          19       Q. Do pharmacists get paid if they
    20       A. It's one of them.                        20   don't fill a Schedule II and III narcotic
    21       Q. And you can see based on Bates           21   prescription?
    22   number WAG08, that pharmacists were bonused     22       A. Yes.
    23   based on the number of prescriptions they       23       Q. Do they get bonused as much if
    24   wrote, correct, sir?                            24   they refuse to fill a number of Schedule II
    25       A. That they filled, at a --                25   and III -- Schedule II and III narcotic
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     1   prescriptions as if they don't?                  1       well-run pharmacy.
     2        A. They do not get paid as much.            2   QUESTIONS BY MR. MOUGEY:
     3        Q. And underneath -- do you see             3       Q. Your job was to identify red
     4   the overview section on the first page?          4   flags in pharmacies, correct, sir?
     5        A. Yes.                                     5            MR. STOFFELMAYR: Objection to
     6        Q. Do you agree with the statement          6       the form. Foundation.
     7   that the best evidence of a well-run pharmacy    7            THE WITNESS: It was not.
     8   is the increase in prescriptions from            8            MR. STOFFELMAYR: Give me a
     9   pharmacy sales, which are the result of not      9       chance, sorry.
    10   only price, promotion, location and product,    10   QUESTIONS BY MR. MOUGEY:
    11   but also customer service, employee             11       Q. Your job was not to identify
    12   development, leadership and innovative ideas?   12   potential red flags in pharmacies?
    13              MR. STOFFELMAYR: Objection to        13       A. It was not, no. We helped
    14        form. Foundation.                          14   pharmacists identify red flags.
    15              THE WITNESS: Are you asking me       15       Q. Well, if you're going to help a
    16        if I agree with that statement?            16   pharmacist identify red flags, your job is to
    17   QUESTIONS BY MR. MOUGEY:                        17   identify them to provide them to the
    18        Q. Yes, sir.                               18   pharmacists, correct, sir?
    19              MR. STOFFELMAYR: Same                19            MR. STOFFELMAYR: Objection to
    20        objections.                                20       the form.
    21              THE WITNESS: I do not agree          21            THE WITNESS: No.
    22        with that statement. They're leaving       22   QUESTIONS BY MR. MOUGEY:
    23        out customer safety.                       23       Q. Go to page 13 in paragraph 2,
    24   QUESTIONS BY MR. MOUGEY:                        24   the sentence that begins with, "Walgreens
    25        Q. But you agree that the -- you           25   agrees not to ship."
                                             Page 275                                              Page 277
     1   don't have a problem with the best evidence      1            Do you see that, sir?
     2   of a well-run pharmacy is the increase in        2            About three-quarters of the way
     3   prescriptions?                                   3   down the page on the right-hand side?
     4       A. I do have an issue with that,             4       A. Yes.
     5   yes.                                             5       Q. "Walgreens agrees not to ship
     6       Q. That's not the best evidence of           6   any order of interest or suspicious order in
     7   a well-run pharmacy, is it?                      7   whole or in part and until Walgreens resolves
     8       A. It is not.                                8   the reasons that caused it to designate an
     9       Q. And quite frankly, increase in            9   order as an order of interest or a suspicious
    10   prescriptions should not even be a metric in    10   order," correct, sir?
    11   a well-run pharmacy, correct, sir?              11       A. I do see that, yes.
    12            MR. STOFFELMAYR: Objection to          12       Q. Do you have any reason to
    13       the form. Foundation.                       13   believe that Walgreens was not shipping an
    14            THE WITNESS: I don't know what         14   order of interest or a suspicious order in
    15       the best evidence for a well-run            15   2012?
    16       pharmacy is.                                16            MR. STOFFELMAYR: Objection to
    17   QUESTIONS BY MR. MOUGEY:                        17       the form.
    18       Q. But what I asked you, sir, is            18            THE WITNESS: I don't know what
    19   that an increase in prescriptions should not    19       Walgreens was doing in 2012. I know
    20   even be a metric in a well-run pharmacy,        20       we started to get out of the
    21   correct, sir?                                   21       distribution business at that time
    22            MR. STOFFELMAYR: Objection to          22       period.
    23       form. Foundation.                           23   QUESTIONS BY MR. MOUGEY:
    24            THE WITNESS: I don't know what         24       Q. Bear with me one second,
    25       metrics should be used to identify a        25   Mr. Stahmann. I'm sorry, I got -- all right.
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     1   If you would, sir, please turn to page 77. I     1       A. During a certain time frame,
     2   apologize. I just missed -- now I figured        2   yes.
     3   out what I did. If you can go back to the --     3       Q. Did you store those reports
     4            MR. STOFFELMAYR: Sorry, what            4   anywhere that you had access to them or any
     5        page?                                       5   sampling of those reports?
     6            MR. MOUGEY: Page 26.                    6       A. I may have had some stored in
     7   QUESTIONS BY MR. MOUGEY:                         7   my e-mail.
     8        Q. All right. Paragraph 9 on                8       Q. Some stored in your e-mail?
     9   page 26, begins with "Respondent's practice"?    9       A. Yes.
    10        A. I'm there.                              10       Q. Do you -- how far back does
    11        Q. Okay. "Respondent's practice            11   your -- do you not delete e-mails?
    12   with regard to suspicious order reporting was   12       A. It cannot, no. Part of my
    13   to send to the local DEA field office a         13   e-mails are on legal hold.
    14   monthly report labeled 'suspicious controlled   14       Q. Do you know how long they have
    15   drug orders.'"                                  15   been on legal hold?
    16            Do you see that, sir?                  16       A. Various times. There's been
    17        A. Yes.                                    17   gaps, but probably ever since I started in
    18        Q. Do you have reason to believe           18   loss prevention, there's been periods on and
    19   that the suspicious controlled drug orders      19   off of being on legal hold.
    20   were the reports that you were burning on a     20       Q. So you started in loss
    21   CD and sending out?                             21   prevention in 2012?
    22        A. Yes, I believe that's what this         22       A. That sounds about right, yes.
    23   is referring to.                                23       Q. Okay. So in 2012, was it your
    24        Q. Those were the reports you were         24   practice that as you pulled and sent those
    25   sending out?                                    25   suspicious order reports to store them
                                              Page 279                                             Page 281
     1       A. Yes.                                      1   anywhere?
     2       Q. And how do you know those were            2       A. No, because they were -- since
     3   the reports you were sending out?                3   they were burned on a CD, the only storage of
     4       A. Because the title of the                  4   those were on that Mobius application.
     5   reports were labeled "suspicious controlled      5       Q. Okay. And do you have an
     6   substance orders," I believe.                    6   understanding of what period of time is still
     7       Q. Okay. Now, do you know if you             7   on the Mobius application as far as the
     8   have access to those historical order reports    8   suspicious order reports?
     9   that you sent to the DEA?                        9       A. I do not know.
    10       A. Access to those reports now?             10       Q. Do you have an estimate of what
    11       Q. Yes, sir.                                11   period in time?
    12       A. I do not know if we have                 12       A. I don't. I don't know if or
    13   access. I know we were -- we can produce one    13   when they're purged or if there's an
    14   of the reports, but I do not know historical    14   automatic purging time frame.
    15   access or if they're automatically purged       15           (Walgreens-Stahmann Exhibit 9
    16   during a certain time frame.                    16       marked for identification.)
    17       Q. Do you -- are you aware in 2017          17   QUESTIONS BY MR. MOUGEY:
    18   of whether or not you could pull those          18       Q. I'll hand you what I've -- I'll
    19   suspicious order reports that you were          19   mark as Stahmann Exhibit 9.
    20   sending to the DEA?                             20           Do you see this is an e-mail
    21       A. In 2017, I believe we were               21   from yourself to yourself?
    22   unable to pull those reports.                   22           Do you see that?
    23       Q. You were unable to pull those            23       A. I do.
    24   reports?                                        24       Q. And the subject is "CD
    25            Did you --                             25   orders-2."
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     1       A. I see that.                                1   pull the data, correct?
     2       Q. What does that mean?                       2        A. At one time, yes.
     3       A. I can't recall why -- what that            3        Q. And I'm talking about in August
     4   subject means.                                    4   of 2017. Did you have to access Mobius to
     5       Q. All right. And the date of                 5   pull the data?
     6   this e-mail is August 16, 2017, correct?          6        A. No, because I was unable to.
     7       A. That is correct.                           7        Q. Okay. So but you tried?
     8       Q. And if you would flip the page,            8        A. We definitely looked into it,
     9   does this appear to be the suspicious order       9   yes.
    10   report that you were responsible for pulling,    10        Q. All right. So where do you
    11   burning on a CD and sending to the DEA, along    11   believe that you found this report?
    12   with the distribution centers?                   12        A. I can't recall exactly how.
    13       A. This does appear to be one of             13        Q. And you didn't store these
    14   those reports, yes.                              14   reports as you sent them or keep them in a
    15       Q. Okay. Was it -- are there                 15   file or anything along those lines?
    16   different kinds of reports, or was this the      16        A. No, they were just burned on a
    17   suspicious controlled drug orders that DEA       17   CD, so it's possible that I had a copy of a
    18   mentions in page 26 of Stahmann 6?               18   CD and then e-mailed me that -- the data from
    19       A. I believe this is one of the              19   the CD.
    20   reports. There may have been a -- there          20        Q. Who e-mailed you the data from
    21   may -- the reports may have been broken down     21   the CD?
    22   by area so we would know who to send to.         22        A. I could have e-mailed myself,
    23       Q. All right. You see in the                 23   so just -- I don't know exactly, but that's
    24   bottom left-hand side of this page where it      24   how I'm envisioning this could have went.
    25   says, "Report available in Mobius."              25        Q. And I'm sorry if I'm being slow
                                               Page 283                                             Page 285
     1       A. Yes.                                       1   here, but -- so you found this report, you
     2       Q. And did you in August of 2017              2   believe, in an old e-mail?
     3   go on Mobius and pull this report?                3            MR. STOFFELMAYR: Objection to
     4       A. No.                                        4       the form.
     5       Q. All right. Where do you think              5            THE WITNESS: I believe I found
     6   you found this report?                            6       the report on an old CD and then
     7       A. To be complete -- I can't say              7       transferred the file to myself via
     8   for certain, but I think I pulled this from       8       e-mail.
     9   an e-mail that I may have sent out in             9   QUESTIONS BY MR. MOUGEY:
    10   preparation or for -- due to a legal ask.        10       Q. Okay. So you had no practice
    11   They asked if I could --                         11   of filing or storing the CDs as you burned
    12            MR. STOFFELMAYR: Stop.                  12   them and sent them to the DEA?
    13       Don't -- don't get into what anyone          13       A. No.
    14       asked you legally.                           14       Q. If you ever wanted to go back
    15   QUESTIONS BY MR. MOUGEY:                         15   and look at historical suspicious orders, how
    16       Q. Why did you send it to                    16   would you do it?
    17   yourself?                                        17            MR. STOFFELMAYR: Objection to
    18       A. I think that was the only way             18       the form.
    19   that I can get that data.                        19            THE WITNESS: At the time, you
    20       Q. Where was the data when you               20       can -- we could have went back in
    21   pulled it?                                       21       Mobius to look at the data that was
    22       A. It was stored -- I don't                  22       currently stored or not purged in
    23   remember, but the data resides in Mobius.        23       Mobius.
    24       Q. Right.                                    24   QUESTIONS BY MR. MOUGEY:
    25            So you had to access Mobius to          25       Q. Okay. So up to what point in
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     1   time could you access Mobius and pull            1   look at it? Do I have three pages or 3,000
     2   historical suspicious controlled drug orders?    2   pages or 18?
     3       A. Personally, it was up until the           3             You had no -- you didn't look
     4   time that I left asset protection. My access     4   at it for any content or what was -- what was
     5   was taken away once I transferred to             5   in the report?
     6   pharmaceutical integrity.                        6        A. I did not look at the content.
     7       Q. So you're not saying that the             7   I may have looked to see -- if only three
     8   reports were purged, but you just didn't have    8   pages transferred to the CD, then I knew
     9   any access?                                      9   there was something wrong with the data.
    10       A. I personally did not have                10        Q. What was the scope of
    11   access, no.                                     11   nationally where you were pulling these
    12       Q. Now, help me to understand               12   suspicious order reports from?
    13   that, because you went to and moved to the      13        A. What do you mean by "scope"?
    14   pharmaceutical integrity department that was    14        Q. I mean, did you -- was it for
    15   responsible for overseeing diversion.           15   every state? Every region?
    16            Why would you not have access          16        A. They were for the chain length.
    17   to the platform with the suspicious order       17   It was for all of Walgreens.
    18   reports?                                        18        Q. The entire Walgreens?
    19            MR. STOFFELMAYR: Objection to          19        A. Correct.
    20       the form. Foundation.                       20        Q. And where would you send them?
    21            THE WITNESS: When I                    21   What DEA would you send them to?
    22       transferred to RX integrity, we were        22        A. We would send them to all the
    23       not reporting suspicious orders via         23   local DEA offices that had their office
    24       those CDs and Mobius.                       24   listings on the DEA web page and then also to
    25                                                   25   our individual distribution centers.
                                              Page 287                                             Page 289
     1   QUESTIONS BY MR. MOUGEY:                         1       Q. All right. So you would send
     2        Q. But if you wanted historical             2   the entire country suspicious controlled drug
     3   data to go back and look at patterns, would      3   orders to every DEA field office?
     4   that not have been helpful?                      4       A. That is correct.
     5        A. Our team did not look at the             5       Q. And now, let's go back to
     6   historical suspicious orders.                    6   page 26 of Stahmann 6.
     7        Q. Walk me through a couple                 7            Okay?
     8   samples of -- what I've done here is this is     8            It says, "Respondent's practice
     9   an approximately 25,000-page report.             9   with" -- I'm sorry.
    10             Okay?                                 10            MR. STOFFELMAYR: Give me a
    11             So is that consistent with your       11       second.
    12   recollection of what you were burning onto a    12            MR. MOUGEY: Yeah, my bad.
    13   CD and sending to the DEA once a month?         13            MR. STOFFELMAYR: Got it. Are
    14        A. To be honest, I cannot                  14       you there?
    15   recollect how large the files were or           15            MR. MOUGEY: Are you there?
    16   page-wise. I just basically burned the data     16            THE WITNESS: Yep. Okay.
    17   on a CD and sent it off. I didn't dive into     17   QUESTIONS BY MR. MOUGEY:
    18   each individual report or CD, so I don't know   18       Q. Page 626, paragraph 9,
    19   if this is a --                                 19   "Respondent's practice with regard to
    20        Q. Did you even look at it?                20   suspicious order reporting was to send to the
    21        A. I would look at it briefly, but         21   local DEA field office a monthly report
    22   just to see if the data transferred to the      22   labeled 'Suspicious Drug Controlled Orders.'
    23   CD, but that's about the extent.                23   Two reports were provided: One for
    24        Q. But in order to know if it              24   suspicious orders of Schedule II drugs;
    25   transferred to the CD, wouldn't you have to     25   another for suspicious orders of drugs in
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     1   Schedules III and V. These reports were         1   letters, tell me what exhibit number that is.
     2   transmitted on respondent's behalf from         2   I think it's 5, Stahmann 5.
     3   Walgreens corporate headquarters in             3        A. Got it.
     4   Deerfield, Illinois."                           4        Q. Got it?
     5            So you think for the period of         5        A. Yep.
     6   time that you were responsible, that's you      6        Q. Okay. Look at the paragraph
     7   sending those out?                              7   that begins with "registrants" and the very
     8       A. Yes.                                     8   last paragraph of Stahmann 5 dated June 12,
     9       Q. And respondent's suspicious              9   2012.
    10   order report for December 2011 appears to      10        A. I see that.
    11   include suspicious orders placed by its        11        Q. "Registrants who rely on rigid
    12   customers for the past six months, okay?       12   formulas to identify whether an order is
    13            But you don't have any                13   suspicious may fail to detect suspicious
    14   recollection of what time scope you were       14   orders," right?
    15   pulling the suspicious control orders,         15        A. I do see that.
    16   correct?                                       16        Q. "For example, this system might
    17            MR. STOFFELMAYR: Objection to         17   not identify suspicious orders placed by a
    18       form.                                      18   pharmacy if that pharmacy placed unusually
    19            THE WITNESS: I was only tasked        19   large orders from the beginning."
    20       to pull the reports monthly, so I do       20             That makes sense, right?
    21       not know how much information was          21             MR. STOFFELMAYR: Objection to
    22       contained on those reports.                22        the form.
    23   QUESTIONS BY MR. MOUGEY:                       23             THE WITNESS: I don't know if
    24       Q. The report for just suspicious          24        that makes sense in the context it's
    25   orders of Schedule II drugs is 1,712 pages.    25        used because that doesn't necessarily
                                             Page 291                                             Page 293
     1            Do you see that?                       1       mean that because a pharmacy placed
     2       A. I do.                                    2       large orders that are suspicious or
     3       Q. That's a lot of pages with a             3       that since they were placing large
     4   lot of suspicious orders, right?                4       orders from the beginning we weren't
     5            MR. STOFFELMAYR: Objection to          5       able to detect suspicious orders.
     6       form.                                       6   QUESTIONS BY MR. MOUGEY:
     7            THE WITNESS: It's a lot of             7       Q. Well, it's not categorical, but
     8       pages. I don't know if each one of          8   the point of this process with suspicious
     9       those orders is a, quote/unquote,           9   order reporting was to identify red flags,
    10       suspicious order.                          10   right?
    11   QUESTIONS BY MR. MOUGEY:                       11            MR. STOFFELMAYR: Objection to
    12       Q. And sitting here today, you             12       the form.
    13   don't know what the formula was for            13            THE WITNESS: The purpose of
    14   identifying suspicious orders, do you?         14       the suspicious order report is to
    15       A. That is correct.                        15       report based off of a formula orders
    16       Q. Now, you recall our going               16       of interest that could lead to
    17   through the DEA letters earlier that a rigid   17       suspicious orders.
    18   formula is not really helpful with             18   QUESTIONS BY MR. MOUGEY:
    19   identifying suspicious orders, correct?        19       Q. And then perform due diligence
    20            MR. STOFFELMAYR: Objection to         20   on those orders before they were shipped as
    21       form. Foundation.                          21   we went through earlier, correct?
    22            THE WITNESS: I don't recall           22            MR. STOFFELMAYR: Objection to
    23       those exact words being used.              23       form.
    24   QUESTIONS BY MR. MOUGEY:                       24            THE WITNESS: Due diligence was
    25       Q. If you'd go back to the DEA             25       performed, to my knowledge, don't know
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     1       by who, on those orders, yes.                1       A. I do see that.
     2   QUESTIONS BY MR. MOUGEY:                         2       Q. Now, Stahmann 8, the report
     3       Q. And prior to being shipped,               3   that you e-mailed yourself on August 16,
     4   correct?                                         4   2017, you would flip to Bates number 380?
     5             MR. STOFFELMAYR: Objection to          5       A. Exhibit 9, I think --
     6       form. Foundation.                            6       Q. Is it 9?
     7             THE WITNESS: I don't know if           7       A. Yeah.
     8       that's actually what -- I don't know         8       Q. Stahmann 9, if you go to Bates
     9       who was responsible for that type            9   number 380, top of that page is titled "Sales
    10       of --                                       10   District 277."
    11   QUESTIONS BY MR. MOUGEY:                        11       A. Yes.
    12       Q. And I'm not asking you who was           12            MR. STOFFELMAYR: I'm sorry,
    13   responsible. What I'm asking is what the        13       give me a second to catch up. It's
    14   requirement was, and the due diligence was      14       380 at the bottom?
    15   performed prior to the shipment being           15            Okay. I got it figured out
    16   actually -- the order being shipped, correct?   16       now.
    17             MR. STOFFELMAYR: Objection to         17   QUESTIONS BY MR. MOUGEY:
    18       form. Foundation.                           18       Q. And the store address is 6410
    19             THE WITNESS: I believe that's         19   Broadway Avenue, Cleveland, Ohio.
    20       what the requirements stated, but that      20            Do you see that?
    21       was not part of my expertise as to          21       A. I do see that.
    22       interpret regulations.                      22       Q. And then you can see below, you
    23   QUESTIONS BY MR. MOUGEY:                        23   see the NDC number?
    24       Q. All right. Let's go back to              24       A. I do.
    25   Stahmann 6, and middle of the page, the         25       Q. What's the NDC number mean?
                                              Page 295                                              Page 297
     1   sentence underneath paragraph 9 on the           1        A. It is an identifying number.
     2   right-hand side says, "The reports are based     2   It's a national -- I forgot what the acronym
     3   on a formula that assigns an average monthly     3   means, but it's basically a way to identify a
     4   order for a particular drug" --                  4   certain product.
     5            MR. STOFFELMAYR: You better             5        Q. And --
     6       give him a second. He's still on --          6        A. It's national drug code.
     7            THE WITNESS: What page are you          7        Q. And you can see below or
     8       on, I'm sorry?                               8   adjacent to that, 6, which is the oxycodone,
     9   QUESTIONS BY MR. MOUGEY:                         9   6 times 3 is 18.
    10       Q. I'm sorry. Page 26.                      10             Do you see that?
    11       A. 26.                                      11        A. I see that.
    12       Q. Paragraph 9.                             12        Q. But as you were shipping these
    13       A. Got it. Okay.                            13   reports on CDs to the DEA, you didn't know
    14       Q. "The reports are based on a              14   what the multiplier DEA factor was, correct?
    15   formula that assigns an average monthly order   15             MR. STOFFELMAYR: Objection to
    16   for a particular drug which is then             16        the form.
    17   multiplied by a DEA factor, which is always     17             THE WITNESS: I did not know
    18   three regardless of the drug or the average     18        what the DEA factor meant, and I did
    19   order amount, resulting in a trigger amount     19        not dive deeply into these reports
    20   above which orders for the month are reported   20        when I sent them.
    21   as suspicious, along with a listing of all      21   QUESTIONS BY MR. MOUGEY:
    22   orders placed for the particular drug by the    22        Q. I mean, I'm not asking you to
    23   reported pharmacy for the month in which the    23   deeply dive. You didn't even know that they
    24   trigger amount was exceeded."                   24   were multiplied by 3 and what the criteria
    25            Do you see that?                       25   was for the thresholds, correct?
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     1        A. Correct, I did not.                      1   factor equals trigger, oxycodone APAP 5 to 25
     2        Q. Okay. So below that, you see             2   tab Wats, 500."
     3   the date ordered, 6/29, 6/22, 6/15, 6/8, 6/1.    3       Q. And which of the dosage units?
     4            Do you see that?                        4       A. Plus 500 is the dosage units
     5        A. I do.                                    5   for that bottle. So there's 500 tablets in
     6        Q. And the quantity, 7, 4, 3, 5,            6   that particular bottle. So 7 times 500 is
     7   9, right?                                        7   3,500.
     8        A. Yes.                                     8       Q. So we could do 500 times
     9        Q. So how would you determine --            9   28 bottles or whatever the -- however the
    10   how would one determine how many dosage units   10   shipment mechanism is?
    11   are in each of those quantities?                11       A. That is correct, to get that
    12        A. Via the NDC on the top, it says         12   dosage units for that particular drug.
    13   plus 500. That's the number of dosage units     13       Q. Okay. So that's 500 times 20
    14   per bottle.                                     14   is 10,000, so what is that 14,000 oxycodone
    15        Q. Did you not have access to the          15   for that pharmacy in Cleveland in 2010?
    16   NDC codes to import those into your database    16       A. Yeah, if that math is correct.
    17   to identify how many pills those are?           17   I didn't calculate that really quick, but,
    18        A. We did have that information.           18   yeah.
    19        Q. You did?                                19       Q. All right. And do you see the
    20        A. Yes.                                    20   155 percent, correct?
    21        Q. Do you understand or know               21       A. I do see that.
    22   whether the DEA had the NDC codes imported      22       Q. And what is that 155 percent?
    23   into ARCOS so it could tell how many dosage     23       A. I have no idea.
    24   units were part of that quantity?               24            MR. STOFFELMAYR: We're due for
    25        A. I don't know if the DEA had             25       a break soon when you get to a moment.
                                              Page 299                                             Page 301
     1   that information.                                1   QUESTIONS BY MR. MOUGEY:
     2        Q. Would you think that would be            2       Q. Let's go back to Stahmann 6,
     3   helpful to provide the number of dosage units    3   paragraph 9. It says, "The reports" -- you
     4   in your report to the DEA?                       4   see on the right-hand side, which begins with
     5             MR. STOFFELMAYR: Objection to          5   "the," paragraph 9, in the middle of the
     6        the form. Foundation.                       6   page?
     7             THE WITNESS: I don't know if           7       A. Yes.
     8        that would be helpful or not. I don't       8       Q. "The reports are based on a
     9        know if that would be helpful or not        9   formula that assigns an average monthly order
    10        to them.                                   10   for a particular drug which is then
    11   QUESTIONS BY MR. MOUGEY:                        11   multiplied by a DEA factor, which is always
    12        Q. Go back to your experience as           12   3, regardless of the drug or the average
    13   law enforcement. Wouldn't you want to know      13   order amount."
    14   if that's -- I mean, is that seven bottles of   14            Do you see that?
    15   three pills or seven bottles of 80 pills?       15       A. I do.
    16   Wouldn't you want to know?                      16       Q. And that's resulting in a
    17        A. Yes, and it states here on the          17   trigger amount, correct?
    18   report how many dosage units are in the         18       A. That's what it states here,
    19   bottle.                                         19   yes.
    20        Q. Where do you see that?                  20       Q. "Anything above that trigger
    21        A. Right next to oxycodone 5/325           21   amount is reported as suspicious."
    22   tab, Watson brand, plus 500, that's the         22            Do you see that?
    23   dosage units.                                   23       A. I do see that.
    24        Q. Where do you see that?                  24       Q. "Along with the listing of all
    25        A. Right under average order, "DEA         25   orders placed for the particular drug by the
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     1   reported pharmacy for the month in which the     1   have in front of you as exhibit -- Stahmann
     2   trigger amount was exceeded"?                    2   Exhibit 9, do you remember what format that
     3       A. I do see that.                            3   was in?
     4       Q. "This report from the Jupiter             4       A. What do you mean by format?
     5   distribution center covers pharmacies in         5       Q. I mean Excel, PDF.
     6   multiple states in Puerto Rico, yet the          6       A. I don't recall, no.
     7   average order and the trigger amount is the      7       Q. Do you remember how you
     8   same for a particular drug regardless of the     8   trans -- how you send it -- how you sent it
     9   pharmacy's location, the population it serves    9   to the DEA on a CD?
    10   or the number of other pharmacies in the        10       A. I don't recall the file
    11   area."                                          11   extension type, no.
    12            Do you see that?                       12       Q. Can we tell by looking at the
    13       A. I do.                                    13   attachment? It's a zip file.
    14       Q. Paragraph 10, as it made clear           14       A. A zip, correct, but it looks
    15   in 21 CFR 1301, and it's Southwood, in          15   like it's plain text or ASCII text.
    16   December 27, 2007 letter to distributors from   16       Q. Would you have changed the text
    17   the Deputy Assistant Administrator for the      17   when you pulled it out of your e-mail, or
    18   Office of Diversion Control, "Suspicious        18   would it have probably more than likely been
    19   orders are to be reported as discovered."       19   the same as how sent it to the DEA?
    20            Do you see that, sir?                  20       A. I did not format in any way, so
    21       A. I do see that.                           21   what I pulled would be how it was sent to the
    22       Q. "Not in a collection of monthly          22   DEA.
    23   completed transactions," right?                 23       Q. Okay. And earlier you
    24       A. I do see that.                           24   mentioned that you sent this report also to
    25       Q. And you were aware, at least             25   the distribution centers, the DCs, right?
                                             Page 303                                              Page 305
     1   until the point in time when you left loss       1        A. That is correct.
     2   prevention and were sending these reports to     2        Q. Did you have a person in
     3   the DEA as of 2012, you were still sending       3   particular at the DCs you sent them to or a
     4   out a collection of monthly completed            4   title that you sent them to? Who would you
     5   transactions, correct, sir?                      5   send them to?
     6            MR. STOFFELMAYR: Objection to           6        A. It was the C-II or SAIL
     7       the form.                                    7   coordinator, S-A-I-L coordinator. They were
     8            THE WITNESS: I was sending out          8   not addressed to someone in particular just
     9       reports on a monthly basis. Again, I         9   because people changed in those positions or
    10       do not know what the contents of those      10   roles.
    11       reports were.                               11        Q. And that was every distribution
    12   QUESTIONS BY MR. MOUGEY:                        12   center?
    13       Q. You don't know whether they              13        A. Yes.
    14   were completed or not?                          14        Q. Okay. And do you remember just
    15       A. I do not.                                15   roughly, I'm sure they changed over time, but
    16            MR. MOUGEY: I'm fine with              16   how many distribution centers that Walgreens
    17       taking a break now.                         17   had?
    18            MR. STOFFELMAYR: Great.                18        A. I don't know the exact number,
    19            VIDEOGRAPHER: Going off the            19   but it was more than five.
    20       record at 3:25.                             20        Q. Okay. And Schedule II and
    21        (Off the record at 3:25 p.m.)              21   Schedule III, more than ten?
    22            VIDEOGRAPHER: We're back on            22        A. I don't know. I can't recall
    23       the record at 3:42.                         23   exactly how many.
    24   QUESTIONS BY MR. MOUGEY:                        24        Q. Okay. But if we were to
    25       Q. Mr. Stahmann, the report that I          25   inquire further about the type and amount of
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     1   due diligence performed on these suspicious      1       A. Yes.
     2   orders in this report, we would need to -- to    2       Q. Did -- or did the DEA ask that
     3   talk to each of the SAIL coordinators,           3   you stop sending them across the board, all
     4   correct?                                         4   information, stop sending them at all,
     5             MR. STOFFELMAYR: Objection to          5   nothing?
     6       the form. Foundation.                        6       A. They didn't request or they
     7             THE WITNESS: I would recommend         7   didn't tell me specifically to stop sending
     8       that you start there. I don't know if        8   them, so I don't know which field offices
     9       they are the individual people that          9   specifically said don't send those to me.
    10       performed the due diligence.                10       Q. Do you know which field offices
    11   QUESTIONS BY MR. MOUGEY:                        11   it was that told Ms. Ranick to stop sending
    12       Q. Yes, sir.                                12   them?
    13             But that would be a good place        13       A. I don't.
    14   to start, right?                                14       Q. Did -- do you know how many
    15       A. In my opinion, yes.                      15   field offices there were with the DEA?
    16       Q. Okay. Now, did you -- when you           16       A. At the time, no, I can't recall
    17   said -- is that different, the C-II function    17   the number.
    18   manager?                                        18       Q. More than 20?
    19       A. I don't know what a C-II                 19       A. Yes.
    20   function manager is.                            20       Q. So let me get this straight.
    21       Q. Okay. Now, you mentioned                 21   You sent the, let's just say, the DEA field
    22   earlier that the DEA asked that these reports   22   office in San Francisco a CD that contained
    23   to stop being sent?                             23   the suspicious reports for Topeka, Kansas.
    24       A. Yes.                                     24       A. I don't recall or I don't know
    25       Q. Who told you that?                       25   what information were on the reports. I do
                                              Page 307                                             Page 309
     1        A. My boss, Marcie Ranick, at the           1   know that we sent the individual field
     2   time.                                            2   offices those reports.
     3        Q. Marcie?                                  3        Q. For the entire country?
     4        A. Ranick, R-a-n-i-c-k.                     4        A. Again, I don't recall what were
     5        Q. Okay. And when was Ms. Ranick            5   actually in the reports since I didn't dive
     6   your boss?                                       6   into them.
     7        A. When I was in loss prevention,           7        Q. Right.
     8   asset protection, throughout my term there.      8             But you -- I thought what you
     9        Q. So from '07 to '12?                      9   said earlier is that you sent -- you pulled
    10        A. Through '13. So a little bit            10   the entire report for the entire country and
    11   over five years, so let's say 2008, 2009 to     11   you sent that -- you burned it on a CD and
    12   '13.                                            12   then you sent it to every DEA field office?
    13        Q. All right. Did Ms. Ranick give          13        A. So the reports auto-generated
    14   you a reason why the DEA asked?                 14   with data and populated with data, so I don't
    15        A. I don't recall the specific             15   know what formulas or logic that was used to
    16   reason she said.                                16   populate that data, but, yes, I sent -- I
    17        Q. Do you remember what time frame         17   literally took the file burner and a CD and
    18   that was?                                       18   sent it out to district offices.
    19        A. No.                                     19        Q. Who put the CD in an envelope?
    20        Q. I mean, do you have a general           20        A. Most -- for my time, it was me.
    21   understanding of the time frame?                21        Q. Okay. So you put the label on
    22        A. I don't.                                22   the envelope, you took it down to the mail
    23        Q. So did you stop sending them?           23   center, they stamped it, and it went out the
    24        A. No.                                     24   door, right?
    25        Q. You just kept sending them?             25        A. Yeah.
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     1        Q. So do you recall that you were           1       information sent to them or --
     2   trying to match up CDs with specific             2   QUESTIONS BY MR. MOUGEY:
     3   envelopes, or did everybody get the same CD?     3       Q. So you just sent them the whole
     4        A. I believe everyone got the same          4   country in a text file?
     5   CD.                                              5       A. That's -- yes, that's the file
     6        Q. So potentially the suspicious            6   that I sent them.
     7   order reports, if they were generated in         7       Q. Based on what we now understand
     8   Topeka, Kansas, went to the DEA field office     8   to be a rigid formula, correct?
     9   in San Francisco, right?                         9            MR. STOFFELMAYR: Objection to
    10        A. There was information in -- for         10       the form. Foundation.
    11   each DEA office, there could potentially have   11            THE WITNESS: I don't know what
    12   been information that did not pertain to        12       that formula --
    13   their district office.                          13   QUESTIONS BY MR. MOUGEY:
    14        Q. And your recollection is -- is          14       Q. Sitting here today you don't
    15   that the format that is consistent with the     15   even know what the formula is?
    16   report in front of us in Stahmann 9 was         16       A. That is correct.
    17   consistent with what you sent the DEA on a      17       Q. All right. So when you were
    18   regular basis?                                  18   analyzing data as a role with the manager
    19        A. Yes, from my understanding.             19   with the pharmaceutical integrity department,
    20        Q. Okay. Now, I believe your CV            20   do you routinely export data out of Walgreens
    21   said that you had intimate knowledge, and it    21   databases in text format?
    22   listed several different databases and --       22       A. I do not.
    23   like Excel and Access and so forth, correct?    23       Q. Yeah. You typically put it in
    24        A. It does list that, yes.                 24   some sort of a spreadsheet or a database,
    25        Q. So you're fairly tech savvy?            25   right?
                                              Page 311                                             Page 313
     1       A. Not anymore, but I was at one             1       A. I don't do the data pulls
     2   time when these systems did -- did exist. A      2   anymore as a pharmacy manager.
     3   lot of these don't exist anymore.                3       Q. Sure.
     4       Q. But as of the time that you put           4            But once somebody in the IT
     5   together this CD, you said you had intimate      5   department does, correct?
     6   work with statistical software and databases,    6       A. Our analysts do pull data and
     7   including, but not limited to, Access, Excel,    7   provide it in Excel format.
     8   Oracle, WebSDL, IC Plus, SIMS, EDW, Mobius       8       Q. If somebody sent you a
     9   and Business Objects, right?                     9   1,700-page report in a text file, you would
    10       A. Correct, at that time, yes.              10   send it back to them as a manager and say,
    11       Q. Right. Yet you chose to send             11   "Give it to me in a file that I can actually
    12   this in a text file, correct?                   12   use," right?
    13       A. I did not choose that. That              13            MR. STOFFELMAYR: Objection to
    14   was the format the file was populated in        14       the form. Foundation.
    15   Mobius, so I just burned the file and sent it   15            THE WITNESS: Only if I needed
    16   off on a CD not modifying the information on    16       the data in a specific format.
    17   there at all.                                   17   QUESTIONS BY MR. MOUGEY:
    18       Q. Now, as somebody that's fairly           18       Q. Sure.
    19   tech savvy, as yourself, or at least at that    19       A. I would.
    20   point in time, it would be very helpful to      20       Q. And that's part of the -- your
    21   organize the data, wouldn't it?                 21   law enforcement background. You would want
    22            MR. STOFFELMAYR: Objection to          22   to be able to sort the data and look at it
    23       the form. Foundation.                       23   and -- and analyze the data, right?
    24            THE WITNESS: The DEA never             24       A. That would be useful, yes.
    25       specified how they wanted that              25       Q. Yes.

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     1              And it's very difficult to            1       A. So currently with
     2   analyze data in a text file, is it not?          2   pharmaceutical integrity, our business
     3        A. It can be done, but it's a               3   analysts, if there is a loss that is being
     4   little -- it's a heavy lift.                     4   reported to the DEA, they have to go back to
     5        Q. Yes.                                     5   see if there's an operational issue of an
     6              Now, Stahmann 9 is your -- your       6   order not being posted, so they'll look to
     7   understanding, these are shipped orders,         7   see if our distributor -- what they shipped
     8   correct?                                         8   to the store and what the store actually
     9              MR. STOFFELMAYR: Objection to         9   posed just to make sure they match up.
    10        the form. Foundation.                      10       Q. To make sure nothing went
    11              THE WITNESS: Yeah, I cannot          11   missing en route, essentially?
    12        confirm whether or not these orders        12       A. In transit, correct.
    13        actually shipped or were received by       13       Q. Right.
    14        the store.                                 14            So going back from '06 to --
    15   QUESTIONS BY MR. MOUGEY:                        15   prior to pharmaceutical integrity department,
    16        Q. So but you could go back at any         16   was it at any point in time part of your job
    17   point in time and figure out whether these      17   to match up orders with shipments to
    18   orders were, in fact, shipped, correct?         18   determine what, in fact, wasn't being
    19        A. Yes.                                    19   shipped?
    20        Q. And you would just match up             20       A. It was not.
    21   with the orders versus with what was shipped,   21       Q. Okay. Do you recall any
    22   correct?                                        22   reports whatsoever identifying what orders
    23        A. That can be done, yes.                  23   weren't shipped?
    24        Q. So someone at Walgreens even            24       A. No.
    25   today could go back and match up orders with    25       Q. Do you recall any part of any
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     1   shipments and determine whether or not there     1   discussion or meeting that there was an
     2   were orders that weren't shipped, correct?       2   ongoing report of orders that weren't
     3            MR. STOFFELMAYR: Objection to           3   shipped?
     4       the form. Foundation.                        4        A. I do not recall, no.
     5            THE WITNESS: Only for a                 5        Q. And if we wanted to figure out
     6       specific time period.                        6   if, in fact, any of these orders in the
     7   QUESTIONS BY MR. MOUGEY:                         7   suspicious controlled drug orders were not
     8       Q. And what time period would that           8   shipped, is that possible to do today?
     9   be?                                              9        A. Depending on the time frame, it
    10       A. For as long as our EDW                   10   is possible.
    11   warehouse houses that data or stores that       11        Q. How far back would you be able
    12   data.                                           12   to discern whether or not these orders were
    13       Q. Do you have any time frame what          13   actually shipped?
    14   that would be?                                  14        A. Again, as long -- there's two
    15       A. I do not.                                15   ways, so as long as our current EDW, or
    16       Q. Do you recall in any of your             16   enterprise data warehouse, stores the data
    17   tenure at Walgreens where anyone came to you    17   and also any paper copies that the pharmacy
    18   and said would you be able to compare the       18   may have at their pharmacy.
    19   orders versus shipments to see if any orders    19        Q. All right. Who would be the
    20   were not shipped?                               20   people to talk to?
    21       A. During my tenure at Walgreens,           21        A. In our team, it would be Ed
    22   yes.                                            22   Bratton.
    23       Q. And who was it that -- that              23        Q. Okay. Now, let's go down to
    24   came and asked you to compare orders versus     24   paragraph 10 on page 26 of Stahmann 6, and
    25   shipments?                                      25   hold that. We're going to come back to
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     1   the -- to Stahmann 9 with the suspicious         1   that were not shipped because due diligence
     2   controlled drug orders in a minute.              2   wasn't performed, correct?
     3             Okay?                                  3            MR. STOFFELMAYR: Objection to
     4        A. Okay.                                    4       form.
     5             MR. STOFFELMAYR: What page are         5            THE WITNESS: I can point you
     6        you on?                                     6       to a department, but I don't know
     7             MR. MOUGEY: I'm on page 26.            7       individuals who were actually
     8             THE WITNESS: 26.                       8       performing that task.
     9   QUESTIONS BY MR. MOUGEY:                         9   QUESTIONS BY MR. MOUGEY:
    10        Q. If you see under paragraph 10,          10       Q. And which department would you
    11   about three-quarters of the way down,           11   point me to?
    12   left-hand side, it says, "No order identified   12       A. It was those individual DC SAIL
    13   as suspicious should be filled until an         13   coordinators.
    14   assessment of the order's legitimacy is         14       Q. The next sentence in
    15   concluded."                                     15   paragraph 10 on page 26 of Stahmann 9 says,
    16             Correct?                              16   "As such, respondent's reports consisting of
    17        A. I do see that.                          17   nothing more than an aggregate of completed
    18        Q. And, sir, sitting here today,           18   transactions did not comply with the
    19   you have no recollection of any order not       19   requirement to report suspicious orders as
    20   being shipped until the legitimacy of that      20   discovered despite the title attached to
    21   order was concluded, correct?                   21   these reports."
    22             MR. STOFFELMAYR: Objection to         22            Do you see that, sir?
    23        the form.                                  23       A. I do.
    24             THE WITNESS: I do not have any        24       Q. And, sir, you don't have any
    25        knowledge of any due diligence             25   information, sitting here today, that that
                                             Page 319                                              Page 321
     1        regarding orders, suspicious orders,        1   last sentence of paragraph 10 on page 26 of
     2        or who -- whose role or responsibility      2   Stahmann 6 was inaccurate, correct?
     3        that was.                                   3        A. I do not have any information
     4   QUESTIONS BY MR. MOUGEY:                         4   in front of me today regarding that
     5        Q. Or more importantly, you don't           5   statement.
     6   have any knowledge out of the millions and       6        Q. Well, just not in front of you
     7   millions and millions of Schedule II and III     7   today, but you have no information at any
     8   narcotics in the middle of a raging opiate       8   point in time that the last sentence of
     9   epidemic that those orders were not shipped      9   Stahmann 6, paragraph 10, says, "That the
    10   until due diligence? You have no knowledge      10   report that you sent out is nothing more than
    11   of one order that you could point me to         11   an aggregate of completed transactions that
    12   saying that it wasn't shipped because due       12   did not comply with the requirement to report
    13   diligence wasn't performed?                     13   suspicious orders as discovered despite the
    14             MR. STOFFELMAYR: Objection to         14   title Respondent attached to these reports."
    15        form. Foundation.                          15   You have no information that that's an
    16             THE WITNESS: During that time         16   inaccurate statement, correct, sir?
    17        frame, I was not aware who the             17             MR. STOFFELMAYR: Objection to
    18        individual or people were conducting       18        the form.
    19        their due diligence about suspicious       19             THE WITNESS: I don't have any
    20        orders.                                    20        information that that is an incorrect
    21   QUESTIONS BY MR. MOUGEY:                        21        statement, no.
    22        Q. So the answer to my question            22   QUESTIONS BY MR. MOUGEY:
    23   is, yes, I can't point you to one single        23        Q. Sir, if you turn to page 27,
    24   order out of millions and millions of           24   the paragraph 11, the next page, last
    25   Schedule II and Schedule III opiate orders      25   sentence of that paragraph, "Respondent has
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     1   been unable to provide any files related to      1   QUESTIONS BY MR. MOUGEY:
     2   any effort to adequately verify the              2       Q. It's because you're not
     3   legitimacy of any particular order it shipped    3   looking.
     4   to its customer stores."                         4            So if you -- if you're looking
     5             Do you see that, sir?                  5   for Waldo and that's the due diligence files,
     6        A. I do.                                    6   do we go to the -- do we go to the
     7        Q. Do you have any information              7   distribution centers?
     8   sitting here today of where we can find the,     8            MR. STOFFELMAYR: I'm going to
     9   quote/unquote, due diligence files on any of     9       move to strike that weird little
    10   the suspicious orders?                          10       speech, and go ahead and answer the
    11             MR. STOFFELMAYR: Objection to         11       question if you remember what it is.
    12        the form.                                  12            THE WITNESS: Yes, I -- in my
    13             THE WITNESS: I -- I don't know        13       personal belief, I would recommend
    14        where to -- where any of that              14       starting with the distribution centers
    15        information would be able to be found.     15       to find those due diligence documents
    16   QUESTIONS BY MR. MOUGEY:                        16       or reports.
    17        Q. And if you had -- if we had to          17   QUESTIONS BY MR. MOUGEY:
    18   look, you would suggest that we go to the       18       Q. All right. Who do the
    19   distribution center management?                 19   distribution centers -- what was the title
    20        A. That would be my personal --            20   of those -- that you told us just -- to look
    21   yeah, my personal view, that would be my --     21   for them?
    22   the first place to start.                       22       A. The SAIL coordinators.
    23        Q. Do you have kids?                       23       Q. Who do they report to?
    24        A. Not yet.                                24       A. I do not know.
    25        Q. All right. My kids are old,             25       Q. Are there -- are there
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     1   but we used to look at this book. It used to     1   organizational charts at Walgreens that -- I
     2   drive me nuts. It's called -- name is            2   mean, if you wanted to know as manager of
     3   Finding Waldo or Nemo or something, and you      3   pharmaceutical integrity, where do you go to
     4   would have to look at this picture and find      4   find out, say, who the SAIL coordinators'
     5   this guy in this book, and that's kind of        5   bosses are?
     6   what we feel like right now where we're          6       A. There are --
     7   having to try to find within the Walgreens       7            MR. STOFFELMAYR: Excuse me.
     8   corporate structure the answer to a lot of       8       Objection to the form.
     9   this.                                            9            THE WITNESS: There are
    10            So you're telling me -- is it          10       organizational charts available at
    11   Nemo or Waldo?                                  11       Walgreens, but I don't know if that
    12            MS. POERSCHKE: Waldo.                  12       covers the distribution centers.
    13   QUESTIONS BY MR. MOUGEY:                        13       Obviously, now a lot of those
    14       Q. Waldo.                                   14       distribution centers -- a lot of them
    15            So if Walgreens is the finding         15       have been closed, so there's no way to
    16   Waldo book and we're looking for Waldo, if      16       go back and look.
    17   we're trying to figure out where the due        17   QUESTIONS BY MR. MOUGEY:
    18   diligence files on the suspicious orders, we    18       Q. If you go back to Stahmann 9,
    19   should go to the distribution centers and ask   19   which is the report, and go to Bates
    20   them?                                           20   number 5394. Now, let's do some -- it's
    21            MR. STOFFELMAYR: Objection to          21   getting late in the day so let's do some
    22       the form. And if you understand, go         22   rough math for a minute. Okay? Let's try to
    23       for it. I don't know what Waldo has         23   make it as easy as we can.
    24       to do with anything.                        24            So the formula that identifies
    25                                                   25   suspicious orders that Walgreens is using as
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     1   indicated here in the -- Stahmann 6 was a        1       the form.
     2   multiple of 3. Are we on the same page that      2            THE WITNESS: Based on all
     3   that's what Stahmann 6 indicates? The DEA        3       those assumptions, yes.
     4   formula was a multiple of 3?                     4   QUESTIONS BY MR. MOUGEY:
     5        A. That's what it states there,             5       Q. Yes. So let's do some rough
     6   but, again, I don't know what that factor or     6   math for a second.
     7   that formula involved.                           7            So if a pharmacy had 10,000
     8        Q. Sure, and that's why I said              8   oxycodone orders per month and the month when
     9   let's assume that that's -- that's accurate.     9   you were pulling this report it had 29,999
    10   Okay?                                           10   orders that month, it wouldn't be flagged as
    11             And we can see it on Stahmann 6       11   a suspicious order, right?
    12   that that's what appears to be used, correct,   12            MR. STOFFELMAYR: Objection to
    13   the multiple of 3?                              13       the form. Foundation.
    14             MR. STOFFELMAYR: Objection to         14            THE WITNESS: Again, I don't
    15        form.                                      15       know what the formula -- formula was
    16             THE WITNESS: It states that in        16       used to flag orders of interest or
    17        the document. I don't know if that's       17       suspicion, so I can't say that based
    18        exactly how that -- the calculation on     18       on that assumption those orders would
    19        these reports was used.                    19       appear or not appear on this report.
    20   QUESTIONS BY MR. MOUGEY:                        20   QUESTIONS BY MR. MOUGEY:
    21        Q. Well, let's just -- we're on            21       Q. Well, do you see, can you flip
    22   Bates number 5934, bottom of the page,          22   through the report and see if you see
    23   Suboxone is 12, times 3 is 36.                  23   anything else other than a multiple of 3?
    24             Do you see that?                      24       A. It will take me a while.
    25        A. I do see that.                          25       Q. Yeah, take your time. Why
                                              Page 327                                              Page 329
     1        Q. Okay. That appears to be a               1   don't you flip through there and see if you
     2   multiple of 3, right?                            2   see anything different than a multiple of 3
     3        A. It does.                                 3   on this sheet of paper.
     4        Q. And then below that, "Date               4       A. So far that appears to be the
     5   ordered, 5/26, 5/21, 5/19, 5/14, 5/12, 5/7."     5   case, yes.
     6             Do you see that?                       6       Q. All right. Now, based on your
     7        A. I do.                                    7   experience in the pharmaceutical --
     8        Q. Do you see how they have                 8            MR. STOFFELMAYR: He's still
     9   quantities right next to it?                     9       looking.
    10        A. Yes.                                    10            MR. MOUGEY: Oh, I'm sorry.
    11        Q. And those are totaled with 43,          11            THE WITNESS: Yes, they all
    12   right?                                          12       appear to be multiples of 3.
    13        A. Correct.                                13   QUESTIONS BY MR. MOUGEY:
    14        Q. Do you see the 119.44 percent?          14       Q. Okay. So let's just do some
    15        A. I do see that.                          15   rough math. All right. It's late, so help
    16        Q. So if you were to compare 36            16   me make sure I've got this right.
    17   and 43, 43 appears to be 119 percent of 36      17            But if in January of a given
    18   roughly, correct?                               18   year, Schedule II, OxyContin, highly
    19        A. I do see that.                          19   addictive, high probability for misuse,
    20        Q. So it appears, at least based           20   there's 10,000 orders, dosage units, right?
    21   on the report in front of us that you pulled    21       A. Okay.
    22   out of your e-mail box, that the DEA factor,    22       Q. And then the next month, if
    23   at least in this report, was a multiple of 3,   23   there was 29,900, that wouldn't appear as a
    24   correct?                                        24   suspicious order under the 3 multiple that
    25             MR. STOFFELMAYR: Objection to         25   we're looking at in this report given to the
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     1   DEA, right?                                      1   QUESTIONS BY MR. MOUGEY:
     2            MR. STOFFELMAYR: Objection to           2       Q. The formula, the 3 -- the
     3       the form. Lack of foundation.                3   multiple of 3?
     4            MR. MOUGEY: What's the                  4       A. It would be that individual who
     5       objection there, Kaspar?                     5   created that formula.
     6            MR. STOFFELMAYR: Completely             6       Q. And who would that be?
     7       misstated how the test works. It's an        7       A. That would be that Wayne
     8       average -- it's a base average order,        8   Bancroft individual.
     9       not the January -- January order             9       Q. You think Wayne Bancroft
    10       doesn't control February order.             10   created this formula?
    11            MR. MOUGEY: The base average           11       A. He did.
    12       order --                                    12       Q. So according to the DEA on
    13            MR. STOFFELMAYR: The average           13   page 26 in the paragraph 9, "The reports are
    14       order is not tied to the particular         14   based on a formula that assigns an average
    15       store.                                      15   monthly order for a particular drug which is
    16   QUESTIONS BY MR. MOUGEY:                        16   then multiplied by a DEA factor."
    17       Q. The base average order is                17           Do you see that?
    18   10,000?                                         18       A. I do see that.
    19       A. So if you're asking if that              19       Q. So do you have an understanding
    20   particular order would be flagged --            20   of what the average monthly order used for
    21       Q. Base average order of 10,000,            21   the base to apply the DEA factor of 3?
    22   that's where we're going to start. Okay?        22       A. I do not.
    23       A. Base average order of 10,000,            23       Q. You don't know?
    24   okay.                                           24       A. Nope.
    25       Q. And the next month there was             25       Q. You understand, and you would
                                              Page 331                                             Page 333
     1   29,900, based on the multiple of 3 formula       1   agree with me, that over a period of about
     2   used to generate the suspicious order report,    2   six months, every month the base average
     3   would that order be flagged?                     3   order would compound to a significant number
     4            MR. STOFFELMAYR: Objection to           4   potentially without creating a suspicious
     5       the form. Foundation.                        5   order report, right?
     6            THE WITNESS: Each individual            6            MR. STOFFELMAYR: Objection to
     7       month or order, I believe has its own        7       the form. Excuse me.
     8       mathematical logic behind it, so I --        8            THE WITNESS: I can't agree
     9       again, I don't know enough about that        9       with that. I don't know what would --
    10       mathematical formula, logic, to say         10       what logic is used to flag or to
    11       whether or not that order would be          11       populate that report with a suspicious
    12       flagged based on the quantity.              12       order or order of interest.
    13   QUESTIONS BY MR. MOUGEY:                        13   QUESTIONS BY MR. MOUGEY:
    14       Q. If it wasn't 3 times the base            14       Q. Well, how do you know this
    15   order amount, it wouldn't be flagged, right?    15   formula works?
    16            MR. STOFFELMAYR: Objection to          16            So when you went into
    17       form. Lack of foundation.                   17   pharmaceutical integrity department, you were
    18            THE WITNESS: I can't say that          18   promoted with a higher salary and a new title
    19       for certain.                                19   and you said, "I'm charged with complying
    20   QUESTIONS BY MR. MOUGEY:                        20   with the DEA MOU reached by Walgreens."
    21       Q. Who knows how this works?                21            Did you believe that the order
    22            MR. STOFFELMAYR: Objection to          22   in place at the time was working?
    23       the form. Foundation.                       23            MR. STOFFELMAYR: Objection to
    24            THE WITNESS: Which -- which            24       the form. Foundation.
    25       part of this?                               25            THE WITNESS: So this formula

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     1       was not used when I was part of             1       Q. It says, "According to
     2       pharmaceutical integrity.                   2   documents received from Walgreens corporate
     3   QUESTIONS BY MR. MOUGEY:                        3   headquarters on April 2, 2012, Walgreens
     4       Q. So Walgreens abandoned this              4   revised its suspicious order policy but made
     5   formula and came up with a new formula under    5   the policy retroactively effective to
     6   pharmaceutical integrity, correct?              6   January 1, 2012."
     7            MR. STOFFELMAYR: Objection to          7            Do you see that, sir?
     8       the form.                                   8       A. I do.
     9            THE WITNESS: When I was in             9       Q. Have I read that accurately?
    10       pharmaceutical integrity, this formula     10       A. You have.
    11       wasn't used because Walgreens wasn't       11       Q. "The policy states in pertinent
    12       part of distributing controlled            12   part that effective calendar year 2012, the
    13       substances. We had a different             13   controlled substance monitoring ordering and
    14       application to identify orders of          14   prevention system prevents suspicious
    15       interest.                                  15   controlled drugs from being shipped to the
    16            Sorry, let me rephrase. We            16   stores in calendar year 2012 because of the
    17       were beginning to get out of the           17   program mentioned. Suspicious controlled
    18       distribution business.                     18   drugs reports are no longer generated as
    19   QUESTIONS BY MR. MOUGEY:                       19   their shipment is prevented by the system."
    20       Q. You didn't get out of the               20            Do you see that, sir?
    21   distribution business in total until 2014,     21       A. I do.
    22   correct?                                       22       Q. Is that consistent with your
    23       A. I believe that's the very --            23   recollection of Walgreens policy in 2012?
    24   around the time where the very last order      24       A. That is my recollection.
    25   came out of the distribution center.           25       Q. That in 2012, there were not
                                             Page 335                                             Page 337
     1        Q. And as of early 2013, Walgreens         1   any suspicious orders being sent to the DEA?
     2   was still shipping Schedule IIs, correct?       2        A. My recollection is that I was
     3        A. I don't know exactly. A                 3   still burning CDs up and through to that
     4   minimal amount.                                 4   point, but I don't know if those reports were
     5        Q. Are you aware of whether or not         5   populated with anything.
     6   Walgreens in 2012 was sending suspicious        6            (Walgreens-Stahmann Exhibit 10
     7   order reports to the DEA?                       7        marked for identification.)
     8        A. 2012, I was aware because I was         8   QUESTIONS BY MR. MOUGEY:
     9   still sending those reports out.                9        Q. Okay. So let me hand you
    10        Q. You were still sending those           10   Stahmann 10. Corey, it's P-WAG5012.
    11   reports out in 2012?                           11            Just take a minute and read
    12        A. Up and to when I transferred           12   that one. While you're reading it, is that
    13   over to pharmaceutical integrity, yes.         13   your handwriting?
    14        Q. And do you have a specific             14        A. It is not.
    15   recollection of when that was?                 15        Q. Do you know whose handwriting
    16        A. Up until early 2013, I                 16   it is?
    17   officially transitioned over in April          17        A. No, I do not.
    18   of 2013, so up and through that time.          18        Q. All right. I'm sorry to
    19        Q. So you believe all the way             19   interrupt. Keep reading. Let me know when
    20   through 2012 suspicious order reports were     20   you're done.
    21   being sent?                                    21        A. Okay.
    22        A. Yes.                                   22        Q. All right. I'm having trouble
    23        Q. Sir, would you turn to                 23   making all of this out, but it appears, it
    24   paragraph 13 on page 27 of Stahmann 6?         24   says, in the handwriting, first sentence,
    25        A. I'm there.                             25   "End effective calendar year 2012 the" -- can
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     1   you make out what that next word is?            1   system prevents suspicious reports -- I'm
     2       A. Used title.                              2   sorry, suspicious orders from being shipped,
     3             MR. STOFFELMAYR: Oh, I thought        3   that that complies with the DEA regs to
     4       it said kettle.                             4   notify it of red flags or potential problems?
     5             THE WITNESS: Could be kettle.         5            MR. STOFFELMAYR: Objection to
     6             MR. STOFFELMAYR: Your kettle,         6       the form. Foundation.
     7       used title.                                 7            THE WITNESS: I can't speak to
     8   QUESTIONS BY MR. MOUGEY:                        8       whether or not Walgreens was in
     9       Q. "Prevent suspicious control              9       compliance to regulations as that
    10   drugs from being shipped to the stores."       10       wasn't part of my job to determine if
    11             Do you see that?                     11       Walgreens was compliant with
    12       A. I do.                                   12       regulations.
    13       Q. So according to this note, that         13   QUESTIONS BY MR. MOUGEY:
    14   any suspicious controlled drugs just weren't   14       Q. I know that's been your stock
    15   shipped, right?                                15   answer all day long about that it's not part
    16             MR. STOFFELMAYR: Objection to        16   of your job. Anything about regulations, you
    17       the form.                                  17   didn't know. That wasn't part of your gig.
    18             THE WITNESS: I don't know            18   I mean, you've -- in 2013 were the manager
    19       if -- I can't speak to whether or not      19   for an entire region of ensuring that DEA
    20       suspicious orders were being shipped       20   requirements were met. A subject matter
    21       or not. That wasn't part of my             21   expert on DEA requirements.
    22       responsibility back then.                  22            You don't know whether a system
    23   QUESTIONS BY MR. MOUGEY:                       23   stopping from suspicious orders being sent
    24       Q. In calendar 2012, because of            24   and, therefore, not reported complies with
    25   the program mentioned, suspicious controlled   25   the CSA requirements?
                                             Page 339                                             Page 341
     1   drug reports were no longer generated as        1             MR. STOFFELMAYR: Okay. I'm
     2   their shipment as {sic} prevented by the        2        going to object and ask you to stop
     3   system, right?                                  3        arguing with the witness. And
     4       A. I do see that written here,              4        multiple objections to form.
     5   yes.                                            5   QUESTIONS BY MR. MOUGEY:
     6       Q. So it's possible that you were           6        Q. Are you -- are you the subject
     7   pulling and burning these reports on a CD in    7   matter -- are you one of the subject matter
     8   2012 and they were empty?                       8   experts on all systems, applications and
     9       A. Yes.                                     9   initiatives related to inventory movement,
    10       Q. So when you say you weren't             10   prescription monitoring and processing and
    11   making a deep dive into these reports, is it   11   DEA requirements at Walgreens?
    12   actually accurate that you weren't really      12             MR. STOFFELMAYR: Objection to
    13   even looking at them?                          13        the form.
    14            MR. STOFFELMAYR: Objection to         14             THE WITNESS: I was -- I am one
    15       form.                                      15        of the subject matter experts, but I
    16            THE WITNESS: I can't recall           16        cannot speak to whether or not our
    17       whether or not which reports I looked      17        systems were compliant to DEA or
    18       into or dove into.                         18        federal regulations.
    19   QUESTIONS BY MR. MOUGEY:                       19   QUESTIONS BY MR. MOUGEY:
    20       Q. And you see the part in the             20        Q. Who do you think was
    21   circle underneath the text box that says,      21   responsible for ensuring that the
    22   "Stops reports from being made."               22   prescription monitoring and processing,
    23            Correct?                              23   applications, inventory movement, all
    24       A. That's what it states here.             24   systems, would be responsible for ensuring
    25       Q. Do you believe if Walgreens'            25   they complied with DEA codes and regs?
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     1       A. I would have to assume that it            1       different than what's on the screen.
     2   was our compliance and legal teams.              2            MR. MOUGEY: There's two of
     3       Q. So the compliance and the legal           3       them that are almost exactly alike.
     4   teams were responsible for ensuring that the     4       All right. Let me stick with the one
     5   DEA -- the Controlled Substance Act and the      5       you have in front of you.
     6   regs thereunder were complied with?              6   QUESTIONS BY MR. MOUGEY:
     7       A. Correct.                                  7       Q. "The administration manager
     8            (Walgreens-Stahmann Exhibit 11          8   must complete the report of theft of {sic}
     9       marked for identification.)                  9   loss controlled substances, DEA Form 106,
    10   QUESTIONS BY MR. MOUGEY:                        10   when any of the following circumstances
    11       Q. Let me hand you what I've                11   occur," correct?
    12   marked as Stahmann 11.                          12       A. That's what it states here,
    13            This document is titled                13   yes.
    14   "Handling Suspicious Drugs Orders."             14       Q. All right. So it lists DEA
    15            Do you see that?                       15   Form 106, which is a theft of controlled
    16       A. "Handling Suspicious Orders,"            16   substances, correct?
    17   yes.                                            17       A. Yes.
    18       Q. Yes, sir.                                18       Q. A substantial loss, correct?
    19            "Effective calendar year 2012,         19       A. Yes.
    20   the controlled substance order monitoring and   20       Q. And all in transit losses are
    21   prevention system prevents suspicious           21   thefts, correct?
    22   controlled drugs from being shipped to the      22       A. Correct.
    23   stores."                                        23       Q. Those are the shrinkage
    24            Do you see that, sir?                  24   instances or examples that we discussed
    25       A. Yes.                                     25   earlier this morning, correct?
                                             Page 343                                              Page 345
     1       Q. "In calendar year 2012, because           1       A. Yes.
     2   of the program mentioned, suspicious             2       Q. Okay. And that's what's sent
     3   controlled drug reports are no longer            3   to the DEA, correct?
     4   generated as their shipment is prevented by      4       A. That is what we are reported --
     5   the system," correct, sir?                       5   required to report for any types of loss of
     6       A. I do see that, yes.                       6   controlled substances.
     7       Q. "The logistics and planning               7            (Walgreens-Stahmann Exhibit 12
     8   department sends the suspicious controlled       8       marked for identification.)
     9   drug order reports to all distribution           9   QUESTIONS BY MR. MOUGEY:
    10   centers," correct?                              10       Q. Let me hand you what I've
    11            MR. STOFFELMAYR: Where are you         11   marked as Stahmann 12 titled "Handling
    12       reading?                                    12   Suspicious Drug Orders."
    13   QUESTIONS BY MR. MOUGEY:                        13            "Effective calendar year 2012,
    14       Q. "The logistics and planning              14   the controlled substance order monitoring and
    15   department sends the suspicious controlled      15   prevention systems prevents suspicious
    16   drug orders to all distribution centers."       16   controlled drugs from being shipped to the
    17            Do you see that sentence?              17   stores in calendar year 2012. Because of the
    18       A. I'm looking --                           18   program mentioned, suspicious controlled drug
    19            MR. STOFFELMAYR: I'm not               19   reports are no longer generated as their
    20       trying to be dense, but I honestly          20   shipment is prevented by the system."
    21       don't see.                                  21            Do you see that, sir?
    22            THE WITNESS: I don't. I don't          22       A. Yes.
    23       know if this is an older version.           23       Q. Okay. And that sounds very
    24       That is not on this one.                    24   similar to the handwritten note we looked at
    25            MR. STOFFELMAYR: Exhibit 11 is         25   in two previous exhibits, correct?

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     1       A. Yes, it's very similar.                   1       Q. Do you agree with that
     2       Q. And the handling suspicious               2   statement?
     3   drug orders, Walgreens' internal document        3            MR. STOFFELMAYR: Objection to
     4   goes on to "the logistics and planning           4       the form. Foundation.
     5   department sends the suspicious control drug     5            THE WITNESS: Based on how that
     6   ordering report to all distribution centers,"    6       is written here, that can be
     7   right?                                           7       interpreted a different way.
     8       A. That's what it says.                      8   QUESTIONS BY MR. MOUGEY:
     9       Q. Not to the DEA, correct?                  9       Q. The DEA wants to know -- go
    10       A. I honestly do not know who the           10   back to the document we looked at this
    11   logistics and planning department is. I do      11   morning, ferreting out potential illegal
    12   not recall that department during my time at    12   activity. They want to know about suspicious
    13   Walgreens.                                      13   orders, right? They want to know what
    14       Q. Now, let's go back to                    14   potential problems are, correct?
    15   Stahmann 6, which is the big binder,            15            MR. STOFFELMAYR: Objection to
    16   paragraph 13.                                   16       the form.
    17            MR. STOFFELMAYR: What page?            17            THE WITNESS: I can't speak to
    18            MR. MOUGEY: Page 27.                   18       what the DEA is looking for in terms
    19   QUESTIONS BY MR. MOUGEY:                        19       of orders or what they're asking for
    20       Q. It begins with "According to             20       to investigate.
    21   documents," right?                              21   QUESTIONS BY MR. MOUGEY:
    22            We started to read this                22       Q. Sir, as a project manager in
    23   earlier.                                        23   pharmacy loss prevention, you are the subject
    24       A. Yes.                                     24   matter expert on DEA requirements. You're
    25       Q. It says, "The policy states in           25   not aware that the DEA wants to know about
                                              Page 347                                             Page 349
     1   pertinent part that effective calendar year      1   suspicious orders; they want the information
     2   2012," and that's the statement we just read,    2   to ferret out potential problems, correct?
     3   correct?                                         3             MR. STOFFELMAYR: Objection to
     4       A. Yes.                                      4        the form. Foundation.
     5       Q. The paragraph goes on, "In                5             THE WITNESS: Again, I can't
     6   calendar year 2012, because of the program       6        speak to what the DEA wants or what
     7   mentioned, suspicious controlled drug reports    7        their intentions are with these
     8   are no longer generated as their shipment is     8        reports.
     9   prevented by the system," which is the same      9   QUESTIONS BY MR. MOUGEY:
    10   sentence we just went through in the            10        Q. Well, how are you the subject
    11   Walgreens document, correct?                    11   matter expert on DEA requirements, including
    12       A. Yes.                                     12   prescription monitoring and processing, but
    13       Q. On page 28 of Stahmann 6,                13   today, sitting here, you don't know whether
    14   paragraph 14, "This policy ignores the fact     14   it's important that the DEA has information
    15   that the reporting requirement of 21 CFR        15   regarding suspicious shipments?
    16   Section 1301.74 B applies to orders, not        16             MR. STOFFELMAYR: Objection to
    17   shipments."                                     17        the form.
    18            Do you see that, sir?                  18             THE WITNESS: I do not know if
    19       A. I do.                                    19        the DEA -- or what information the
    20       Q. "A suspicious order placed by a          20        DEA -- the DEA has regarding
    21   customer pharmacy is made no less suspicious    21        suspicious orders or shipments.
    22   by application of a system designed to reduce   22   QUESTIONS BY MR. MOUGEY:
    23   or eliminate such orders prior to shipping."    23        Q. So in paragraph 15,
    24            Do you see that, sir?                  24   "Respondent's local DEA field office with the
    25       A. I do.                                    25   Miami field division has not received a
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     1   suspicious order report for any orders placed    1        paragraph.
     2   in 2012," correct, sir?                          2             Go ahead and answer the
     3        A. I do see that.                           3        question he asked again.
     4        Q. "Despite the fact that                   4             THE WITNESS: I don't agree to
     5   Respondent has received and shipped multiple     5        that statement. I do see that's
     6   orders that" -- "this year, using the            6        written here, but again, I don't know
     7   criteria Walgreens employed in 2011, would       7        who is making that claim or if that's
     8   have exceeded the trigger amount previously      8        an accurate statement or not.
     9   used to report these sales."                     9   QUESTIONS BY MR. MOUGEY:
    10             Do you see that, sir?                 10        Q. And as a result of DEA's belief
    11        A. I do.                                   11   of the systemic shortcomings, it padlocked
    12        Q. And, sir, this is at the same           12   the Jupiter distribution center, correct,
    13   exact time that a number of pill mills were     13   sir?
    14   shut down in the state of Florida, correct,     14             MR. STOFFELMAYR: Objection to
    15   sir?                                            15        the form. Foundation.
    16             MR. STOFFELMAYR: Objection to         16             THE WITNESS: Again, I don't
    17        the form.                                  17        know the reasoning why the DEA shut
    18             THE WITNESS: It was around            18        down the Jupiter distribution center.
    19        that time, but I don't know when           19   QUESTIONS BY MR. MOUGEY:
    20        specific pill mills were shut down.        20        Q. Was the DEA also looking at the
    21   QUESTIONS BY MR. MOUGEY:                        21   Perrysburg distribution center?
    22        Q. And you're aware, sir, that             22        A. I have no idea if the DEA was
    23   Walgreens Schedule II and Schedule III          23   looking at the Perrysburg distribution
    24   dispensing went up dramatically in 2011 and     24   center.
    25   2012, correct?                                  25        Q. Would you be surprised to know
                                              Page 351                                            Page 353
     1            MR. STOFFELMAYR: Objection to           1   if the DEA had sent a subpoena to the
     2       the form. Foundation.                        2   Perrysburg distribution center in early 2012?
     3            THE WITNESS: I can't tell you           3        A. It wouldn't be shocking, no.
     4       where or how much of an increase of          4        Q. I'm sorry?
     5       prescription -- any type of                  5        A. It would not be shocking.
     6       prescription sales increased anywhere        6        Q. Why would it not be shocking?
     7       in the country.                              7        A. In my current role, we're
     8   QUESTIONS BY MR. MOUGEY:                         8   regular -- regularly contacted by the DEA
     9       Q. Sir, would you please turn to             9   with subpoenas.
    10   page number 33 of Stahmann 6 and go to          10        Q. That paragraph continues, "On
    11   paragraph 23.                                   11   the contrary when a company undertakes to
    12            After reviewing this document          12   survey its stores for regulatory compliance,
    13   now, which is a -- 343 pages of orders,         13   then selectively edits that survey for the
    14   proffered testimony from the DEA, settlement    14   explicit purpose of avoiding evidence of its
    15   agreements, let's go back to where we started   15   own noncompliance as Walgreens apparently did
    16   this morning.                                   16   in May of 2011, claims of ineffective
    17            Paragraph 23, "Voluntary               17   remedial measures have less credibility."
    18   dispensing restrictions enacted either in       18             Sir, what do you think about
    19   anticipation of or in reaction to regulatory    19   the tone of that last sentence in the DEA
    20   action do not indicate to me that Respondent    20   about Walgreens' compliance with CSA
    21   and its parent company have recognized and      21   regulations?
    22   adequately reformed the systemic shortcomings   22             MR. STOFFELMAYR: Objection to
    23   discussed therein," correct, sir?               23        the form.
    24            MR. STOFFELMAYR: I'm going to          24   QUESTIONS BY MR. MOUGEY:
    25       object to the form and the windup           25        Q. Does it give you pause for

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     1   concern?                                         1   its contents available to Walgreens for any
     2            MR. STOFFELMAYR: Objection to           2   lawful transfer or reverse distribution of
     3       the form.                                    3   this inventory contained therein to an
     4            THE WITNESS: I can't speak to           4   appropriate DEA registrant."
     5       the tone of the DEA when whoever wrote       5             Do you see that?
     6       this wrote this. I mean, it's very           6        A. Yes.
     7       difficult for me to judge tone based         7        Q. What does -- do you have an
     8       on words that are in -- in here.             8   understanding of what "reverse distribution
     9   QUESTIONS BY MR. MOUGEY:                         9   of inventory contained therein" mean?
    10       Q. It's difficult for you to gauge          10        A. Yes.
    11   tone based on words; is that your testimony?    11        Q. What does that mean,
    12            MR. STOFFELMAYR: Objection to          12   Mr. Stahmann?
    13       the form.                                   13        A. Reverse distribution would be
    14            THE WITNESS: In this                   14   send it back to the manufacturers that the
    15       particular context, yes.                    15   product came from.
    16   QUESTIONS BY MR. MOUGEY:                        16        Q. The DEA is saying that we'll
    17       Q. It goes on. It says, "I gave             17   take off the padlock, but Walgreens is not
    18   significant weight to the fact that Walgreens   18   going to sell Schedule II and Schedule III
    19   appears to have deliberately structured         19   narcotics in that distribution center. They
    20   certain of its anti-diversion measures to       20   need to send them back to the manufacturer,
    21   avoid learning about and/or documenting         21   correct, sir?
    22   evidence consistent with diversion."            22             MR. STOFFELMAYR: Objection to
    23            Do you see that, sir?                  23        the form. Foundation.
    24       A. I do.                                    24             THE WITNESS: I don't know if
    25       Q. "At best, I regard this as a             25        that's what they mean by that. It can
                                              Page 355                                            Page 357
     1   deliberate indifference on Walgreens' part as    1        be inferred, but lawful transfer can
     2   to its obligations as a DEA registrant."         2        mean transfer to other pharmacies or
     3             Do you see that, sir?                  3        other distribution centers as well.
     4        A. I do.                                    4   QUESTIONS BY MR. MOUGEY:
     5        Q. Does any of those last few               5        Q. A reverse distribution of the
     6   sentences give you pause for concern about       6   inventory contained therein can mean send
     7   DEA's conclusion regarding DEA's                 7   back to other pharmacies?
     8   shortcomings, fulfilling its regulatory          8        A. Lawful transfer could mean
     9   obligations?                                     9   that.
    10             MR. STOFFELMAYR: Objection to         10        Q. Yes, sir.
    11        the form.                                  11             But DEA was not allowed --
    12             THE WITNESS: I can't speak to         12   going to allow Walgreens to distribute
    13        the -- what the DEA or whoever wrote       13   Schedule II and III narcotics out of its
    14        this, the individual that wrote this,      14   Jupiter distribution center.
    15        their intent or tone on how they wrote     15             MR. STOFFELMAYR: Objection to
    16        this or why they wrote that.               16        the form.
    17   QUESTIONS BY MR. MOUGEY:                        17             THE WITNESS: I don't know what
    18        Q. Excuse me, Mr. Stahmann, just           18        the DEA would allow or not allow
    19   one second. Stahmann 6, page 7, 4B. Let me      19        Walgreens to distribute out of the
    20   know when you get there.                        20        distribution centers.
    21        A. I am there.                             21   QUESTIONS BY MR. MOUGEY:
    22        Q. Okay. "Within five business             22        Q. Sir, this is at a point in time
    23   days of the effective date of this agreement,   23   when you are manager of the pharmacy
    24   DEA agrees to unlock the controlled substance   24   integrity department for Walgreens, correct,
    25   storage area at Walgreens Jupiter and make      25   sir?
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     1        A. This took place before -- this           1             THE WITNESS: I do not know who
     2   memorandum of agreement was signed before I      2        made the decision or why the decision
     3   transferred over to pharmaceutical integrity.    3        was made.
     4        Q. How do you know, looking at              4   QUESTIONS BY MR. MOUGEY:
     5   this document, when it was signed?               5        Q. What I asked was a little
     6        A. I believe the memorandum --              6   different.
     7   from my recollection, the memorandum of          7             Did you have any understanding
     8   agreement was in place before I transferred      8   of whether or not Walgreens' decision to get
     9   to Walgreens pharmaceutical integrity.           9   out of distribution business in 2013 and 2004
    10        Q. It happened almost on top of            10   {sic} was related to the settlement with the
    11   it, did it not, Mr. Stahmann?                   11   DEA as we've been through here the last
    12             You started in Walgreens              12   couple of hours?
    13   pharmaceutical integrity department in early    13             MR. STOFFELMAYR: Objection to
    14   2013, and this document was also executed in    14        the form.
    15   early 2013, correct?                            15             THE WITNESS: Again, I don't
    16             MR. STOFFELMAYR: Objection to         16        know if it was related specifically or
    17        form.                                      17        solely on the memorandum of agreement.
    18             THE WITNESS: I don't recall           18   QUESTIONS BY MR. MOUGEY:
    19        when this document was executed or         19        Q. Do you have any understanding
    20        signed. I only recall when I was made      20   of whether the Jupiter distribution center
    21        aware of this document, which was          21   was responsible for shipping Schedule II and
    22        around the time -- this document           22   III narcotics into Ohio?
    23        existed -- I was part of                   23        A. I am unaware. I do not know.
    24        pharmaceutical integrity when I made       24        Q. Do you have any idea of who
    25        aware -- when I was made aware of this     25   supplied the pharmacies in Ohio with
                                              Page 359                                             Page 361
     1       document.                                    1   Schedule II and Schedule III narcotics?
     2   QUESTIONS BY MR. MOUGEY:                         2       A. I believe it was Perrysburg.
     3       Q. How long after you started with           3            (Walgreens-Stahmann Exhibit 13
     4   the pharmaceutical integrity department were     4       marked for identification.)
     5   you made aware of this document?                 5   QUESTIONS BY MR. MOUGEY:
     6       A. A few months.                             6       Q. I'll hand you what I've
     7       Q. Did you live in Deerfield when            7   marked -- I hand you what I'm marking as
     8   you began with the pharmaceutical integrity      8   Stahmann 13.
     9   department?                                      9            What I've put in front of you,
    10       A. I did not.                               10   Mr. Stahmann, is a report generated out of
    11       Q. Where did you live?                      11   the ARCOS database.
    12       A. At that time I was living in             12            All right, sir?
    13   Chicago.                                        13       A. Okay.
    14       Q. And how far is Deerfield from            14       Q. And the data was exported into
    15   Chicago?                                        15   an Excel spreadsheet. All right?
    16       A. I don't know miles. The drive,           16            If you would, on Stahmann 13,
    17   depending on traffic, an hour and a half,       17   do you see the Walgreens, which are
    18   hour and 15 minutes.                            18   highlighted for you, on Pearl Road in
    19       Q. Do you have any understanding            19   Cleveland?
    20   of whether Walgreens' decision to get out of    20       A. I do see that.
    21   the distribution business in 2013 and 2014      21       Q. All right. So do you have any
    22   was because of the regulatory settlement with   22   independent knowledge --
    23   the DEA?                                        23            MR. STOFFELMAYR: You know
    24            MR. STOFFELMAYR: Objection to          24       what, sorry, can we take a timeout for
    25       the form.                                   25       a second? I don't think he signed the
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     1      ARCOS protective order, so if this is        1        Q. So what I want you to see or
     2      data you guys generated out of the           2   help me walk through here is you see the
     3      ARCOS database that includes                 3   company -- let's start off in the upper
     4      information other than about                 4   left-hand corner.
     5      Walgreens, I don't know where that --        5             You see the address, Walgreens
     6      I don't want to be associated with           6   Company, 5400 Pearl Road, right?
     7      messing with the DEA on this.                7        A. I see that.
     8            I'm going to turn this over            8        Q. Parma, Ohio, okay, which is in
     9      until we figure this out. I'm sorry.         9   Cleveland, in Cuyahoga County.
    10            MR. MOUGEY: Well, let's just          10             Underneath "Company" in the
    11      grab a -- if you're worried about it,       11   left-hand column, you see "Cardinal Health"
    12      let's grab a protective order and sign      12   and "Walgreens"?
    13      it.                                         13        A. I do.
    14            MR. STOFFELMAYR: Well, I'm            14        Q. And underneath the state and
    15      not -- I mean, he's in the business         15   ZIP, you see "Cardinal Health-West Virginia"
    16      function. I mean, I can't speak for         16   and "Walgreens" with Florida 3378 {sic} and
    17      anybody else, but the rule has been         17   Ohio 43551.
    18      that business people in business            18             Right?
    19      functions aren't supposed to know           19        A. I do.
    20      competitors' information.                   20        Q. Do you recognize the Walgreens,
    21            MS. SWIFT: And that's under           21   Florida 33478 as the Jupiter distribution
    22      the regular protective order you --         22   center?
    23      but, yeah.                                  23             MR. STOFFELMAYR: Objection to
    24            MR. STOFFELMAYR: Is there a           24        the form. Lack of foundation.
    25      way to ask him questions you want to        25             THE WITNESS: I don't based off
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     1       about Walgreens without showing him         1        of just that ZIP code if that is
     2       all the information about all the           2        referring to the Jupiter distribution
     3       other pharmacies out here?                  3        center.
     4            MR. MOUGEY: Sure. Let's pull           4   QUESTIONS BY MR. MOUGEY:
     5       off the front page. Take off the            5        Q. All right. Oxycodone, you see
     6       front page of Stahmann 9 {sic}, and         6   a total between Cardinal and Walgreens of
     7       the first page should be 19 of -- 19        7   168,200 dosage units, correct?
     8       of 414.                                     8        A. I do see that number, yes.
     9            Yeah, I'm sorry. Did we go --          9             MR. STOFFELMAYR: Objection.
    10       did we go off, or are we still on?         10        Objection to lack of foundation.
    11            MR. STOFFELMAYR: Okay. So             11   QUESTIONS BY MR. MOUGEY:
    12       Exhibit 13 is the same document minus      12        Q. And Walgreens out of Florida,
    13       the first page?                            13   163,200, correct?
    14            MR. MOUGEY: Right. Which              14             MR. STOFFELMAYR: Same
    15       only -- from here on out only              15        objection.
    16       contains -- only contains Walgreens        16             THE WITNESS: I see that number
    17       data.                                      17        here, yes.
    18   QUESTIONS BY MR. MOUGEY:                       18   QUESTIONS BY MR. MOUGEY:
    19       Q. I will represent to you --              19        Q. And that's oxycodone, correct?
    20   well, that the Walgreens pharmacy, you have    20        A. Yes, I see that number written.
    21   two of them that we're about ready to go       21        Q. According to what -- the
    22   through, are the -- two of the largest six     22   spreadsheet I put in front of you, correct,
    23   dispensers in Cuyahoga.                        23   sir?
    24            Okay?                                 24        A. Yes.
    25       A. Okay.                                   25        Q. And you see it's 2006, correct,
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     1   sir?                                             1       report, yes.
     2       A. I do see that.                            2   QUESTIONS BY MR. MOUGEY:
     3       Q. And do you see going down the             3       Q. An increase from 2006, just
     4   page, 2006, 2007, 2008, 2009, 2010, correct?     4   three years before, of 131,000 dosage units,
     5       A. I do see that.                            5   correct, sir?
     6       Q. And do you see the dosage units           6       A. That is the increase that is
     7   going into Walgreens on 5400 Pearl Road going    7   depicted here.
     8   from 168,000 to 199,000 in one calendar year,    8       Q. Yes, sir.
     9   2007?                                            9            And that's approximately an
    10            MR. STOFFELMAYR: Lack of               10   80 percent increase from 2006 to 2009,
    11       foundation. Objection.                      11   according to this report, correct, sir?
    12            THE WITNESS: I see that number         12       A. According to this report, yes.
    13       increased from 168 to 199 based on          13       Q. And you can see that, at least
    14       this report, yes.                           14   according to this report, that the -- under
    15   QUESTIONS BY MR. MOUGEY:                        15   state ZIP, the distributor changes from
    16       Q. Yes, sir.                                16   Florida to Ohio, correct, sir, under the
    17            And that's approximately 31,000        17   Walgreens, correct?
    18   dosage units, correct, sir?                     18            MR. STOFFELMAYR: Object to
    19            MR. STOFFELMAYR: Objection.            19       lack of foundation.
    20       Lack of foundation.                         20   QUESTIONS BY MR. MOUGEY:
    21   QUESTIONS BY MR. MOUGEY:                        21       Q. According to this report?
    22       Q. Difference between the 168 and           22       A. According to this report, but I
    23   the 199, right?                                 23   don't know if that's true or not. I don't
    24       A. Approximately, yes.                      24   have time frames of when it switched from
    25       Q. Yes, sir.                                25   Florida to Ohio.
                                              Page 367                                             Page 369
     1            And that's a little short of            1      Q.     Yes, sir.
     2   20 percent increase, correct? Calendar year      2            And oxycodone at the bottom of
     3   2006 to 2007, correct?                           3   this page in 2010 increases to 361,000
     4        A. It's about right, yes.                   4   according to this report, correct, sir?
     5        Q. And in 2008, the number of               5            MR. STOFFELMAYR: Object to
     6   OxyContin dosage -- the oxycodone dosage         6       lack of foundation.
     7   units goes from 199 to 242, correct?             7            THE WITNESS: According to this
     8            MR. STOFFELMAYR: Objection.             8       report, yes.
     9        Lack of foundation.                         9   QUESTIONS BY MR. MOUGEY:
    10            THE WITNESS: I see that number         10       Q. It's approximately 110,
    11        written here.                              11   115 percent increase from the year 2006 to
    12   QUESTIONS BY MR. MOUGEY:                        12   2010 of dosage units dispensed through
    13        Q. Yes, sir.                               13   Walgreens on 5400 Pearl Road, correct, sir?
    14            And from 2006 to 2009,                 14            MR. STOFFELMAYR: Same
    15   according to the report I've put in front of    15       objection.
    16   you, the numbers increased by approximately     16            THE WITNESS: That's what it
    17   80,000 dosage units, correct, sir?              17       states, but it does not give the
    18        A. I do see that.                          18       reasoning behind why the percentage
    19        Q. And if you go to 2009, the              19       increased.
    20   number of dosage units according to this        20   QUESTIONS BY MR. MOUGEY:
    21   report of oxycodone goes to 299,000, correct,   21       Q. Yes, sir.
    22   sir?                                            22            Would this in your role as
    23            MR. STOFFELMAYR: Object to             23   Walgreens in either loss prevention, business
    24        lack of foundation.                        24   analyst, senior analyst, pharmaceutical
    25            THE WITNESS: According to this         25   integrity department, would an increase as
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     1   indicated on this report from 168,000 dosage     1        state percentage on this report.
     2   units in '06 increasing year to year to year     2             So there's a lot of questions
     3   until 361,200 in 2010, would that give you       3        that I would have to ask to determine
     4   pause for a concern?                             4        why those orders are going up, and it
     5            MR. STOFFELMAYR: Objection to           5        wouldn't necessarily mean that these
     6       the form. Lack of foundation.                6        orders are suspicious. There could be
     7            THE WITNESS: It would give me           7        businesses that closed down. We could
     8       a pause of concern if there were no          8        have obtained buyouts or file buys
     9       reasoning of why that increase               9        from other pharmacies or chains, just,
    10       occurred. There could be from just --       10        for instance, Happy Harry's or other
    11       off the top of my head, a handful of        11        buyouts of pharmacy chains that we
    12       reasons why that increase would be          12        acquired throughout the -- this time
    13       legitimate.                                 13        frame.
    14   QUESTIONS BY MR. MOUGEY:                        14   QUESTIONS BY MR. MOUGEY:
    15       Q. Yes, sir.                                15        Q. Sure. That would act as a
    16            And would it, in your mind,            16   catalyst for you to ask questions, correct,
    17   these increases, these annual increases,        17   sir?
    18   caused the local distribution center to         18             All of those issues you just
    19   perform some due diligence as to why the        19   raised would be questions that you would ask
    20   increases year to year to year, correct, sir?   20   when looking at these numbers and increases
    21            MR. STOFFELMAYR: Objection to          21   year to year, correct, sir?
    22       the form. Lack of foundation.               22             MR. STOFFELMAYR: Objection to
    23            THE WITNESS: I can't speak on          23        the form. Lack of foundation.
    24       behalf of the distribution center           24             THE WITNESS: Personally, I can
    25       whether or not they felt that these         25        say that, yes, I would ask questions.
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     1       increases would lead to or would be          1       However, I can't speak on behalf of
     2       required to perform due diligence.           2       the team that -- that's performed the
     3   QUESTIONS BY MR. MOUGEY:                         3       due diligence, what their take on this
     4       Q. Okay. But what I'm asking is              4       report would be.
     5   you sitting here today, in all the various       5   QUESTIONS BY MR. MOUGEY:
     6   roles that you've spent now at Walgreens over    6       Q. Yes, sir.
     7   approximately 12 years, would these              7            And if they did ask questions
     8   year-to-year increases of oxycodone dosage       8   and they did document their resolution of
     9   units, 168,000 to 199,000 to 242,000, to         9   their concerns, you would expect that to be
    10   299,000 to 110 percent increase in a matter     10   saved in a file in the distribution centers,
    11   of a few years to 361,000, cause you to want    11   correct, sir?
    12   to perform some due diligence or ask some       12            MR. STOFFELMAYR: Objection to
    13   questions about the increase?                   13       the form. Foundation.
    14            MR. STOFFELMAYR: Objection to          14            THE WITNESS: I don't know how
    15       the form. Lack of foundation.               15       they conducted their due diligence, if
    16            THE WITNESS: If you're asking          16       there were conversations over the
    17       for my particular advice on this, just      17       phone or just in-person meetings. I
    18       looking at this report, there's a lot       18       have no idea how they performed their
    19       of things that I would question, like       19       due diligence.
    20       on MME percentile from the state, it's      20   QUESTIONS BY MR. MOUGEY:
    21       actually showing a decrease going down      21       Q. Now, when you were in law
    22       from year to year. So even though the       22   enforcement and you were out questioning
    23       orders are going up, the percentage of      23   witnesses or doing surveillance, would you
    24       Walgreens medications -- the                24   make notes of your conversations?
    25       percentage is lowering based on the         25       A. Not all the time, no.
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     1       Q. And would you -- when you did             1   anybody's responsibility.
     2   make notes of those conversations, would you     2        Q. Sir, do you believe that one
     3   go back and look at those notes at a later       3   metric to use when asking questions about
     4   point?                                           4   month-to-month or year-to-year increases in
     5       A. Possibly, yes.                            5   dosage units is the percentage of Schedule II
     6       Q. Because when you're going to              6   and III narcotics of an overall dispensing
     7   review the file at maybe months down the         7   practice in a pharmacy?
     8   road, you want to go refresh your memory         8        A. Can you restate that for me?
     9   about what you asked maybe months before,        9        Q. Sure.
    10   correct?                                        10        A. I was confused by the question.
    11       A. Personally, yes.                         11        Q. So isn't it important to
    12       Q. Yes, sir.                                12   understand a combination of Schedule II and
    13            And it's good business practice        13   III, the percentage of the total dispensing
    14   for witness interviews, any documentation,      14   in that pharmacy?
    15   mental notes, impressions, whatever questions   15        A. It is important based on that
    16   you answered in law enforcement, to make a      16   pharmacy's business, yes.
    17   record of that, correct, sir?                   17        Q. Yes.
    18            MR. STOFFELMAYR: Objection to          18             And do you, based on your
    19       the form. Foundation.                       19   experience, have an understanding of what an
    20            THE WITNESS: I can't speak on          20   appropriate range is of Schedule II and
    21       what good business practices are. I         21   Schedule III percentages of an overall
    22       can just tell you what I did as a law       22   pharmacy's dispensing practice?
    23       enforcement officer.                        23        A. I do not know that there is a
    24   QUESTIONS BY MR. MOUGEY:                        24   standard range just because certain
    25       Q. When you were in law                     25   pharmacies based on where they're located
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     1   enforcement and you filled out an arrest         1   could have an increase of certain types of
     2   report, that contained information that you      2   medications. So if it's located next to a
     3   wrote down, correct?                             3   hospital, a trauma unit or a specialty site,
     4        A. At times, yes.                           4   they may have an increase of certain
     5        Q. Yes, sir.                                5   medications based on a store of similar size
     6             And it was stored and kept in a        6   in a different part of the country.
     7   file for review at a later point, correct,       7       Q. Yes, sir.
     8   sir?                                             8             But part of the job of spotting
     9        A. Correct.                                 9   red flags, part of the responsibilities of
    10        Q. And at any point in time at             10   Walgreens to identify suspicious orders, that
    11   Walgreens when you were with pharmaceutical     11   metric would potentially be helpful, could it
    12   integrity, have you asked anyone to go back     12   not?
    13   and look at due diligence files so you could    13             MR. STOFFELMAYR: Objection to
    14   see what questions were -- were asked with      14       the form.
    15   increasing dispensing?                          15             THE WITNESS: It is one metric
    16        A. I did not because it was not            16       that could provide insight, but not --
    17   part of my job functions.                       17       it's not solely used as a red flag.
    18        Q. Was it part of anyone's job             18   QUESTIONS BY MR. MOUGEY:
    19   functions as you were helping develop the       19       Q. Well, I wasn't asked if it was
    20   pharmaceutical integrity department to go       20   the sole use, but it is a useful metric when
    21   back and look at due diligence files and        21   determining if a pharmacy is out of balance
    22   answer questions that may pop up looking at     22   with having a disproportionately high
    23   year-to-year or month-to-month dispensing       23   dispensing rate of Schedule II and
    24   increases?                                      24   Schedule IIIs, correct?
    25        A. I don't know if it was                  25             MR. STOFFELMAYR: Objection to
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     1        the form.                                   1   metric to understand if a Schedule II and III
     2              THE WITNESS: I don't know of a        2   dispensing at one Walgreens is 15, 16, 17,
     3        standard of what percentage is within       3   18, 19, 20 percent versus an average of
     4        bounds as you stated, so I don't know       4   Walgreens of 4 or 5 percent?
     5        if -- if 20 percent, 60 percent,            5             MR. STOFFELMAYR: Objection to
     6        80 percent is out of bounds because         6        the form.
     7        there's no standard.                        7             THE WITNESS: Again, I don't
     8   QUESTIONS BY MR. MOUGEY:                         8        want to say that we use -- that metric
     9        Q. So in all your years at                  9        is an important indicator or a red
    10   Walgreens, have you ever seen a metric          10        flag for a particular pharmacy.
    11   employed to spot red flags or as a catalyst     11        That's not -- that's not a true
    12   for additional questions of a                   12        statement.
    13   disproportionally high Schedule II and          13   QUESTIONS BY MR. MOUGEY:
    14   Schedule III dispensing ring?                   14        Q. Is it one of the metric used to
    15        A. Throughout my career at                 15   identify potential problem pharmacies within
    16   Walgreens, we have used that metric, but it     16   Walgreens' system?
    17   is not a sole -- it's not solely used.          17        A. It is a metric. It is not --
    18   There's other information that we gather. So    18   it is a metric that is used, but it's not to
    19   if they have a, quote/unquote, high             19   help identify, quote/unquote, problem
    20   percentage, we'll have to look at the           20   pharmacies within Walgreens.
    21   geographical location or the -- the             21        Q. What is it used for?
    22   clientele, the customer base, of that           22        A. To help identify or -- well,
    23   particular pharmacy.                            23   it's used for currently with our controlled
    24        Q. And based on your experience of         24   substance order monitoring, if a pharmacy is
    25   using that metric, what did Walgreens use to    25   next to a hospital, they'll have a higher
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     1   analyze whether or not a Schedule II and         1   percentage of controls going into that store,
     2   Schedule III dispensing rate was abnormally      2   so we'll use that metric to set ceiling
     3   high?                                            3   limits and tolerance limits for that
     4        A. I don't know if we had a                 4   particular store or particular stores in the
     5   standard to determine whether or not a           5   area.
     6   particular store is high. We did compare         6       Q. What further questions do you
     7   them to other stores of similar size, of         7   ask when it's next to a trauma center or an
     8   similar geographical location, but I know we     8   oncology center of that Walgreens pharmacy?
     9   tried not to compare a store of similar size     9       A. So we make sure that those
    10   that was close to a trauma unit or 24-hour      10   prescriptions are from those individual
    11   next to a hospital of a similar size to a       11   hospitals and that they're written from
    12   store that is not 24-hour and not near a        12   doctors in that scope. So if -- just an
    13   hospital.                                       13   example, if an optometrist is writing for
    14        Q. Doesn't 80 percent of the US            14   opioid prescriptions and they're coming in at
    15   population live within a five-minute drive to   15   wee hours of the evening, we would probably
    16   Walgreens?                                      16   question those prescriptions --
    17        A. I have no idea if that's                17       Q. And --
    18   correct.                                        18       A. -- or ask the pharmacist to
    19        Q. Is that on Walgreens website            19   question those prescriptions.
    20   right now, if we were to pull it up, that a     20       Q. And as you ask those questions
    21   ridiculously high number of the US population   21   and you pull the data and you get your
    22   lives within a very short drive of Walgreens?   22   questions answered as part of the
    23        A. It's possible. I have no idea           23   pharmaceutical integrity department, where do
    24   if that's correct.                              24   you store that information?
    25        Q. Wouldn't it be useful to run a          25       A. A lot of it is conversations.
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     1   Sometimes it's through e-mail, but a lot of      1       of pharmaceutical integrity, we do
     2   it is just a one-on-one conversation with the    2       pull data regarding prescribers and
     3   pharmacist or the particular area leader,        3       their activity or prescribing habits
     4   district manager or health care supervisor.      4       during a specified period of time.
     5        Q. So the pharmaceutical integrity          5   QUESTIONS BY MR. MOUGEY:
     6   department doesn't actually go and verify        6       Q. Yes, sir. The question I asked
     7   what percentage might be coming from an          7   was a little bit different.
     8   oncology center or an emergency room; it's       8            I said but the practice at
     9   just verbal conversations with the               9   Walgreens, the practice meaning that the
    10   pharmacist?                                     10   requirement to go back and pull what's
    11        A. A majority of it is verbal              11   driving the high percentage, to verify what
    12   conversation and we do pull data, but it's      12   the pharmacist has said, is not an automatic
    13   not to identify prescribers of a particular     13   part of the due diligence, correct?
    14   scope of practice.                              14            MR. STOFFELMAYR: Objection to
    15        Q. If a -- if a Schedule II and            15       the form. Foundation.
    16   Schedule III has a disproportionate high        16            THE WITNESS: It is not part of
    17   percentage of prescriptions at a particular     17       my specific responsibilities, but I
    18   pharmacy, you might go and ask the pharmacist   18       can't speak on behalf of Walgreens as
    19   to -- for some answers, correct?                19       a whole.
    20        A. That is correct.                        20   QUESTIONS BY MR. MOUGEY:
    21        Q. And if the answer is that "we           21       Q. And now as part of the manager
    22   are next door to an oncology clinic,"           22   of the western division, you have a pretty
    23   Walgreens has the ability to go and verify      23   good understanding or feel of what went on
    24   if, in fact, the prescriptions that are         24   around the country in 2012 and '13, correct?
    25   driving the abnormally high percentage rate     25       A. I do have an understanding,
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     1   are coming from that oncology center,            1   yes.
     2   correct?                                         2       Q. And have you seen any evidence
     3        A. We have the ability after the            3   that Walgreens would verify verbal answers
     4   prescriptions have been filled and sold to go    4   from a pharmacist about why their specific
     5   back and retroactively look at those types of    5   pharmacy has abnormally high percentages of
     6   prescriptions, yes.                              6   Schedule II and Schedule III narcotics?
     7        Q. Yes, sir.                                7       A. So if I'm understanding
     8             And that's not new technology.         8   correctly, we do have policies and procedures
     9   Walgreens, since you started in 2006, has        9   in place to help pharmacists, if they see an
    10   always had the ability to go back and verify    10   influx of controlled substance prescriptions.
    11   if the percentage of those prescriptions        11   We do have policies and procedures in place
    12   that's driving the abnormally high              12   for pharmacists to reach out to our team with
    13   Schedule II and Schedule III are coming from    13   any concerns that they may have with --
    14   that oncology center, correct?                  14   regarding to individual prescribers or
    15        A. We do have that ability, yes.           15   individual patients or individual
    16        Q. Yes, sir.                               16   prescriptions.
    17             But that's never been part of         17       Q. All right. That's not what I
    18   the practice at Walgreens, to go back and       18   asked, though. I understand you said you
    19   pull and verify on a regular basis what's       19   have policies and procedures in place to help
    20   driving the high percentage of Schedule IIs     20   pharmacists if they see an influx of
    21   and IIIs at a particular pharmacy, correct?     21   controlled substance prescriptions, and they
    22             MR. STOFFELMAYR: Objection to         22   can reach out to you.
    23        the form. Foundation.                      23           What I'm asking is: As the
    24             THE WITNESS: Throughout               24   pharmaceutical integrity department, have you
    25        Walgreens, I can't speak, but as part      25   seen any evidence at Walgreens that it is
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     1   verifying pharmacists' response by pulling       1       A. I currently live in Naperville,
     2   the number of prescriptions supporting that      2   which is a suburb south -- suburb southwest
     3   the high percentage of Schedule II and           3   of Chicago.
     4   Schedule III is attributable to, example, for    4       Q. Okay. Do you have a family?
     5   that oncology clinic?                            5       A. I do have a wife who is
     6            MR. STOFFELMAYR: Objection to           6   expecting our first child.
     7       the form.                                    7       Q. Let me ask you to look at what
     8            THE WITNESS: So if you're               8   was marked before Exhibit 4 to your
     9       asking me if part of my responsibility       9   deposition.
    10       is to pull that data, no, that is not       10            Do you have that?
    11       part of my responsibilities.                11       A. I do.
    12   QUESTIONS BY MR. MOUGEY:                        12       Q. And do you recall answering
    13       Q. Instead, that the response or            13   some questions about Exhibit 4, which is a
    14   the answer of the pharmacist is -- is taken     14   hearing report from a House subcommittee,
    15   at face value, correct?                         15   correct?
    16            MR. STOFFELMAYR: Objection to          16       A. Yes.
    17       the form.                                   17       Q. What was the date of this
    18            THE WITNESS: Not always, no.           18   subcommittee hearing you were asked questions
    19            MR. MOUGEY: I'll tell you              19   about?
    20       what, if we can have a few minutes, I       20       A. According to this document, it
    21       can -- might have a little bit more,        21   was August 28, 2001.
    22       but I don't know how much more I have.      22       Q. And what were you doing in
    23       Not too much, I think.                      23   August of 2001?
    24            MR. STOFFELMAYR: All right.            24       A. I was a student at Loyola
    25       We're overdue, probably, I think.           25   University.
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     1             VIDEOGRAPHER: We're going off          1       Q. I'll ask you to flip to --
     2        the record at 5:03.                         2   actually, let's put that aside.
     3         (Off the record at 5:03 p.m.)              3            When did you come to Walgreens
     4             VIDEOGRAPHER: We're back on            4   again?
     5        the record at 5:26.                         5       A. It was June of 2006.
     6             CROSS-EXAMINATION                      6       Q. And before you came to
     7   QUESTIONS BY MR. STOFFELMAYR:                    7   Walgreens, you said you were a police
     8        Q. All right. Good evening,                 8   officer?
     9   Mr. Stahmann. How are you holding up?            9       A. That is correct.
    10        A. I'm good.                               10       Q. How long did you do that work?
    11        Q. We've been here since 9, and            11       A. It was under five years.
    12   it's 5:30 now, correct?                         12       Q. When you came to Walgreens in
    13        A. Yes.                                    13   2006, what was your first job?
    14        Q. All right. Why don't you just           14       A. I was a pharmacy technician.
    15   start at the beginning. Why don't you tell      15       Q. What does a pharmacy technician
    16   us your full name?                              16   do?
    17        A. My name is Eric Stahmann.               17       A. So some of their basic
    18        Q. Okay. And tell us about your            18   functions are when patients come and drop off
    19   education.                                      19   their medications or prescriptions, we would
    20        A. I went to the Loyola University         20   enter the data into our system, get their
    21   in, I believe it was, 2006, graduated with an   21   medications ready to be filled, fill the
    22   undergraduate degree in biology, and then I     22   prescription, get it ready for the pharmacist
    23   pursued a master's degree in criminal justice   23   to do product review, product verification,
    24   and received that in 2002.                      24   and verify that the medication, the SID code
    25        Q. Where do you live?                      25   or the directions on the prescription, were
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     1   accurate. I actually did inventory tests         1   reports in a different format?
     2   where I would make sure that prescriptions or    2       A. No.
     3   medications -- I'm sorry, make sure that the     3       Q. If someone had asked you to
     4   medications were in the rightful spot in the     4   generate suspicious order reports in a
     5   inventory in the pharmacy.                       5   different format other than text files, would
     6       Q. Can a pharmacy technician at              6   you have been able to do so?
     7   Walgreens ever fill a prescription without       7       A. Yes.
     8   the pharmacist's approval?                       8       Q. And if someone had come to you
     9       A. No.                                       9   and said, "DEA wants these suspicious order
    10       Q. And then at some point after             10   reports in the Excel format or a different
    11   that, you answered a lot of questions about     11   format," is that something you could have
    12   time you spent as an analyst in loss            12   done?
    13   prevention, correct?                            13       A. Depending on the format, yes.
    14       A. Yes.                                     14       Q. Were you ever personally
    15       Q. And briefly, what were your              15   involved in communications with the DEA about
    16   responsibilities as an analyst in loss          16   what they expected or wanted from Walgreens
    17   prevention?                                     17   for suspicious order reports?
    18       A. My -- one of my main                     18       A. Not directly, no.
    19   responsibilities was to help provide            19       Q. Were there other people at the
    20   ancillary reports to our asset protection       20   company, as far as you know, who were in
    21   field leaders, asset protection managers,       21   direct communication with DEA about what they
    22   asset protection directors, ancillary reports   22   expected or wanted from Walgreens on
    23   to help identify employee theft.                23   suspicious order reporting?
    24       Q. How many people were working in          24       A. Yes.
    25   loss prevention or asset protection at          25       Q. Were you ever a manager in the
                                              Page 391                                             Page 393
     1   Walgreens when you were in that function?        1   loss prevention function?
     2       A. I can't give you an exact                 2       A. No.
     3   number, but there were hundreds.                 3       Q. Let's take a look at -- hold on
     4       Q. Did your job cross all of the             4   one second. Let's take a look at Exhibit 9
     5   functions that asset protection and loss         5   to your deposition. That is the e-mail that
     6   prevention were working on?                      6   you sent yourself, and attached to it is part
     7       A. No.                                       7   of a set of suspicious order reports from
     8       Q. When -- in your asset                     8   your earlier testimony.
     9   protection or loss prevention job, are those     9       A. I see that, yes.
    10   synonyms, just at different points in time?     10       Q. And flip to the page with the
    11       A. Yes.                                     11   small number 394 in the bottom right.
    12       Q. Okay. In your asset protection           12       A. Okay.
    13   or loss prevention job, when you were working   13       Q. And do you see there's some
    14   on diversion issues, what kind of diversion     14   information about some orders in the bottom
    15   were you focused on?                            15   half of that page regarding a drug called
    16       A. They were employee theft of              16   Suboxone?
    17   pharmaceuticals.                                17       A. I do.
    18       Q. You were -- you were asked some          18       Q. Do you remember being asked
    19   questions suggesting that you weren't doing a   19   some questions about these orders?
    20   very good job because you sent suspicious       20       A. Yes.
    21   order reports to DEA as text files.             21       Q. Do you have any understanding
    22            Do you recall that?                    22   of what Suboxone is used for?
    23       A. I do.                                    23       A. I do.
    24       Q. Did anyone ever tell you that            24       Q. What is that?
    25   DEA had asked for the suspicious order          25       A. It is to help wean people off,
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      1   or it's used to help people get off of opioid    1       A. As a lawful transfer, yes.
      2   addiction.                                       2       Q. Okay. Let's talk for a few
      3        Q. All right. Let's look at                 3   minutes about your current job.
      4   Exhibit 6 to your deposition. That was the       4            When did you move again to
      5   big, bound exhibit.                              5   pharmaceutical integrity?
      6        A. Got it.                                  6       A. It was around April of 2013.
      7        Q. And let me ask you to go to              7       Q. And your current job is as a
      8   page 7, using the small numbers in the lower     8   manager there, correct?
      9   right.                                           9       A. Correct.
     10        A. Okay.                                   10       Q. How many managers are there
     11        Q. And do you recall being asked           11   today in pharmaceutical integrity?
     12   some questions about paragraph 4B that says,    12       A. There are three total.
     13   "Within five business days"?                    13       Q. And you have a boss who sits on
     14        A. I do.                                   14   top of the managers?
     15        Q. It says, "Within five business          15       A. Yes.
     16   days of the effective date of this agreement,   16       Q. In your entire time at
     17   DEA agrees to unlock the controlled             17   pharmaceutical integrity since you joined,
     18   substances storage area at Walgreens            18   have you ever had any responsibilities with
     19   Jupiter."                                       19   respect to controlled substances distribution
     20             Do you see that?                      20   as opposed to dispensing?
     21        A. Yes.                                    21       A. No.
     22        Q. So is this an agreement to take         22       Q. What does pharmaceutical
     23   a padlock off the front door of the             23   integrity do?
     24   distribution center, or is this the             24       A. They have a lot of different,
     25   controlled substances cage?                     25   various roles. One of the main roles or one
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      1       A. Just the controlled substances            1   of the roles we do is controlled substance
      2   cage.                                            2   order monitoring. The monitoring is done by
      3       Q. And that's typical in a large             3   applications or systems that we have put in
      4   distribution center, that controlled             4   place to identify orders that either exceed
      5   substances are stored separately in a locked     5   tolerance, which is the limit set, or exceeds
      6   cage, correct?                                   6   ceiling -- or a ceiling limit. There are two
      7       A. It's required by law, yes.                7   separate limits. So if an order violates any
      8       Q. And it says that "DEA will make           8   of those tolerance or ceiling limits, the
      9   the contents available to Walgreens for any      9   order is actually cut and not sent to the --
     10   lawful transfer or reverse distribution of      10   to be processed to be ordered.
     11   the inventory contained therein to an           11       Q. Let's take -- take that in
     12   appropriate DEA registrant."                    12   small bites maybe.
     13            Do you see that?                       13       A. Sure.
     14       A. Yes.                                     14       Q. Let me ask you first, come back
     15       Q. You were asked some questions            15   to one thing that came up earlier today.
     16   about reverse distribution.                     16            You said your responsibility
     17            Do you remember that?                  17   was for the western states, correct?
     18       A. Yes.                                     18       A. Correct.
     19       Q. Were you asked any questions             19       Q. Does that include the state of
     20   about lawful transfer?                          20   Ohio?
     21       A. I was.                                   21       A. It does not.
     22       Q. And, in fact, did Walgreens or           22       Q. You were also asked some
     23   was Walgreens permitted by DEA to send these    23   questions, it sounded like, trying to
     24   controlled substances to other Walgreens        24   embarrass you or make you feel bad, about
     25   distribution centers?                           25   whether you were conversant with the details
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      1   of Controlled Substances Act or DEA              1             So if the store pharmacy
      2   regulations and what training you had            2   personnel, mostly the pharmacists, needs
      3   received on that.                                3   additional controlled substance outside of
      4            Since you've been at Walgreens,         4   the suggested system order, they have the
      5   have you received any training on the            5   ability to use the ceiling limit tool, as I
      6   company's own policies and procedures?           6   mentioned, enter into the identification
      7        A. Yes.                                     7   number, WIC, UPC, NDC, of that particular
      8        Q. And are the compliance and               8   medication, enter in the desired quantity.
      9   legal functions involved in developing           9   That tool is realtime. It tells whether or
     10   policies and procedures at Walgreens?           10   not that desired quantity is above or below a
     11        A. Yes, they are.                          11   tolerance limit. If it's above a tolerance
     12        Q. And did you tell us earlier             12   limit, it will reject the request and force
     13   that the compliance and legal functions are     13   them to submit another form, which is a
     14   the ones who are responsible for making sure    14   controlled substance override form, which
     15   that the company's policies and procedures      15   then gets sent to our team in that form. It
     16   keep it in compliance with the law?             16   has the drug information. It has a freeform
     17        A. That is correct.                        17   text box where the pharmacy personnel has to
     18        Q. You said a minute ago that one          18   enter information as to why they are
     19   of the functions of pharmaceutical integrity    19   requesting that additional product. When
     20   is to help monitor controlled substances at     20   they submit it, it actually gets sent to
     21   Walgreens, but did you also say that            21   their district manager who has to review and
     22   Walgreens is no longer involved in the          22   approve it before our team is able to review,
     23   distribution of controlled substances?          23   approve, and/or reject.
     24        A. That is correct.                        24       Q. Okay. I want to break that
     25        Q. So what sort of controlled              25   down into a couple smaller bites.
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      1   substance monitoring are you talking about?      1       A. Sure.
      2       A. So it's any type of order that            2       Q. The first part of my question
      3   is sent to the individual pharmacy by our        3   was the pharmacy manager -- well, let me take
      4   current distributors as well as sales of --      4   a step back.
      5   prescription sales for those individual          5            The inventory management system
      6   stores, and we also look at some of the          6   will suggest an order, is that what you said?
      7   exception reports like individual adjustments    7       A. It does.
      8   made at those pharmacies on their inventory.     8       Q. And if the pharmacy manager
      9       Q. Okay. And did you refer to a              9   thinks the suggested order is too small, does
     10   tool to help you monitor controlled             10   that pharmacy manager go directly to your
     11   substances?                                     11   distributor to get more of the product, or
     12       A. I did.                                   12   does he go to a corporate office, or how does
     13       Q. What's the name of that tool?            13   he do it?
     14       A. We have two tools. One tool is           14       A. So they have to actually use
     15   called the CSO KPI, which is controlled         15   those tools or those -- follow the policy and
     16   substance ordering KPI and the other is a       16   procedures to request that, but they cannot
     17   ceiling limits tool. The ceiling limits tool    17   go directly to our distributor and ask for
     18   is accessible by the pharmacy staff. The CSO    18   that information. All of that information is
     19   KPI tool is only accessible internally.         19   funneled through our team, all those
     20       Q. If a pharmacy -- a Walgreens             20   requests.
     21   pharmacy wants to order a prescription opioid   21       Q. And your team is at the
     22   medication from the distributor, do they call   22   corporate offices in Deerfield, Illinois?
     23   or e-mail or go directly to the distributor,    23       A. That is correct.
     24   or how does that work?                          24       Q. You referred to a couple
     25       A. They cannot.                             25   different kind of limits.
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      1            What's a tolerance limit?               1   ceiling limit or puts them above their
      2        A. A tolerance limit is a limit             2   ceiling limit, we have the ability to
      3   set on a particular item for a particular        3   temporarily increase their ceiling to allow
      4   order. So a tolerance limit -- basically, a      4   that order to come in based on a lot of
      5   particular drug can only be ordered, let's       5   different factors.
      6   say, the quantity of three, just throwing a      6            So just, for example, the
      7   number out there, for a particular order.        7   hurricane kind of wiped out some of the
      8        Q. And what about a ceiling limit,          8   inventory at certain pharmacies in South
      9   what's that?                                     9   Carolina, so they had to replenish their
     10        A. A ceiling limit is another type         10   inventory. Obviously those orders would have
     11   of limit that's set for a particular item,      11   put them above their rolling six-week
     12   and it's based on a rolling six-week            12   ceiling, so we temporarily increased their
     13   movement. So if a store is near their           13   ceiling to allow them to receive product to
     14   ceiling during a rolling six-week period,       14   get replenished.
     15   they're not allowed to order above their        15       Q. When a pharmacy manager comes
     16   ceiling until the rolling time period falls     16   to your team and wants -- wants an order
     17   off.                                            17   above what the limits are -- the allowed
     18        Q. How are these limits set?               18   limits, is that automatically allowed?
     19        A. They're set systematically, but         19       A. It is not automatically
     20   there is a formula that is involved in the      20   allowed.
     21   setting of those limits. They compare           21       Q. If a manager comes to you and
     22   peer-to-peer stores. The tolerance limits       22   says, "Yeah, I need more prescription opioids
     23   are also based on their historical              23   because we just got so much business, a ton
     24   prescription movements, sales, receipts, as     24   of customers," will you take their word for
     25   well as certain aspects of that pharmacy and    25   it? Is that good enough?
                                               Page 403                                              Page 405
      1   their geographic location.                       1        A. That's not adequate, no.
      2        Q. Is -- are these limits the same          2        Q. What else would you want to
      3   for every Walgreens store across the county      3   know?
      4   or in a region?                                  4        A. We would need to know what is
      5        A. They are not.                            5   driving or what is increasing those sales, so
      6        Q. Are they different for each              6   if there's a competitor that closed in the
      7   store?                                           7   area or if they've taken over -- acquired a
      8        A. They are.                                8   local business or a local pharmacy in the
      9        Q. If a Walgreens store or                  9   area, if a clinic or a hospital opened up in
     10   Walgreens pharmacy manager wants to order       10   the area or something that is driving those
     11   more than these tools will allow the pharmacy   11   sales, we need to know that. And it's not
     12   to order, explain just in simple terms what     12   just controlled substance orders that are
     13   the manager has to do.                          13   increasing. We look at their overall
     14        A. There --                                14   prescription dispensing. So it can't be just
     15        Q. Whether it's the tolerance              15   controls that are increasing. We have to see
     16   limit or the ceiling limit for that matter?     16   increases in other prescriptions such as
     17        A. So there are a couple of                17   antibiotics and things like that, maintenance
     18   measures that they have to take. So they        18   medications.
     19   have to first use the ceiling limits tool.      19        Q. It was suggested earlier that
     20   If the tool rejects the request right there,    20   whatever the pharmacist says, you just take
     21   they have to then use a controlled substance    21   their word for it and don't do any kind of,
     22   override form. That form then gets reviewed     22   you know, don't check behind that.
     23   and approved by the district manager, which     23             Do you think that's a fair
     24   comes to us. We review and approve it. If       24   characterization?
     25   they're requesting product outside their        25             MR. MOUGEY: Object to the
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      1       form.                                         1       A. No.
      2   QUESTIONS BY MR. STOFFELMAYR:                     2       Q. What does Walgreens expect of a
      3       Q. Do you think that's a fair                 3   pharmacist who is not comfortable filling a
      4   characterization?                                 4   prescription?
      5       A. I do not.                                  5       A. We expect the pharmacist to
      6       Q. Why not?                                   6   refuse to fill the prescription.
      7       A. It's not true, so we don't                 7       Q. And if the patient or the
      8   basically -- we don't take the word of the        8   patient's doctor becomes upset, who is
      9   pharmacist. We ask -- we have to use some         9   Walgreens going to back up?
     10   other type of data to kind of back the word      10       A. The pharmacist making the
     11   of what they're saying or what they're           11   decision.
     12   putting in their statements.                     12       Q. Again, does Walgreens
     13       Q. You've referred a couple of               13   communicate this to its pharmacists?
     14   times of course -- over the course of the day    14       A. Yes.
     15   to target drug or good faith dispensing          15       Q. How is that?
     16   policies.                                        16       A. Through that training and also
     17            Could you tell us at just a             17   through various communications, e-mails, if
     18   high level what that means?                      18   they do any type of reach-out or
     19       A. Sure.                                     19   correspondence with our team as well.
     20            So our team, the pharmaceutical         20       Q. Is your team at pharmaceutical
     21   integrity team, created these policies and       21   integrity involved in any compliance checks
     22   procedures with legal's guidance as well to      22   for controlled substances at the pharmacies?
     23   help pharmacists identify red flags of           23       A. Yes.
     24   prescriptions that they're receiving to make     24       Q. Tell us about that.
     25   sure that the -- not only that the               25       A. So there are quarterly
                                                Page 407                                             Page 409
      1   prescription is for a legitimate medical          1   compliance walks. Basically they're walks
      2   purpose, but also that the prescriber is          2   that either the district manager or health
      3   writing the medication within their scope and     3   care supervisor do on a quarterly basis.
      4   also for legitimate medical purpose, and to       4   They would visit a store. They're given a
      5   help kind of identify or bring awareness          5   list of -- just throwing a number, 30 to 35
      6   around red flags around both the patient --       6   questions, pertaining to a lot of different
      7   well, three things: The patient, prescriber,      7   policies and procedures within Walgreens
      8   and the prescription, and we provide the          8   pertaining to their pharmacy. The district
      9   store with a checklist so every time they're      9   manager or health care supervisor makes sure
     10   presented with an opioid prescription, they      10   that the pharmacist or pharmacy staff is
     11   have to complete this checklist to make sure     11   aware and knowledgeable of those policies and
     12   that they're doing their due diligence           12   procedures, and also to make sure that
     13   regarding good faith dispensing.                 13   they're checking to see if prescriptions have
     14       Q. How do you communicate all of             14   the -- just, for example, the target drug
     15   that to your pharmacists?                        15   good faith dispensing checklists attached to
     16       A. Yearly, the pharmacists are               16   the prescriptions, make sure it's completely
     17   given a training module, which they have to      17   filled out and also if there are any
     18   go through every year, that refreshes them on    18   refusals, prescription refusals, in a folder
     19   the good faith dispensing and target drug        19   that we have asked the pharmacist to keep.
     20   dispensing policies.                             20        Q. In your years at Walgreens,
     21       Q. If a customer shows up at a               21   have you ever heard anyone suggest that there
     22   Walgreens store with a prescription and the      22   are pharmacists filling prescriptions they're
     23   pharmacist isn't comfortable filling it, is      23   not comfortable with because they thought
     24   the pharmacist required to fill the              24   their bonus would be a little bigger at the
     25   prescription anyway?                             25   end of the year?

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      1        A. No.                                      1       A. We are not. Our goal is to get
      2        Q. Would that be consistent with a          2   to 1,500 nationwide, and there's also
      3   pharmacist's professional obligations?           3   discussions about expanding the program to
      4        A. Can you rephrase that? I'm               4   other states as well and also implement a
      5   sorry.                                           5   disposal option for non-kiosk stores.
      6        Q. Sure.                                    6       Q. Who pays for these kiosks?
      7            If a pharmacist was                     7       A. Walgreens.
      8   uncomfortable with a prescription but filled     8       Q. If I go to a pharmacy, a
      9   it anyway because they thought their bonus       9   Walgreens or another pharmacy, with my extra
     10   would be a little bigger at the end of the      10   OxyContin pills, can't I just hand them back
     11   year, in your experience as pharmacy tech and   11   to the pharmacist?
     12   in the field, would that be okay given a        12       A. No. It's illegal for a
     13   pharmacist's professional obligations and       13   pharmacist to accept those medications.
     14   license requirements?                           14       Q. When these kiosks fill up, do
     15        A. No. They're more concerned              15   you throw the pills in a dumpster behind the
     16   with customer safety.                           16   store, or what happens?
     17        Q. You made a couple comments              17       A. No, there's actually a
     18   earlier today. I would like to give you a       18   procedure in place. Under federal
     19   chance to elaborate a little bit about -- I     19   regulations and compliance, we are -- we have
     20   think you called them kiosks at Walgreens       20   partnered with a hazardous waste hauler where
     21   stores.                                         21   they come and remove the contents of the
     22            Can you describe what you mean         22   kiosks and ship them off to their destruction
     23   by a kiosk?                                     23   facility where they're incinerated.
     24        A. Sure.                                   24       Q. And who pays for all of that?
     25            So Walgreens has implemented a         25       A. Walgreens.
                                               Page 411                                             Page 413
      1   program called a safe medication disposal        1       Q. You also said a few words
      2   program. This program basically allows           2   earlier about naloxone. Tell us again, what
      3   customers to, free of charge, dispense -- or     3   is naloxone.
      4   dispose of their medications that are unused     4       A. Naloxone is the lifesaving
      5   or unwanted at 1,000 -- currently 1,088          5   medication that reverses the effects of
      6   locations across the chains at these kiosks.     6   someone who is going through opioid overdose.
      7   And it basically looks like a mailbox, for       7       Q. Is that a prescription
      8   lack of a better description, and these          8   medication?
      9   kiosks are available anytime the pharmacy is     9       A. It is.
     10   open free of charge for the customers.          10       Q. Is it available at Walgreens
     11       Q. So if I have, say, extra                 11   only with a doctor's prescription?
     12   OxyContin pills left over from a prescription   12       A. It is not. Walgreens has
     13   and they're sitting in my medicine cabinet      13   worked with various state pharmacy boards and
     14   and I'm worried about my teenage son's          14   other agencies to help get that medication
     15   friends getting ahold of those, I can take      15   available without prescription.
     16   them to a Walgreens and dispose of them?        16       Q. How many Walgreens stores can
     17            MR. MOUGEY: Object to the              17   you go to to get naloxone?
     18       form.                                       18       A. Every single one.
     19            THE WITNESS: Yes, with no              19       Q. And will the pharmacist
     20       questions asked.                            20   question you about why you're buying naloxone
     21   QUESTIONS BY MR. STOFFELMAYR:                   21   if you come in to buy it?
     22       Q. You said there were, I think, a          22       A. No.
     23   bit over a thousand.                            23            MR. STOFFELMAYR: Go off the
     24            Are you done installing these          24       record for one second.
     25   kiosks?                                         25            VIDEOGRAPHER: Going off the

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      1       record at 5:51.                              1       believe some part of the CSO KPI was
      2        (Off the record at 5:51 p.m.)               2       in development prior to me coming over
      3            VIDEOGRAPHER: Back on the               3       to pharmaceutical integrity.
      4       record at 5:51.                              4   QUESTIONS BY MR. MOUGEY:
      5            MR. STOFFELMAYR: All right.             5       Q. In development, but not
      6       Mr. Stahmann, it's almost six o'clock.       6   implemented, correct?
      7       Thank you very much for your day.            7       A. I don't know exactly when that
      8            MR. MOUGEY: I have a couple of          8   application went into production.
      9       quick follow-ups.                            9       Q. So all of these -- these tools
     10            Can you hear me from here?             10   that you were just discussing were created
     11            MS. SWIFT: I just got a note           11   after the settlement with the DEA, which, at
     12       from somebody on the phone that they        12   the time, was a record-setting amount,
     13       can't hear anything.                        13   correct, sir?
     14           REDIRECT EXAMINATION                    14            MR. STOFFELMAYR: Objection to
     15   QUESTIONS BY MR. MOUGEY:                        15       the lack of foundation.
     16       Q. Is -- naloxone, is Walgreens             16            THE WITNESS: I don't know when
     17   distributing for free?                          17       exactly the CSO KPI tool was
     18       A. We are dispensing it -- it is            18       implemented. I don't know if it was
     19   not for free. It's dependent on the             19       before or after the settlement.
     20   individual's insurance coverage.                20   QUESTIONS BY MR. MOUGEY:
     21       Q. So people that need naloxone             21       Q. The mailboxes you described for
     22   are paying for the naloxone, correct?           22   dropping off unused drugs, correct?
     23       A. There is a cost associated,              23       A. Yes.
     24   yes.                                            24       Q. You said there's approximately
     25       Q. Yes, sir.                                25   a thousand?
                                               Page 415                                            Page 417
      1            And Walgreens is profiting from         1       A. Thousand 88.
      2   the naloxone sales, correct?                     2       Q. When did those start being
      3            MR. STOFFELMAYR: Objection to           3   installed at Walgreens?
      4       form. Foundation.                            4       A. We launched in March of 2016.
      5            THE WITNESS: I don't -- I               5       Q. Yes, sir.
      6       don't know the contractual agreement         6            Just here in the last couple of
      7       with what a reimbursement rate is for        7   years, correct, sir?
      8       naloxone.                                    8       A. After the regulations, the DEA
      9   QUESTIONS BY MR. MOUGEY:                         9   allowed pharmacies to collect medications,
     10       Q. So you're not suggesting that            10   yes.
     11   people that need naloxone, that Walgreens is    11            MR. MOUGEY: Yes, sir. No
     12   supplying for free to those in need, correct?   12       further questions.
     13       A. No, I'm not saying that.                 13            MR. STOFFELMAYR: We're done.
     14       Q. Okay. You went through a                 14            VIDEOGRAPHER: We're going off
     15   series of reports.                              15       the record at 5:54 p.m.
     16            Everything that you've just            16      (Deposition concluded at 5:54 p.m.)
     17   spent the last 20 minutes describing on the     17             –––––––
     18   reports, CSO, ceiling limits and I think        18
     19   there was a third, is -- were created and       19
     20   implemented after the pharmaceutical            20
     21   integrity department was implemented in 2013,   21
     22   correct?                                        22
     23            MR. STOFFELMAYR: Objection to          23
     24       the form.                                   24
     25            THE WITNESS: Not correct. I            25


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      1               CERTIFICATE                          1        ACKNOWLEDGMENT OF DEPONENT
      2                                                    2
      3           I, CARRIE A. CAMPBELL, Registered        3
      4
          Diplomate Reporter, Certified Realtime
          Reporter and Certified Shorthand Reporter, do    4            I,______________________, do
      5
          hereby certify that prior to the commencement        hereby certify that I have read the foregoing
          of the examination, Eric Stahmann was duly
          sworn by me to testify to the truth, the         5   pages and that the same is a correct
      6   whole truth and nothing but the truth.               transcription of the answers given by me to
      7           I DO FURTHER CERTIFY that the
          foregoing is a verbatim transcript of the
                                                           6   the questions therein propounded, except for
      8   testimony as taken stenographically by and           the corrections or changes in form or
      9
          before me at the time, place and on the date     7   substance, if any, noted in the attached
          hereinbefore set forth, to the best of my            Errata Sheet.
     10
          ability.                                         8
     11
                  I DO FURTHER CERTIFY that I am           9
          neither a relative nor employee nor attorney    10
     12
          nor counsel of any of the parties to this
          action, and that I am neither a relative nor    11
     13
          employee of such attorney or counsel, and       12   ________________________________________
          that I am not financially interested in the
          action.                                              Eric Stahmann     DATE
     14                                                   13
     15
     16                                                   14
             ____________________________                 15   Subscribed and sworn to before me this
     17      CARRIE A. CAMPBELL,                          16   _______ day of _______________, 20 _____.
     18
             NCRA Registered Diplomate Reporter           17   My commission expires: _______________
             Certified Realtime Reporter
     19
             California Certified Shorthand               18
             Reporter #13921                              19   Notary Public
     20
             Missouri Certified Court Reporter #859       20
             Illinois Certified Shorthand Reporter
     21
             #084-004229                                  21
             Texas Certified Shorthand Reporter #9328     22
     22
             Kansas Certified Court Reporter #1715        23
     23
             Notary Public
     24
             Dated: October 19, 2018                      24
     25                                                   25

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      1         INSTRUCTIONS TO WITNESS                    1          –––––––
      2                                                                 ERRATA
      3           Please read your deposition over         2          –––––––
      4   carefully and make any necessary corrections.    3   PAGE LINE CHANGE/REASON
      5   You should state the reason in the               4   ____ ____ _____________________________
      6   appropriate space on the errata sheet for any    5   ____ ____ _____________________________
      7   corrections that are made.
                                                           6   ____ ____ _____________________________
      8           After doing so, please sign the
                                                           7   ____ ____ _____________________________
      9   errata sheet and date it. You are signing
                                                           8   ____ ____ _____________________________
     10   same subject to the changes you have noted on
                                                           9   ____ ____ _____________________________
     11
                                                          10   ____ ____ _____________________________
          the errata sheet, which will be attached to
     12
                                                          11   ____ ____ _____________________________
          your deposition.
     13
                                                          12   ____ ____ _____________________________
                  It is imperative that you return
     14
                                                          13   ____ ____ _____________________________
          the original errata sheet to the deposing       14   ____ ____ _____________________________
     15   attorney within thirty (30) days of receipt     15   ____ ____ _____________________________
     16   of the deposition transcript by you. If you     16   ____ ____ _____________________________
     17   fail to do so, the deposition transcript may    17   ____ ____ _____________________________
     18   be deemed to be accurate and may be used in     18   ____ ____ _____________________________
     19   court.                                          19   ____ ____ _____________________________
     20                                                   20   ____ ____ _____________________________
     21                                                   21   ____ ____ _____________________________
     22                                                   22   ____ ____ _____________________________
     23                                                   23   ____ ____ _____________________________
     24                                                   24   ____ ____ _____________________________
     25                                                   25


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      1          –––––––
                 LAWYER'S NOTES
      2          –––––––
      3   PAGE LINE
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